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                          EXHIBIT 294 – A
Case:Highly
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                                                                            Review

     1          IN THE UNITED STATES DISTRICT COURT
     2           FOR THE NORTHERN DISTRICT OF OHIO
     3                   EASTERN DIVISION
     4                        - - -
     5
             IN RE: NATIONAL                       :    HON. DAN A.
     6       PRESCRIPTION OPIATE                   :    POLSTER
             LITIGATION                            :
     7                                             :
             APPLIES TO ALL CASES                  :    NO.
     8                                             :    1:17-MD-2804
                                                   :
     9
                        - HIGHLY CONFIDENTIAL -
    10
           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11
                                         -    -    -
    12
                               October 24, 2018
    13
                                         -    -    -
    14
    15                  Videotaped deposition of
           STEPHEN MAYS, taken pursuant to notice,
    16     was held at the law offices of Reed
           Smith, LLP, 1717 Arch Street,
    17     Philadelphia, Pennsylvania, beginning at
           9:37 a.m., on the above date, before
    18     Michelle L. Gray, a Registered
           Professional Reporter, Certified
    19     Shorthand Reporter, Certified Realtime
           Reporter, and Notary Public.
    20
                                       -     -    -
    21
    22                GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
    23                     deps@golkow.com
    24

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    1 APPEARANCES:                                       1   APPEARANCES: (Cont'd.)
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   24   Corporation                                     24

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    3                                           5 NO.     DESCRIPTION           PAGE
    4     VIDEOTAPE TECHNICIAN:
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    5      Dan Lawlor                           7       Subject, HDMA OMP
    6                                                   Guidelines
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          LITIGATION TECHNICIAN:                9 ABDC-Mays-5 E-mail Thread        287
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    8                                          11
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    9     ALSO PRESENT:                           ABDC-Mays-6 E-mail Thread        330
                                               12       8/20/13
   10      Elizabeth Campbell, Esq.                     Subject, Low Volume/
           (AmerisourceBergen)                 13       High Oxy
   11
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   12                                             ABDC-Mays-7 E-mail, 7/1/13      330
   13            - - -                         15       Subject, Low Volume
   14                                                   Account Project
                                               16       ABDCMDL00288026
                                               17 ABDC-Mays-8 Sales Talking Points 332
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   16                                                   Low Volume Accounts
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   17
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   19                                             ABDC-Mays-9 E-mail, 6/17/13      347
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   21
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   22                                          22       OMP Strategy
   23                                                   For Retail Accounts
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    2            INDEX                          2     E X H I B I T S (Cont'd.)
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    9
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                                                       List
   10
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   14 ABDC-Mays-1 Slide Deck  152                      ABDCMDL00275491-92
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   16      AmerisourceBergen                   13      9/27/13
           DEA Headquarters                            Subject, CIII
   17      8/10/05                             14      Item Received
   18
           ABDCMDL00315887-900                         ABDCMDL00289422-29
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      ABDC-Mays-2 Memorandum, 6/29/07 221      16
   19      Subject, Update:                    17
           OMP Distribution
   20      Center Procedures                   18

   21
           ABDCMDL00000075-84                  19
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      ABDC-Mays-3 Industry Compliance 282      21
   22      Guidelines                          22
   23
           ABDCMDL00295009-24                  23
   24                                          24

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    1         - - -                                      1              - - -
    2     PREVIOUSLY MARKED                              2         THE VIDEOGRAPHER: We are
    3        EXHIBITS                                    3     now on the record. My name is Dan
    4         - - -                                      4     Lawlor. I'm the videographer with
    5
                                                         5     Golkow Litigation Services.
    6 NO.       DESCRIPTION                              6     Today's date is October 24, 2018,
    7 Zimmerman-5    Settlement and                      7     and the time is 9:37 a.m.
              Release Agreement
    8         6/22/07
                                                         8         This video deposition is
              ABDCMDL00279854-86
                                                         9     being held in Philadelphia,
    9                                                   10     Pennsylvania, in the matter of
   10                                                   11     National Prescription Opiate
   11                                                   12     Litigation, MDL No. 2804.
   12                                                   13         The deponent is Steve Mays.
   13                                                   14         Counsel will be noted on the
   14                                                   15     stenographic record.
   15                                                   16         The court reporter is
   16
   17
                                                        17     Michelle Gray who will now swear
   18
                                                        18     in the witness.
   19
                                                        19             - - -
   20
                                                        20         ... STEPHEN MAYS, having
   21
                                                        21     been first duly sworn, was
   22                                                   22     examined and testified as follows:
   23                                                   23             - - -
   24                                                   24           EXAMINATION
                                              Page 11                                            Page 13
    1           - - -                                    1            - - -
    2        DEPOSITION SUPPORT INDEX                    2 BY MR. PIFKO:
    3           - - -                                    3      Q. Good morning, Mr. Mays.
    4
                                                         4      A. Good morning.
    5   Direction to Witness Not to Answer
    6   PAGE LINE
                                                         5      Q. How are you?
        None.                                            6      A. Good.
    7                                                    7      Q. Can you please -- let's
    8   Request for Production of Documents              8 start by having you state and spell your
    9   PAGE LINE                                        9 name for the record?
        None.
   10
                                                        10      A. Stephen Mays, S-T-E-P-H-E-N,
                                                        11 M-A-Y-S.
   11   Stipulations
   12   PAGE LINE                                       12      Q. And we'll just start by
        None.                                           13 going over basics about depositions. I'm
   13                                                   14 sure that in preparing for the
   14   Questions Marked                                15 deposition, your counsel went over this
   15   PAGE LINE                                       16 with you. But we'll hit some of the high
        None.                                           17 points just to make sure that everyone in
   16
   17                                                   18 the room are on the same page. Okay?
   18                                                   19      A. Okay.
   19                                                   20      Q. So first of all, you've just
   20                                                   21 been put under oath. That means that if
   21
                                                        22 you lie or are intentionally dishonest or
   22
   23                                                   23 deceitful, you can be subject to
   24                                                   24 penalties or perjury charges from the


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    1   court.                                         1       A. No, I do not.
    2          Do you understand that?                 2       Q. Okay. I'm glad I asked. We
    3      A. Yes, I do.                                3 shouldn't make assumptions here. Did you
    4      Q. Is there any reason why                   4 go to high school?
    5 you're unable to give truthful and                5      A. Yes.
    6 accurate testimony today?                         6      Q. Okay. Where did you attend
    7      A. No.                                       7 high school?
    8      Q. Are you undergoing any                    8      A. Hixson High School.
    9 treatment or taking any medication that           9 H-I-X-S-O-N. Hixson High School,
   10 would impair your memory?                        10 Tennessee.
   11      A. No.                                      11      Q. Okay. So high school, did
   12      Q. Is there any reason that you             12 you finish high school?
   13 can state that you think that the                13      A. Yes.
   14 deposition should not go forward today?          14      Q. Okay. And that's the
   15      A. No.                                      15 highest level of education that you
   16      Q. I'm going to be asking you               16 completed?
   17 questions. And unless your counsel               17      A. Some college. I just didn't
   18 instructs you not to answer, I'm entitled        18 get a degree.
   19 to an answer.                                    19      Q. Where did you take college
   20          Do you understand that?                 20 courses?
   21      A. I understand.                            21      A. Middle Tennessee State
   22      Q. I want to make sure that you             22 University in Murfreesboro, Tennessee,
   23 understand my questions, so if you don't         23 and also University of Tennessee in
   24 understand something that I ask you,             24 Chattanooga.

                                             Page 15                                           Page 17
    1 please let me know, and I will attempt to        1       Q. Were you enrolled as a
    2 rephrase the question in a way that makes        2  full-time student at any point?
    3 it so that you do understand it.                  3      A. At MTSU, I was.
    4 Understood?                                       4      Q. Okay. And how long were you
    5      A. Yes.                                      5 a full-time student?
    6      Q. From time to time I might be              6      A. Just a -- just a semester.
    7 asking you about historical events. I             7      Q. Okay. And then you took
    8 don't want you to guess. But I do -- I            8 some additional classes on a part-time
    9 am entitled under the law to your best            9 basis?
   10 recollection.                                    10      A. Mm-hmm.
   11          So if you have no idea about            11      Q. How long did you do that?
   12 something, of course you can say you             12      A. Probably about six months to
   13 don't know. But if you have a general            13 a year. I can't remember exactly.
   14 recollection, maybe just don't recall the        14      Q. Okay. So you have a year of
   15 specifics, I'm still entitled to an              15 full-time and then the next year, was it
   16 answer. Understood?                              16 immediately after you kind of switched to
   17      A. I understand.                            17 doing it part-time?
   18      Q. All right. Well, let's                   18      A. I went to school part-time
   19 start by talking about -- a little bit           19 after I was -- started to work for the
   20 about who you are and your background            20 company in Chattanooga.
   21 with the company.                                21      Q. Okay. So you were full-time
   22          Let's talk about your                   22 student, I assume, right after you
   23 educational experience. I assume you             23 graduated high school?
   24 have a college degree?                           24      A. Yes, that's correct.
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    1      Q. Okay. Then what happened                 1      Q. Do you remember?
    2 after that first year of school. Let me          2      A. The first year of college?
    3 be more specific. As far as your next            3      Q. Yeah. When you were a
    4 career or school movement. Did you               4 full-time student?
    5 immediately start working for                    5      A. Just general courses.
    6 AmerisourceBergen?                               6      Q. Okay.
    7      A. Pretty much so, as I recall,             7      A. Yeah.
    8 yeah.                                            8      Q. Did you specialize in any
    9      Q. Okay. And then there was a               9 sort of finance classes or business
   10 time when you were working for                  10 classes or anything like that?
   11 AmerisourceBergen and attending school as       11      A. I don't recall, because I
   12 well?                                           12 wasn't really sure what I wanted to do.
   13      A. Yes.                                    13      Q. Okay. So then you complete
   14      Q. Was that --                             14 that year, how did you come to work at
   15      A. Can I correct you on -- it              15 Duff Brothers?
   16 really wasn't AmerisourceBergen at the          16      A. Actually went through an
   17 time. It was an independent drug company        17 employment agency. And that's who they
   18 called Duff Brothers --                         18 used. And they got me the contact to get
   19      Q. Okay.                                   19 the job there at Duff Brothers.
   20      A. -- in Chattanooga. It was a             20      Q. And what was your first job
   21 predecessor company to Amerisource.             21 there?
   22      Q. Okay. So during that                    22      A. As an order filler in the
   23 time -- that was the year immediately           23 warehouse.
   24 following your first full year of               24      Q. What were your
                                            Page 19                                            Page 21
    1 school --                                        1 responsibilities as an order filler?
    2       A. Mm-hmm.                                 2       A. Stocking the shelves and
    3       Q. -- of college?                          3 filling orders for pharmaceuticals.
    4       A. Mm-hmm. Yes.                            4       Q. So Duff Brothers was, you
    5       Q. Okay. So during that next               5 said, a distributor, small distributor?
    6 year, you attended classes part-time and         6       A. Mm-hmm, yes.
    7 worked part-time?                                7       Q. What was its area of
    8       A. I don't recall when I                   8 regional reach? What customers, where
    9 attended classes. It wasn't during that          9 were they?
   10 first year of employment. It was                10       A. Mainly the area around
   11 sometime after.                                 11 Chattanooga, north Georgia, Tennessee,
   12       Q. Okay. You said that you                12 North Carolina. In kind of that regional
   13 took part-time classes for six months to        13 area around Chattanooga.
   14 a year. Was that consecutive or was that        14       Q. And what time period is
   15 spread out over time?                           15 this? Let me ask a more specific
   16       A. I can't recall. I took -- I            16 question. When did you graduate high
   17 think I took an accounting course and           17 school?
   18 something else. But it was after I was          18       A. '73, June of '73.
   19 employed.                                       19       Q. Okay. And then you were a
   20       Q. Okay. And that first year              20 full-time student in the school year of
   21 when you were full-time, what kind of           21 '73 to '74?
   22 classes did you take?                           22       A. Mm-hmm, yes.
   23          MS. McCLURE: Objection.                23       Q. You started working at Duff
   24 BY MR. PIFKO:                                   24 Brothers sometime in '74?


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    1      A. July of '74.                           1  warehouse manager, how long were you in
    2      Q. Were you part-time when you            2  that role?
    3 started that, or was that a full-time           3      A. Probably a couple of more
    4 job?                                            4 years after that.
    5      A. Full-time.                              5      Q. Okay. Then you said you
    6      Q. And then how long did you               6 were operations manager.
    7 serve as an order filler for?                   7      A. Mm-hmm.
    8      A. I believe about three or                8      Q. Then you mentioned something
    9 four years.                                     9 about Georgia. So your -- Duff Brothers
   10      Q. What was your next job?                10 acquired a company that was based in
   11      A. Lead.                                  11 Georgia?
   12      Q. It was just called lead?               12      A. Well, our parent company.
   13      A. Yes, like lead order filler,           13      Q. Okay. Who was the parent
   14 where you --                                   14 company?
   15      Q. Okay. How long were you in             15      A. Alco. Alco Standard.
   16 that role?                                     16      Q. How do you spell that?
   17      A. Just about a year.                     17      A. A-L-C-O. Alco Standard,
   18      Q. And then what was your next            18 S-T-A-N-D-A-R-D.
   19 position?                                      19      Q. Okay. So what was the name
   20      A. After that I supervised a              20 of that company in Georgia that was --
   21 merchandising and labeling crew for about      21      A. Valdosta Drug Company.
   22 two years.                                     22      Q. Sorry. Can you say that
   23      Q. What was your next job?                23 again?
   24      A. Warehouse supervisor.                  24      A. I'm sorry, Valdosta Drug
                                           Page 23                                           Page 25
    1      Q. Next job after that?                   1  Company.
    2      A. Warehouse manager.                     2       Q. Can you spell that?
    3      Q. How about after that?                   3      A. V-A-L-D-O-S-T-A.
    4      A. Operations manager.                     4      Q. Okay. Did you ever move to
    5      Q. After that?                             5 Georgia?
    6      A. I remained operations                   6      A. Yes.
    7 manager for several years. Moved to             7      Q. Okay. So at the time of
    8 Valdosta, Georgia, in I think '94. And          8 that acquisition, you moved to Georgia?
    9 we had acquired a distributor in                9      A. Yes.
   10 Valdosta, and we consolidated or closed        10      Q. And then maybe what you were
   11 down that distributor, and then we opened      11 trying to say is, were you personally
   12 a new distribution center in Orlando.          12 involved in the consolidation of the --
   13      Q. So you threw out a bunch of            13 the facilities?
   14 information there. You mentioned -- so         14      A. Yes. Mm-hmm.
   15 you were -- okay. Let's just make sure         15      Q. Okay. And so you were
   16 that we have time periods on this.             16 personally involved in closing down
   17          So lead order filler for              17 whatever operations and transferring them
   18 about one year. You were supervising a         18 to the new operation in Orlando, correct?
   19 merchandising and labeling crew for two        19      A. That's correct, yes.
   20 years. Then you were warehouse                 20      Q. Do you remember about the
   21 supervisor for about how long?                 21 time period around when that was, just
   22      A. Couple, a couple of years.             22 the year?
   23 I'm not really sure. I don't remember.         23      A. It was late '94, I believe.
   24      Q. Then you became manager,               24      Q. Okay. And then what did you
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    1 do after opening the Orlando distribution       1 public, yeah.
    2 center?                                         2      Q. Okay. So then you -- in
    3      A. After that I went to work               3 around the year 2000 you moved into the
    4 for corporate as regulatory affairs             4 corporate offices as a regulatory affairs
    5 manager. And that was probably around           5 manager, correct?
    6 2000 I believe. Yeah.                           6      A. No. That's not correct.
    7      Q. Was all that still for --               7      Q. Oh okay.
    8 Well, okay, so you worked for Duff              8      A. I went to work as a
    9 Brothers, but Duff Brothers was owned by        9 regulatory affairs manager, but I worked
   10 Alco Standard. And they acquired -- I          10 from home in Orlando for approximately
   11 don't think I can say it right.                11 two years and traveled significantly.
   12      A. Valdosta.                              12      Q. Were you the only regulatory
   13      Q. -- Valdosta Drug Company.              13 affairs manager for Amerisource at that
   14          What -- what was the name of          14 time?
   15 the company at that point?                     15      A. No.
   16          MS. McCLURE: Objection.               16      Q. So were you just the
   17 BY MR. PIFKO:                                  17 regulatory affairs manager for the
   18      Q. Still Duff Brothers?                   18 Orlando facility?
   19          MS. McCLURE: Objection.               19      A. No. I had a specific
   20          THE WITNESS: Okay. So                 20 assignment for oversight of several
   21      originally I went to work for Duff        21 distribution centers, but I can't
   22      Brothers. They were acquired by           22 remember, you know, which -- which area
   23      Alco in '79 I believe. Okay.              23 of the country it was.
   24 BY MR. PIFKO:                                  24      Q. Did it include the Orlando
                                           Page 27                                            Page 29
    1      Q. Okay. And so then in 1994               1 distribution center?
    2 you were still working for Alco, correct?       2          MS. McCLURE: Objection.
    3      A. Right about that time.                  3      You can answer.
    4      Q. Okay. When you opened this              4          THE WITNESS: I don't -- I
    5 Orlando distribution center, who were you       5      don't believe so.
    6 employed by?                                    6 BY MR. PIFKO:
    7      A. Amerisource.                            7      Q. Can you name any area that
    8      Q. Okay. When did Amerisource              8 was under your control as a regulatory
    9 get involved?                                   9 affairs manager?
   10      A. While I was in Valdosta.               10      A. I can't really recall my
   11 The -- it was the company did -- went          11 main -- my main job responsibility was
   12 public as Amerisource.                         12 conducting audits of distribution
   13      Q. Okay. So you've really been            13 centers. And so it was basically just
   14 here from the ground floor?                    14 assisting certain ones if they had
   15      A. Yeah.                                  15 regulatory questions or anything like
   16      Q. Do you know about when the             16 that.
   17 company started using the name                 17      Q. Who did you report to when
   18 Amerisource?                                   18 you took that job as regulatory affairs
   19      A. Yeah, I think it was '94.              19 manager in the year 2000?
   20      Q. Okay. And to your                      20      A. Rodney Bias, B-I-A-S is his
   21 knowledge, that's the first time the           21 last name.
   22 company now known as AmerisourceBergen         22      Q. Where was Rodney based?
   23 was using Amerisource?                         23      A. He was based at the
   24      A. That's, yeah, when they went           24 corporate offices in Chesterbrook.


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     1       Q. Do you know when the company         1           MS. McCLURE: Objection.
     2 first had its offices in Chesterbrook?        2           THE WITNESS: Yes.
     3       A. I can't remember exactly the          3 BY MR. PIFKO:
     4 date.                                          4      Q. Okay. What was the nature
     5       Q. How about roughly?                    5 of your training?
     6       A. I think it probably would             6      A. It was called -- I think at
     7 have been late '90s.                           7 that time it was a 12-hour security and
     8       Q. Around when it went public            8 regulatory compliance training program.
     9 or after that?                                 9      Q. And how was that conducted?
    10       A. I think it was around that           10 Did someone come and make a presentation
    11 time. They were in the same area but a        11 to you or was there a video, or do you
    12 different office complex.                     12 remember?
    13       Q. So you were kind of telling          13      A. It was basically in-person
    14 me, but let me just ask you more              14 training at a compliance conference.
    15 specifically. What was your job               15      Q. Did you fly to the
    16 responsibilities as a regulatory affairs      16 headquarters in Chesterbrook to receive
    17 manager when you took that position in        17 that training?
    18 the year 2000?                                18      A. Sometimes it was there, and
    19       A. Conduct security and                 19 other times it was remote.
    20 regulatory audits of our distribution         20      Q. So there was more than one
    21 centers and provide regulatory                21 training session?
    22 assistance.                                   22      A. Yes. Pretty much annually
    23       Q. So you would travel to               23 for the most part.
    24 distribution centers to conduct these         24      Q. Okay. And so annually
                                           Page 31                                          Page 33
     1 audits?                                       1  was -- you said 10 to 12 hours I think
     2      A. Mm-hmm, yes, sir.                     2  you said?
     3      Q. Do you recall about how many           3          MS. McCLURE: Objection.
     4 distribution centers the company had at        4          THE WITNESS: Yes.
     5 that time?                                     5 BY MR. PIFKO:
     6      A. It seems like it was in the            6      Q. So is that a couple days a
     7 20s, 22, something like that.                  7 year you would do training?
     8      Q. Did you travel all around              8      A. I believe so, yeah.
     9 the country?                                   9      Q. Do you remember the name of
    10      A. Yes, sir.                             10 any of the people who performed the
    11      Q. Can you remember any                  11 training for you?
    12 specific locations that you recall            12      A. Yes.
    13 traveling to to perform these audits?         13      Q. Can you tell me those names?
    14      A. Quite a few, yeah.                    14      A. Rodney Bias. Larry Holland.
    15      Q. Okay. Just name some that             15 Those two mainly.
    16 you remember.                                 16      Q. Where was Rodney based?
    17      A. Toledo. Columbus.                     17      A. In the corporate office.
    18 Portland. Mira Loma, California. Grand        18      Q. In Chesterbrook?
    19 Prairie, Texas. Lynchburg, Virginia. I        19      A. Yes.
    20 can't remember any others. There were         20      Q. How about Larry Holland?
    21 others.                                       21      A. He was prior to Rodney. I
    22      Q. Did you receive any special           22 think he hired Rodney and then I think
    23 training when you became regulatory           23 Larry retired, but I think Larry was
    24 affairs manager?                              24 there to also -- he worked out of the


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     1 corporate office.                               1  diversion?
     2      Q. Did you receive any                     2           MS. McCLURE: Objection.
     3 documentation when you received these            3     You can answer.
     4 trainings?                                       4          THE WITNESS: Again, I don't
     5      A. Yes.                                     5     remember the exact wording of the
     6      Q. Were there handouts? Yes?                6     regulation. But there is -- there
     7      A. Yes.                                     7     is a requirement.
     8      Q. Can you describe anything                8 BY MR. PIFKO:
     9 that you remember from the training?             9     Q. Was there training as
    10      A. It pretty much covered all              10 regulatory affairs manager geared around
    11 of the regulatory requirements that we          11 what these locations needed to do to
    12 have as a company. And it was focused a         12 prevent diversion?
    13 lot on, you know, DEA regulations and how       13     A. Yes.
    14 to comply with those. And how the               14     Q. Did you have -- so you
    15 company complies with them.                     15 performed audits, correct?
    16      Q. But the Controlled                      16     A. That's correct.
    17 Substances Act, have you heard of that?         17     Q. Did you have like a
    18      A. Yes. Of course.                         18 checklist or some sort of outline you
    19      Q. That kind -- the training               19 would use when you did your audits?
    20 about regulations under the Controlled          20     A. Yes.
    21 Substance Act; is that correct?                 21     Q. Did that have a name?
    22      A. That's correct.                         22     A. It was just security and
    23      Q. Did you receive training on,            23 regulatory compliance audit checklist. I
    24 have you heard the term diversion?              24 think something, something like that,

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     1      A. Yes.                                    1   yeah.
     2      Q. Okay. Have you heard about              2       Q.    Was it a long document?
     3 the idea of a -- do you know what a             3            MS. McCLURE: Objection.
     4 registrant is?                                   4       Form.
     5      A. Yes.                                     5           THE WITNESS: I don't know
     6      Q. Okay. Have you heard about               6       what do you mean by long.
     7 the idea that a registrant has a duty to         7 BY MR. PIFKO:
     8 prevent diversion?                               8       Q. I knew you were going to say
     9          MS. McCLURE: Objection to               9 that. Was it more than 50 pages?
    10      form.                                      10       A. Again, that depends on like
    11          You can answer.                        11 is it printed front and back. Or, you
    12          THE WITNESS: Yeah, I'm not             12 know, I can tell you that it was
    13      sure of the exact wording, yes.            13 approximately 200 questions, but it was
    14      But yes.                                   14 constantly changing.
    15 BY MR. PIFKO:                                   15       Q. This is in 2000 we're
    16      Q. Okay. Do you understand                 16 talking about, correct?
    17 that at that time Amerisource was a             17       A. Mm-hmm, yes.
    18 registrant under the Controlled Substance       18       Q. And so I assume it wasn't
    19 Act?                                            19 digital. It wasn't on the internet. You
    20      A. The Amerisource registered              20 had a physical copy?
    21 locations were, yes.                            21       A. Right, that's correct.
    22      Q. Okay. And did you                       22       Q. You take it with you to when
    23 understand that those registered                23 you did the audits?
    24 locations had a duty to prevent                 24       A. That's correct.
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     1      Q. Okay. Was it in a notebook                1 there a way that you walked around the
     2 or something?                                     2 plant?
     3      A. Just typically not in a                   3          MS. McCLURE: Objection to
     4 notebook, basically just stapled                  4      form.
     5 together.                                         5 BY MR. PIFKO:
     6      Q. Okay. So it was big enough                6      Q. That's what I'm asking -- --
     7 that it could be stapled -- small enough          7          MS. McCLURE: Compound.
     8 that it could be stapled together,                8 BY MR. PIFKO:
     9 correct?                                          9      Q. -- when I say is there a
    10      A. Or with a binder of some                 10 procedure that you followed.
    11 sort, yeah.                                      11      A. Yes.
    12      Q. I've got a bunch of papers               12      Q. Okay. Let me -- I can tell
    13 in front of me. I've got this notepad.           13 your counsel told you to answer the
    14 I've got a binder here, that's about two         14 questions in a very narrow way. So let
    15 inches thick. Was it more like this              15 me just unpack this for you.
    16 notepad?                                         16          MS. McCLURE: Object to the
    17      A. Mm-hmm, yes.                             17      commentary for the record.
    18          MS. McCLURE: By "this                   18 BY MR. PIFKO:
    19      notepad," do you want to describe           19      Q. Do you call up somebody at
    20      that for the record?                        20 the facility before you are going to
    21          MR. PIFKO: Yeah, for the                21 conduct the audit to let them know that
    22      record the notepad's maybe a                22 you were coming?
    23      centimeter thick. It's a standard           23      A. No.
    24      legal pad. 8-and a half-by-11               24      Q. You would just show up at
                                              Page 39                                            Page 41
     1      piece of paper.                              1 random?
     2 BY MR. PIFKO:                                     2      A. Yes.
     3      Q. So -- but something that you              3      Q. Okay. When you arrived at
     4 can easily just carry along in your               4 the facility, what was the first thing
     5 hands, correct?                                   5 that you did?
     6      A. Correct.                                  6      A. Conduct an opening meeting.
     7      Q. Okay. And so you would take               7      Q. And just to be clear, you
     8 that with you when you would do these             8 used the same procedure regardless of the
     9 audits, correct?                                  9 location that you were auditing, correct?
    10      A. That's correct.                          10      A. That's correct.
    11      Q. And then was there a                     11      Q. And you used the same audit
    12 procedure that you would use when you            12 checklist or document that we talked
    13 were conducting these audits?                    13 about, correct?
    14      A. Yes.                                     14      A. That's correct.
    15      Q. Okay. Can you walk me                    15      Q. So you walk in the facility.
    16 through what the procedure is?                   16 You ask for somebody. You said you had
    17      A. Phew.                                    17 some sort of meeting. That was the first
    18      Q. Let me explain what I'm                  18 thing you do?
    19 looking for.                                     19      A. Mm-hmm, yes.
    20      A. Yeah, that would help.                   20      Q. Who do you ask for?
    21      Q. Do you call the facility in              21      A. I think at that time it
    22 advance of conducting the audit, let them        22 would probably have been like the
    23 know when they are coming, when you get          23 distribution center manager.
    24 there, do you talk to a manager? Was             24      Q. Okay. And so they had no
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     1 idea that you were coming?                     1 audit.
     2      A. They didn't.                           2      Q. Then you have a document
     3      Q. Okay. They have to drop                3 that you're using to guide you through
     4 whatever they're doing and come meet with      4 the process, correct?
     5 you?                                           5      A. That's correct.
     6      A. Yes.                                   6      Q. Are you -- you're writing on
     7      Q. So you go meet with them in            7 that document things that you're
     8 a conference room?                             8 observing, as you're doing the walk
     9      A. Typically.                             9 through?
    10      Q. And you tell them, "Hi, I'm           10      A. Typically not at the same
    11 here to conduct an audit," correct?           11 time.
    12      A. That's correct.                       12      Q. Okay.
    13      Q. And then you tell them                13      A. It's cumbersome to carry a
    14 things that you are going to be doing in      14 checklist around all over the place with
    15 the audit, places that you need to go?        15 you. So...
    16      A. Correct.                              16      Q. So what happens after you do
    17      Q. Okay. What was the next               17 the walkthrough?
    18 step after you had the initial meeting        18      A. Usually go back to wherever
    19 with the distribution center manager?         19 they've assigned us to work, a conference
    20      A. We would ask them for a list          20 room typically. And wait for them to
    21 of documents and records that we want to      21 bring the records and things that we had
    22 review. And then we would do a                22 requested.
    23 walkthrough of the facility.                  23      Q. And then you would review
    24      Q. Do you recall what the types          24 the records?

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     1 of documents were that you would review?       1      A. Mm-hmm, that's correct.
     2      A. I can't give you an                    2      Q. And then what would you do?
     3 all-inclusive list. It would be like DEA       3      A. Well, once we review the
     4 224 forms, inventory reports, a lot of         4 records, there's typically other parts of
     5 corporate required records about, you          5 the audit. We would go back and test the
     6 know, associates. We would ask for             6 doors to the cage and the vault. Make
     7 training records. Things like that.            7 sure everything was constructed as it's
     8 Records and reports.                           8 supposed to be, and is secured and
     9      Q. Have you heard the term                9 operating the way it should. We do
    10 "suspicious order" before?                    10 different walkthroughs as part of the
    11      A. Yes.                                  11 audit.
    12      Q. Did you ask for suspicious            12      Q. Okay.
    13 order reports as part of these audits?        13      A. Inspect the security.
    14      A. I believe so.                         14      Q. After that, what would you
    15      Q. And then you said you did a           15 do?
    16 walkthrough of the facility?                  16      A. Complete the review of the
    17      A. That's correct.                       17 records. And then at end of the audit we
    18      Q. What did you do in the                18 would conduct an exit meeting and go over
    19 walkthrough?                                  19 our observations with the management
    20      A. Just look for any type of             20 team.
    21 obvious security or safety violations.        21      Q. Then you would go home?
    22      Q. And then when you document            22      A. Go home.
    23 your findings in the walkthrough?             23      Q. Okay. How long does the
    24      A. Yes. That's part of the               24 audit take from start to finish?


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     1      A. At that time probably close             1  report shared with anyone in corporate as
     2 to a full week. We would usually start          2  well?
     3 on Monday and finish either Thursday             3       A. Yeah. I mean I had to go
     4 afternoon or Friday morning.                     4 over that with my boss to make sure that
     5      Q. You said we. Did you have a              5 he was okay with any of the observations
     6 team of people that went with you?               6 and had any comments about, you know,
     7      A. No. Typically it was just                7 whether they should be revised in any way
     8 one auditor. Sometimes it would be two           8 or...
     9 depending.                                       9       Q. You'd go over that with him
    10      Q. Okay. So you alone or you               10 before you shared it with the
    11 and someone else?                               11 distribution center?
    12      A. Typically, yeah. Typically              12       A. Yeah.
    13 alone.                                          13       Q. Do you know if the report
    14      Q. Do you remember anyone else             14 was filed in any centralized location at
    15 that accompanied you on any audits?             15 the company?
    16      A. No, I don't.                            16       A. At that time, I'm not really
    17      Q. So you said, we talked about            17 sure. I don't recall how those were
    18 the walk through and documenting your           18 maintained.
    19 findings.                                       19       Q. How frequently did you --
    20           Would you then document               20 what -- how frequently would an audit be
    21 things after that week was over or you'd        21 conducted at a specific distribution
    22 be doing it along the way while you were        22 center?
    23 in the offices at the facility?                 23       A. For the most part, pretty
    24      A. Well, each auditor -- each              24 much every year. Usually annual basis.

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     1 auditor may have done things a little           1       Q. Was there some -- okay. Was
     2 differently. So it wasn't a standardized        2  there some sort of regular schedule in
     3 process. So, but, you know, typically go         3 which they would be conducted?
     4 back to the office, collect all the notes        4          MS. McCLURE: Objection to
     5 and observations, and then create a              5      form. You can answer.
     6 report.                                          6          THE WITNESS: Yeah, I -- I
     7      Q. And was that report                      7      don't recall exactly.
     8 completed at the end of the week?                8 BY MR. PIFKO:
     9      A. Typically within a two-week              9      Q. But generally, once a year
    10 period.                                         10 for every facility?
    11      Q. Okay. So within two weeks               11      A. Yes.
    12 after you started the audit, you'd have         12      Q. Do you remember how many
    13 to report complete?                             13 other people had the same job as you at
    14      A. Yes. It would be called a               14 that time?
    15 preliminary report.                             15      A. As I recall, I think there
    16      Q. Then what did you do with               16 were about three or four of us. I can't
    17 the preliminary report?                         17 remember exactly.
    18      A. That would get issued to the            18      Q. So at some point you
    19 audited -- audited entity. And then they        19 transitioned out of that role, correct?
    20 would be given a certain amount of time         20      A. That's correct.
    21 to provide corrective action responses          21      Q. What was your role after
    22 for any of the observations, written            22 that?
    23 corrective action responses.                    23      A. I think it was as director.
    24      Q. And was this preliminary                24 And that was when I moved to corporate.


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     1      Q. You were director. So you                1      Q. Was there a hotline or how
     2 were still in regulatory affairs, you            2 would people know how to call -- how to
     3 just moved from manager to director?             3 call you?
     4      A. I believe so.                            4      A. I -- I don't remember. I
     5      Q. At some point you moved away             5 think they -- you know, I'm sure -- no, I
     6 from Orlando, correct?                           6 don't even want to speculate. I don't
     7      A. Yes.                                     7 remember.
     8      Q. Was it at the time when you              8      Q. Did you have a mobile phone
     9 moved from manager to director?                  9 at that time?
    10      A. I believe so, yeah.                     10      A. Oh gosh. I don't think so.
    11      Q. And when was that?                      11      Q. You worked out of your --
    12      A. It was, I believe, October              12 your house at that time?
    13 2002.                                           13      A. From?
    14      Q. Do you know if there was a              14      Q. 2000 to 2002?
    15 written policy about the annual audit           15      A. 2000 to 2002, yes.
    16 requirement?                                    16      Q. So if you had a business
    17      A. I believe so, yes.                      17 call, they would call your house?
    18      Q. Do you know if there was                18      A. I don't remember.
    19 like a policy number associated with the        19      Q. Did you have a separate
    20 policy?                                         20 office in your house where you would
    21      A. Well, let me -- let me step             21 work?
    22 back. I don't -- I'm not sure there was         22      A. Yeah.
    23 a written policy that -- that stated that       23      Q. Okay. Do you know -- did
    24 it was an annual inspection. But there          24 you have a separate line for doing work

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     1 was a written -- written policy on               1 versus your personal line?
     2 conducting the audits.                           2      A. I can't remember if it was a
     3      Q. Okay.                                    3 separate line or not.
     4      A. I don't think it had                     4      Q. Okay. But do you know if
     5 anything -- I don't think it specified           5 you had e-mail at that time?
     6 the frequency.                                   6      A. I believe so.
     7      Q. And do you remember if there             7      Q. Okay. So when you fielded
     8 was a policy number for that policy?             8 questions about compliance issues, would
     9      A. I can't remember the policy              9 those be raised to you by e-mail, or by
    10 number. But there is a policy.                  10 phone or both?
    11      Q. When you were manager of                11      A. Probably both.
    12 regulatory -- when you were regulatory          12      Q. Okay. Do you recall
    13 affairs manager, did you have any other         13 handling compliance inquiries from your
    14 job responsibilities besides conducting         14 home office?
    15 these audits?                                   15      A. I don't remember.
    16      A. Yes, I just can't remember              16      Q. Do you know if there is some
    17 what they were at the time. It was              17 sort of written documentation that listed
    18 basically providing regulatory assistance       18 you as a contact person for compliance
    19 if there were questions or anything like        19 questions?
    20 that from the field.                            20      A. There could have been, but
    21      Q. So that -- you were one of a            21 I'm not sure.
    22 few people that someone could call if           22      Q. Do you have any idea how
    23 they had a compliance question?                 23 someone would know that they could call
    24      A. Yes.                                    24 you if they had a compliance question?


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     1      A. I assume they had my contact               1 title was at that time?
     2 information. I just don't remember                 2       A. You know what, he may have
     3 exactly what form that was in or whether           3 been director. Maybe it was -- maybe I
     4 it was a policy or a sheet or what.                4 was manager when I went up there. I
     5      Q. Okay. Do you know if there                 5 don't -- I don't distinctly remember the
     6 was a company directory?                           6 titles. They changed so much.
     7      A. I think so.                                7       Q. Okay. But you got promoted
     8      Q. Did you have business cards                8 in 2002.
     9 when you were conducting these audits?             9       A. Right.
    10      A. I think so. But I'm not                   10       Q. And you moved to the
    11 positive.                                         11 headquarters in Pennsylvania?
    12      Q. Did you give people, when                 12       A. That's correct.
    13 you met the distribution center manager,          13       Q. How did your -- well, what
    14 did you give them your business card?             14 were your job responsibilities when you
    15      A. I think so. But I don't                   15 got promoted in 2002?
    16 recall 100 percent of the time.                   16       A. I supervised the -- the team
    17      Q. Was your name on the audit                17 that did the audits for the most part.
    18 report?                                           18       Q. Did you provide training to
    19      A. Yes.                                      19 the team that did the audits at that
    20      Q. Did you sign it?                          20 time?
    21      A. I don't think I signed them,              21       A. Yes.
    22 no. But it had my name on them.                   22       Q. Did anyone else provide
    23      Q. Do you know if the audit                  23 training?
    24 report had your contact information,              24       A. I'm sure they do -- did, but
                                               Page 55                                            Page 57
     1 e-mail or phone number?                            1 I don't remember who. Again, we had
     2      A. I think so. Yeah, I believe                2 training every year.
     3 it did.                                            3      Q. I guess I'm specifically
     4      Q. Do you recall that --                      4 speaking about the audits, the audit
     5 telling the distribution center managers           5 process. Do you know if you -- if you
     6 as part of your process, that if they had          6 were the only person who provided
     7 questions about compliance, they could             7 training to regulatory affairs people who
     8 call you?                                          8 were conducting audits?
     9      A. I don't specifically recall                9      A. I don't think it was just
    10 telling them that, but that would make            10 me. Maybe one of the more experienced
    11 sense.                                            11 auditors would also train them.
    12      Q. So in 2002 you are promoted               12      Q. Do you know any of the names
    13 to regulatory affairs director, correct?          13 of the people that you're referring to as
    14      A. I believe so.                             14 more experienced auditors?
    15      Q. Okay. And you moved to                    15      A. Yes. There was a lady named
    16 Chesterbrook, Pennsylvania, correct?              16 Jan Black. She was probably the most
    17      A. That's correct.                           17 experienced auditor.
    18      Q. Who did you report to at                  18      Q. Anyone else?
    19 that time?                                        19      A. No.
    20      A. Rodney Bias.                              20      Q. Where was Jan Black located
    21      Q. And did Rodney get a                      21 physically?
    22 promotion at that same time?                      22      A. She worked out of
    23      A. I don't think so, no.                     23 Charleston, South Carolina.
    24      Q. Do you know what Rodney's                 24      Q. Did you interact with her in
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     1 person?                                        1  BY MR. PIFKO:
     2      A. Yes.                                   2       Q. How many auditors -- did the
     3      Q. Okay. Did you do that in                3 auditors, when you were -- when you were
     4 Pennsylvania?                                   4 promoted in 2002, did the auditors report
     5      A. Most -- for the most part,              5 to you?
     6 yes.                                            6      A. Yes.
     7      Q. So she would come to                    7      Q. Okay. How many were there
     8 Pennsylvania to meet with people --             8 at that time?
     9      A. For conferences and meetings            9      A. I think there were three or
    10 and so forth.                                  10 four. I can't remember the number. It's
    11      Q. So you supervised the                  11 changed over the years.
    12 auditors when -- when you got promoted.        12      Q. Did you receive any
    13 Anything else you did?                         13 additional training from somebody else
    14      A. That's all I can recall.               14 when you moved into that new role in
    15      Q. Did you have -- and part of            15 2002?
    16 that supervision of the auditors included      16      A. No. Just -- no.
    17 training them, correct?                        17      Q. Did you provide performance
    18      A. Training them, yes.                    18 evaluations of the auditors who reported
    19      Q. Did you have written                   19 to you?
    20 documentation that you used when you were      20      A. I believe so.
    21 training the auditors?                         21      Q. Was there a document that
    22      A. I don't believe so, I don't            22 you used to evaluate their performance?
    23 believe so. It was pretty much on -- you       23      A. I'm sure there would be,
    24 know, we would go out on training audits       24 yes.

                                            Page 59                                           Page 61
     1 and observe them going through the audit       1       Q. But you don't remember?
     2 process and provide assistance to them.        2       A. I don't remember exactly
     3      Q. Okay. So it wasn't like a               3 what the document is, because again those
     4 formal class or office conference room          4 things change over time. I don't
     5 setting --                                      5 remember what the process was in that --
     6      A. No.                                     6 during that time period.
     7      Q. -- it would just be like                7      Q. How frequently did you
     8 on-the-job training, you would go with          8 review the auditor's performance?
     9 them and walk them through the process?         9      A. Well, there's a formal
    10      A. That's correct.                        10 performance review that I believe was
    11      Q. Was there -- was each                  11 every year. But it was ongoing.
    12 auditor assigned to a specific region?         12      Q. Was there a way to write
    13      A. I think so. Yes.                       13 someone up if you were not satisfied with
    14      Q. Okay. And we -- we talked              14 the way they were performing?
    15 earlier about you had some sort of             15      A. Yes.
    16 regional assignment when you were an           16      Q. Okay. Is there an official
    17 auditor, but you don't remember when it        17 name for the document that you would
    18 was?                                           18 write them up on?
    19      A. I don't --                             19      A. I don't remember what it
    20          MS. McCLURE: Objection,               20 would be.
    21      misstates the testimony. You can          21      Q. Okay. Do you remember doing
    22      answer.                                   22 that from time to time?
    23          THE WITNESS: I don't                  23      A. Not specifics, but I'm sure
    24      remember.                                 24 I did.


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     1        Q. What -- do you remember what         1  BY MR. PIFKO:
     2 the consequences are if you wrote someone      2       Q. Okay. I asked you when you
     3 up?                                             3 were promoted from the position that you
     4        A. Our company had a                     4 were in in 2002. Do you recall me asking
     5 progressive discipline par -- policy, so        5 that? And you said around 2007.
     6 it depended on what the issue was.              6          MS. McCLURE: Objection.
     7 Typically, it's a verbal to start with,         7          THE WITNESS: Again, I don't
     8 then a written. And then it could be a          8      remember.
     9 second written. It just depends on what         9 BY MR. PIFKO:
    10 it is.                                         10      Q. Well, do you remember we
    11        Q. Okay. Could someone be               11 talked earlier about your trying to
    12 terminated if they had in -- consistency       12 provide your best recollection. What's
    13 poor performance?                              13 your best recollection of the time when
    14        A. They could.                          14 you were promoted from the position that
    15        Q. Did anyone ever review your          15 you started in in 2002?
    16 performance on the job?                        16          MS. McCLURE: You can
    17        A. Yes.                                 17      provide your best recollection.
    18        Q. Okay. Did you ever receive           18      But I'm going to counsel the
    19 a poor performance review?                     19      witness not to speculate.
    20        A. I don't recall ever                  20          THE WITNESS: I can't. I
    21 receiving a poor performance review.           21      just don't remember, you know,
    22        Q. Do you ever -- ever remember         22      when that change happened.
    23 having a verbal warning from someone           23 BY MR. PIFKO:
    24 about your performance?                        24      Q. Okay. You said earlier
                                            Page 63                                           Page 65
     1      A. I don't recall having one.             1  something about 2007. What struck out
     2      Q. How long were you -- you               2  about that time for you?
     3 said it was director, but then you              3       A. My responsibilities, you
     4 weren't sure if maybe it was manager.           4 know, increased.
     5 The role that you took in 2002, how long        5       Q. Okay. So regardless of the
     6 were you in that role?                          6 title. At some point around 2007, your
     7      A. I don't remember when I was             7 responsibilities increased, correct?
     8 promoted again. But it was probably             8       A. That's correct.
     9 sometime around after 2007, I think.            9       Q. Okay. What were your
    10      Q. What was your role then?               10 increased responsibilities at that time?
    11      A. I think it was -- I believe            11       A. Developing the -- enhancing
    12 it was director. And I just can't              12 the order monitoring program.
    13 remember when I was promoted to senior         13       Q. Was there something that
    14 director. There's been so many changes         14 happened that caused you to remember the
    15 over the years. I don't remember the           15 year 2007?
    16 titles and exactly when.                       16       A. Mm-hmm.
    17      Q. So at some point you were              17       Q. What's that?
    18 director. And then at some point you           18       A. That was when we had the
    19 were senior director, correct?                 19 suspension of our registration at the
    20      A. Mm-hmm, that's correct.                20 Orlando facility.
    21      Q. Okay. But you distinctly               21       Q. Do you know if the company
    22 remember a promotion in 2007?                  22 entered into a settlement with the DEA at
    23          MS. McCLURE: Objection.               23 that time in connection with the
    24          THE WITNESS: No.                      24 suspension?


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     1      A. Yes, they did.                           1 settlement agreement, correct?
     2      Q. Okay. I'm handing you                    2      A. It was a different program,
     3 what's been previously marked as                 3 yes.
     4 Zimmerman Exhibit 5. Have you seen this          4      Q. Okay. So I'm just saying if
     5 before?                                          5 I call it the pre-2007 order monitoring
     6      A. I have, yes.                             6 program, can we have a common
     7      Q. Is this -- this the                      7 understanding that that means the program
     8 settlement agreement to which we were            8 that was in place before the new one that
     9 just discussing?                                 9 you developed from the settlement
    10      A. Yes, I believe it is.                   10 agreement?
    11      Q. Okay. Is there a date on                11      A. I think so, yes.
    12 there?                                          12      Q. Okay. So the pre-2007 order
    13      A. The day that it was signed?             13 monitoring program, you had familiarity
    14      Q. Yeah.                                   14 with that program, correct?
    15      A. Yeah. It looks like June of             15      A. Yes.
    16 2007, June 22nd.                                16      Q. Okay. How did you come to
    17      Q. So there was a shift in your            17 be familiar with that program?
    18 responsibilities as a result of that            18      A. Just as part of my job
    19 settlement, correct?                            19 responsibilities, my boss helped develop
    20      A. That's correct.                         20 that program, Chris Zimmerman.
    21      Q. And you said at that time               21      Q. Okay. When did Chris
    22 you took over the responsibility of             22 Zimmerman become your boss?
    23 developing and enhancing the company's          23      A. In -- well, he -- at the --
    24 order monitoring program, correct?              24 you mean my direct boss?

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     1      A. Or overseeing the                        1      Q. Well --
     2 development of it.                               2      A. Or -- he was the head of the
     3      Q. Okay. Over -- so you were                3 department at the time of the merger,
     4 in charge of overseeing the development          4 became the head of the department.
     5 of the order monitoring program?                 5      Q. Okay. Let's go through some
     6      A. Of the enhancement of it,                6 of those details.
     7 yes.                                             7      A. Okay.
     8      Q. Okay. Did the company have               8      Q. Rodney Bias was your
     9 an order monitoring program prior to             9 supervisor --
    10 2007?                                           10      A. That's correct.
    11      A. Yes.                                    11      Q. -- for a time period?
    12      Q. Are you familiar with what              12      A. Mm-hmm.
    13 the company's order monitoring program          13      Q. Then you moved to the
    14 was prior to 2007?                              14 headquarters in 2002. And you said
    15      A. Yes.                                    15 Rodney was still your supervisor at that
    16      Q. How did you come to be                  16 time?
    17 familiar with the company's -- can I just       17      A. Yes. Yes.
    18 call it the pre-2007 order monitoring           18      Q. Okay. At some point there
    19 program for that --                             19 was another corporate merger, correct?
    20      A. Fine with me.                           20      A. Not after 2002, I don't
    21      Q. If I use that term, can                 21 believe.
    22 we -- can we agree that that means the          22      Q. The only ones that we've
    23 program that was in place prior to the          23 discussed -- maybe it's in your head but
    24 program that was developed from the             24 we haven't discussed it.


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     1      A. All right.                           1       A. No, I don't remember exactly
     2      Q. So we talked about some of           2  when it was, but Rodney Bias left the
     3 the earlier iterations of the company.        3 company and I was promoted to his
     4 But at some point Amerisource merged with     4 position.
     5 the Bergen Corporation, correct?              5      Q. Okay. And that was -- but
     6      A. That's correct.                       6 that was before 2007?
     7      Q. And do you know on or around          7      A. Yes.
     8 when that was?                                8      Q. Okay. So maybe that's in
     9      A. Yeah, it was 2001.                    9 your mind when you moved from manager to
    10      Q. And that's while you were            10 director, it was sometime between 2002
    11 serving as regulatory affairs manager,       11 and 2007?
    12 correct?                                     12      A. I believe so.
    13      A. That's correct.                      13      Q. Okay. And at that time you
    14      Q. Did anything about your job          14 started reporting directly to Chris
    15 change after that merger, in that -- in      15 Zimmerman?
    16 that immediate time period?                  16      A. That's correct.
    17      A. I don't recall, because I            17      Q. Chris Zimmerman came to the
    18 was already working for corporate so.        18 company through the Bergen Corporation,
    19      Q. So you were a regulatory             19 correct?
    20 affairs manager from 2000 to 2002. And       20      A. That's correct.
    21 halfway through that period there was a      21      Q. Okay. Prior to -- well,
    22 merger between Amerisource and the Bergen    22 when was the first time that you met
    23 Corporation, correct?                        23 Chris Zimmerman?
    24      A. That's correct.                      24      A. I think it was -- it was
                                          Page 71                                          Page 73
     1       Q. Okay. And you don't                 1  sometime in 2001. It might have been
     2 remember anything dramatic changing about    2  right after the merger. I remember him
     3 your job during that time period?             3 coming to Orlando, because I think I was
     4       A. I don't remember anything            4 still working there then. And I remember
     5 dramatic, no.                                 5 meeting him there, at the distribution
     6       Q. And then in 2002, you moved          6 center. He came for a visit.
     7 to the headquarters in Pennsylvania. And      7       Q. Okay. So when he assumed
     8 at that time, it was the                      8 his new role at the merged corporation,
     9 AmerisourceBergen Corporation that we         9 one of the things he did was come to the
    10 know today, correct?                         10 Orlando facility?
    11       A. Yes. That's correct.                11       A. I believe so.
    12       Q. Okay. And Rodney Bias was           12       Q. And in connection with that
    13 still your manager in 2002, correct?         13 visit was the first time you met him?
    14       A. Yes.                                14       A. Mm-hmm, yes.
    15       Q. At some point he wasn't your        15       Q. Okay. And then you started
    16 manager, correct?                            16 reporting to him sometime in between 2002
    17       A. Yes.                                17 and 2007, correct?
    18       Q. Do you remember who the next        18       A. I believe that's correct.
    19 person who you reported to was?              19       Q. Okay. After you started
    20       A. That would have been Chris          20 reporting to him, did you have any
    21 Zimmerman, yeah.                             21 involvement with the order monitoring
    22       Q. Okay. Do you have a                 22 program?
    23 recollection about when you started          23       A. After I started reporting?
    24 reporting directly to Chris Zimmerman?       24       Q. Immediately after you
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     1 started reporting to him.                       1 Corporation?
     2      A. Yes.                                    2      A. I don't recall what it was.
     3      Q. Okay. And what was the                  3      Q. Did you ever receive any
     4 nature of your involvement with the order       4 training from anyone in the time when you
     5 monitoring program at that time?                5 were just at the Amerisource Corporation
     6      A. It was just because it was              6 about the order monitoring program?
     7 part of regulatory compliance. It was           7      A. I don't remember.
     8 part of my job responsibilities to make         8      Q. Sitting here today, can you
     9 sure that we were reporting.                    9 describe anything about the Amerisource
    10      Q. When you say reporting, what           10 order monitoring program?
    11 do you mean?                                   11      A. I can't remember specifics.
    12      A. Reporting suspicious orders            12      Q. Have you ever heard the term
    13 to DEA.                                        13 "threshold"?
    14      Q. When was the first time that           14      A. Yes.
    15 you recall becoming familiar with the          15      Q. Do you know what that means?
    16 idea of reporting suspicious orders to         16      A. What "threshold" means?
    17 the DEA?                                       17 Basically, yes.
    18      A. Way back when I was in                 18      Q. What's your understanding of
    19 Chattanooga as an operations manager.          19 what the term "threshold" means?
    20      Q. Okay. And you just                     20      A. Basically it's a trigger.
    21 testified that it was part of your job to      21      Q. A trigger for what?
    22 ensure that the company was reporting          22      A. Well, as -- as it relates to
    23 suspicious orders to DEA, correct?             23 suspicious order reporting? Is that what
    24      A. That we were complying with            24 you're asking?

                                            Page 75                                            Page 77
     1 the requirement, yes.                           1      Q. I'm asking for your
     2      Q. When did you first                      2 understanding. So you tell me.
     3 understand that to be part of your job?         3      A. Well, just the word
     4      A. Probably sometime after I               4 "threshold" --
     5 moved to the corporate office.                  5      Q. Okay. Fair enough. We're
     6      Q. Sometime after 2002?                    6 talking about the order monitoring
     7      A. Yes.                                    7 program.
     8      Q. So you said that Chris                  8      A. Okay.
     9 Zimmerman developed the pre-2007 order          9      Q. So do you have an
    10 monitoring program, correct?                   10 understanding that threshold has a
    11      A. Well, it was developed by              11 meaning within the idea of an order
    12 Bergen. He oversaw the development, but        12 monitoring program?
    13 I don't think he personally developed the      13      A. Yes, it does.
    14 program.                                       14      Q. Okay. And what's your
    15      Q. Okay. Did Amerisource have             15 understanding of what a threshold is in
    16 an order monitoring program prior to the       16 the context of an order monitoring
    17 merger with the Bergen Corporation?            17 program?
    18      A. Yes.                                   18      A. A threshold would be a
    19      Q. Are you familiar with what             19 quantity of controlled substances,
    20 the program was?                               20 depending on what drug family it is that
    21      A. I don't recall.                        21 is being ordered that would trigger an
    22      Q. Did you have any role in               22 order to be reviewed.
    23 carrying out any attributes of the             23      Q. And reviewed for what?
    24 program when you were at the Amerisource       24      A. Reviewed to determine
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     1 whether it would be considered suspicious         1 have you heard of ARCOS?
     2 or not.                                           2      A. Yes, I do.
     3      Q. I'm talking about just the                3      Q. Okay. So under ARCOS, a
     4 time before Amerisource merged with the           4 distributor is required to report all
     5 Bergen Corporation. Do you know if                5 orders to the DEA, correct?
     6 Amerisource's ordering monitoring program         6      A. No. That's not correct.
     7 used thresholds?                                  7      Q. Of controlled -- sorry,
     8      A. I don't think so.                         8 I'm -- I'm making assumptions in my
     9      Q. You don't think it did?                   9 question there.
    10      A. I don't think so.                        10          Of controlled substances,
    11      Q. Do you have any idea of what             11 certain identified controlled substances,
    12 the criteria were under the Amerisource          12 all orders must be reported to DEA
    13 order monitoring program for reviewing an        13 through the ARCOS program, right?
    14 order to determine whether it was                14      A. All ARCOS required -- all
    15 suspicious?                                      15 ARCOS reportable controlled substances,
    16      A. To the best of my                        16 yes.
    17 recollection it was just a percentage.           17      Q. Okay. And so when we are
    18 It was a formula that I think had been           18 talking about this, again we are just
    19 provided by the trade association or             19 talking about the Amerisource -- prior to
    20 something back in the day, or from DEA.          20 the Amerisource and Bergen Corporation
    21 I can't remember where the formula came          21 merger --
    22 from. But it was looking at a percentage         22      A. Mm-hmm.
    23 of that customer's orders, if it exceeded        23      Q. -- and we talked about
    24 a certain percentage of their normal             24 exceeding some sort of percentage of that

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     1 monthly purchase of that drug, that it            1 month's order and reporting to DEA.
     2 would be flagged.                                 2 We're -- we're talking about a report
     3      Q. Okay. Then it would be                    3 that has nothing to do with ARCOS, right?
     4 flagged as suspicious?                            4 We are talking about a separate report,
     5      A. On the report.                            5 correct?
     6          MS. McCLURE: Objection.                  6      A. Yes.
     7          THE WITNESS: I'm not sure.               7      Q. Okay. And you don't know
     8      I don't think it was flagged as              8 what that report is, but it's in
     9      suspicious.                                  9 connection with some sort of suspicious
    10 BY MR. PIFKO:                                    10 order, regulations or requirements?
    11      Q. Okay. It would be flagged                11      A. As I recall, yes.
    12 for review?                                      12      Q. Okay. Do you recall if
    13      A. Just flagged for -- for a                13 Amerisource, pre-Amerisource and Bergen
    14 report to be sent to DEA.                        14 merger, had any other criteria for
    15      Q. Okay. And reported --                    15 evaluating whether an order was
    16      A. This is -- we're still                   16 suspicious?
    17 talking about the Amerisource days,              17      A. Yes.
    18 right?                                           18      Q. What were those criteria?
    19      Q. Yes. Reported to DEA as                  19      A. We had a posting that we
    20 what?                                            20 required, that was required to be posted
    21      A. I don't remember what -- how             21 in the cage and vault that had quantities
    22 it was reported. Possible -- possible            22 listed that -- for order fillers at the
    23 suspicious order or something like that.         23 time, that they could also -- you know,
    24      Q. Okay. You understand --                  24 we didn't want to rely totally on the


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     1 computer system to identify an order that       1       A. That's correct.
     2 could be potentially suspicious. So             2       Q. If an order was included in
     3 there were base -- I think it was base           3 this monthly report that you're talking
     4 quantities that an order filler could            4 about that was sent to the DEA, did the
     5 review to see if it might be considered          5 company still ship the order?
     6 suspicious. I don't remember what it was         6      A. At that time I believe so,
     7 called.                                          7 for the most part.
     8      Q. Okay. So there's base                    8      Q. What would be the exception?
     9 quantities and then some sort of                 9      A. I think in some cases they
    10 percentage over that customer's months --       10 may have called a customer. It depends
    11 prior month's order that could lead an          11 on how late in the day it was, and ask a
    12 order to be reported to the DEA as              12 question about it. And if it was unusual
    13 suspicious, is that correct?                    13 for some reason, they may cancel the
    14          MS. McCLURE: Objection to              14 order. But for the most part they were
    15      form.                                      15 shipped.
    16          THE WITNESS: I think so. I             16      Q. Okay. Then 2002, you moved
    17      don't remember how that -- I think         17 to the headquarters and you start at some
    18      it was a monthly report, but I             18 point between 2002 and 2007 -- you start
    19      don't remember exactly.                    19 reporting to Chris Zimmerman, correct?
    20 BY MR. PIFKO:                                   20      A. That's correct.
    21      Q. When you say a monthly                  21      Q. So you said that
    22 report, you mean the -- the reporting to        22 Mr. Zimmerman, it was your understanding
    23 DEA was -- was monthly or --                    23 that Mr. Zimmerman oversaw the
    24      A. No. There was a report sent             24 development of the suspicious order

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     1 to DEA monthly.                                 1  monitoring program at the Bergen
     2      Q. Okay. So there's some kind              2  Corporation; is that correct?
     3 of suspicious order report sent to the           3          MS. McCLURE: Objection.
     4 DEA every month?                                 4      Form.
     5           MS. McCLURE: Objection.                5          THE WITNESS: Again, I don't
     6      Form.                                       6      know how much involved he was. I
     7           THE WITNESS: Again, I'm not            7      just saw his correspondence back
     8      sure what it was called. But it             8      and forth with DEA to get it
     9      was a report that was sent to the           9      approved.
    10      DEA I believe every -- I believe           10 BY MR. PIFKO:
    11      every month.                               11      Q. So ultimately the
    12 BY MR. PIFKO:                                   12 AmerisourceBergen Corporation decided to
    13      Q. Okay. And again, for                    13 use the Bergen Corporation's ordering
    14 clarity, this is separate than the ARCOS        14 monitoring program, correct?
    15 reporting, correct?                             15      A. That's my understanding,
    16      A. Yes.                                    16 yes.
    17      Q. Okay. And so for an order               17      Q. Do you have any knowledge
    18 to be included in this report to the DEA,       18 about the decisionmaking process, about
    19 in the pre, before the merger between           19 how the company came to decide to use the
    20 Amerisource and the Bergen Corporation,         20 Bergen Corporation's order monitoring
    21 it could exceed some absolute number that       21 program as opposed to Amerisource's order
    22 was posted in the cage or it would exceed       22 monitoring program?
    23 that customer -- some percentage of that        23      A. No.
    24 customer's prior order, correct?                24      Q. Do you know who might have
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     1 made that decision?                            1      A. Probably between -- don't
     2      A. No.                                    2 know for sure. I think it was between
     3           MS. McCLURE: Mark, at some           3 2002 and 2007. Something like that.
     4      point soon, if there's an                 4 Somewhere in that time frame.
     5      appropriate time for a break, I           5      Q. And when you weren't the
     6      appreciate that.                          6 actual one who audited that facility, you
     7           MR. PIFKO: Yeah, we can              7 also managed all the -- all the auditors,
     8      take a break right now.                   8 correct?
     9           MS. McCLURE: Thank you.              9      A. After 2002, yes.
    10           THE VIDEOGRAPHER: We are            10      Q. Okay. So whoever it was
    11      going off the record. The time is        11 that audited the facility was a direct
    12      10:49.                                   12 report to you, correct?
    13           (Short break.)                      13      A. That's correct.
    14           THE VIDEOGRAPHER: Going             14      Q. And I believe you said
    15      back on the record. Beginning of         15 earlier, you -- you actually were the
    16      Media File Number 2. The time is         16 person who established that facility in
    17      11:05.                                   17 your -- back in the old days of your
    18 BY MR. PIFKO:                                 18 original job, correct?
    19      Q. I believe I asked you                 19      A. As the operations manager,
    20 earlier, but do you recall ever               20 yes.
    21 conducting an audit of the Orlando            21      Q. When you -- on the two
    22 facility that had its registration            22 occasions that you recall inspecting the
    23 revoked?                                      23 Orlando facility, do you recall
    24      A. Did you say -- can you                24 identifying any concerns that would lead

                                           Page 87                                            Page 89
     1 repeat that?                                   1 you to believe that the registration for
     2      Q. So, okay. We talked about              2 that facility would be in jeopardy?
     3 the 2007 settlement agreement. You have        3           MS. McCLURE: Objection to
     4 a copy of that in front of you, correct?       4      form. You can answer.
     5      A. Yes.                                   5           THE WITNESS: No.
     6      Q. And that concerned --                  6 BY MR. PIFKO:
     7      A. Yes.                                   7      Q. At any point when you were
     8      Q. -- an Orlando facility                 8 supervising the people that conducted the
     9 distribution center, correct?                  9 audits of that facility, did anyone bring
    10      A. That's correct.                       10 concerns to you about the Orlando
    11      Q. And you, you performed                11 facility that would have led you to
    12 audits of the company's distribution          12 believe that its registration was in
    13 centers, correct?                             13 jeopardy?
    14      A. That's correct.                       14      A. No.
    15      Q. And did you ever audit the            15      Q. You talked about when you
    16 Orlando facility?                             16 were -- we talked about the audit
    17      A. Yes. Yeah.                            17 process. And you said that when you
    18      Q. How many occasions do you             18 conducted an audit, one of the parts of
    19 recall auditing the Orlando facility?         19 the process was that you had to share it
    20      A. I think two. But I'm not --           20 with your boss before you shared it with
    21 I'm not 100 percent positive. But I           21 the facility, just to go over it with
    22 think two times.                              22 them, correct?
    23      Q. Do you remember when that             23      A. That's correct.
    24 was?                                          24      Q. Was that the same policy
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     1 when you were supervising auditors, they         1 about what the basis was for suspending
     2 had to also share their reports with you         2 the registration of the Orlando facility?
     3 before they sent it to the manager of            3      A. My understanding, it was for
     4 that facility, is that correct?                  4 excessive sales to internet pharmacies.
     5      A. That's correct.                          5      Q. And that wasn't something
     6      Q. Okay. And so the audits of               6 that you were examining in connection
     7 the Orlando facility where you were not          7 with the audit process?
     8 the one conducting it, those would have          8      A. We --
     9 been shared with you, correct?                   9          MS. McCLURE: Objection to
    10      A. That's correct.                         10      form. You may answer.
    11      Q. Okay. And do you ever                   11          THE WITNESS: We -- we --
    12 recall seeing anything in the audit             12      part of the audit process is to
    13 reports that would have led you to              13      ensure that the -- the DC is
    14 believe that the registration would be in       14      reporting suspicious orders as
    15 jeopardy for that facility?                     15      required by the regulation.
    16      A. No.                                     16 BY MR. PIFKO:
    17      Q. Upon learning that the                  17      Q. And did -- did the audits of
    18 registration for that facility was              18 the Orlando facility prior to the 2007
    19 suspended, did you revamp the audit             19 suspension, did they review the
    20 process so that you could identify those        20 suspicious orders coming from that
    21 issues ahead of time?                           21 facilities -- coming from that facility?
    22          MS. McCLURE: Objection.                22      A. As I recall, I believe the
    23      Miss -- foundation.                        23 suspicious orders were reported
    24          THE WITNESS: Repeat the                24 centrally, from a central location. I

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     1       question again just so I'm sure I          1 don't think the DC actually sent those
     2       understand what you're asking.             2 in. I think they may have been sent from
     3 BY MR. PIFKO:                                    3 headquarters. But I'm not positive. But
     4       Q. Okay. Well, we'll --                    4 it's a report.
     5 let's -- the audit process failed to             5       Q. Okay. But the audit would
     6 identify the issues that led to the              6 identify orders from that facility that
     7 registration suspension, correct?                7 would have been included in the report?
     8           MS. McCLURE: Objection.                8           MS. McCLURE: Objection.
     9       Assumes facts not in evidence.             9       Assumes facts not in evidence.
    10           THE WITNESS: Disagree.                10       Foundation.
    11           MS. McCLURE: Foundation.              11           THE WITNESS: The audit just
    12           THE WITNESS: I disagree.              12       ensures that they're reporting.
    13 BY MR. PIFKO:                                   13 BY MR. PIFKO:
    14       Q. Okay. So the audits did                14       Q. Okay.
    15 identify the issues that led to the             15       A. The company is reporting
    16 registration suspension?                        16 from the DC.
    17           MS. McCLURE: Objection.               17       Q. Okay. Just so just I
    18       Form.                                     18 understand the process. The process is
    19           THE WITNESS: We audit for             19 for the DC to report them to the company.
    20       compliance with the regulations,          20 And then the company sends the report to
    21       and we were -- the DC was                 21 the DEA?
    22       complying with the regulations.           22       A. No. That's incorrect.
    23 BY MR. PIFKO:                                   23       Q. Well, you tell me. What's
    24       Q. What is your understanding             24 the process?


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     1      A. The way I understand the                1 led to that suspension?
     2 process at that -- at that time, was the,       2      A. No.
     3 I believe the central processing center         3      Q. So you believe the audit
     4 was in, based in California. And they           4 process was fine even though the facility
     5 would generate the reports from there.          5 had its registration suspended?
     6          I just can't remember if               6      A. Yes.
     7 they were sent to the DC, to the DC to          7      Q. Was there any disciplinary
     8 send it to local office or whether they         8 action taken against anyone in the
     9 were sent directly to the local DEA             9 compliance division or department as a
    10 office.                                        10 result of the suspension of the Orlando
    11      Q. Okay. So when you're                   11 facility's registration?
    12 conducting the audit and you are trying        12           MS. McCLURE: Objection to
    13 to ensure compliance with the suspicious       13      form.
    14 order requirements, what are you looking       14           THE WITNESS: No, not that I
    15 at at the distribution center?                 15      recall.
    16      A. I can't recall what we were            16 BY MR. PIFKO:
    17 looking at. I think we may have checked        17      Q. Did you undertake to make
    18 that separately at corporate to make sure      18 any modifications to the audit process as
    19 that the reports were being sent.              19 a result of the suspension of the Orlando
    20      Q. Okay. And do you recall at             20 facility's registration?
    21 any point while you were in your role as       21      A. No.
    22 a compliance auditor, either a manager or      22      Q. Did you know at that time
    23 as an actual auditor, checking the             23 whether any of the other distribution
    24 suspicious order reports from the Orlando      24 centers were potentially going to have

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     1 facility?                                       1 their registration suspended for reasons
     2      A. I don't recall.                         2 that were similar to the Orlando
     3      Q. Do you know if anyone else              3 facility?
     4 checked the suspicious order reports for        4          MS. McCLURE: Objection.
     5 that facility?                                  5          THE WITNESS: At the time --
     6          MS. McCLURE: Objection.                6      I'm sorry.
     7          THE WITNESS: I don't                   7          MS. McCLURE: That's okay.
     8      recall.                                    8      Objection to form.
     9 BY MR. PIFKO:                                   9          THE WITNESS: At the time of
    10      Q. Can you recall anything                10      the Orlando suspension?
    11 about what would have been done to ensure      11 BY MR. PIFKO:
    12 that the facility was reporting and            12      Q. Yes.
    13 identifying suspicious orders?                 13      A. No.
    14      A. I can't remember how we                14      Q. You didn't know either way?
    15 checked that.                                  15      A. I didn't know whether any
    16      Q. So it's your understanding             16 other DC had any concerns.
    17 that suspicious orders were part of the        17      Q. But you weren't aware of any
    18 basis for the suspension of the                18 concerns at the Orlando facility at that
    19 registration in 2007?                          19 time either, correct?
    20      A. That's my understanding.               20      A. No.
    21      Q. At the Orlando facility?               21          MS. McCLURE: Objection.
    22      A. That's my understanding.               22          You may answer.
    23      Q. And so do you believe that             23          THE WITNESS: Could you
    24 the audit process missed something that        24      repeat the question?
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     1 BY MR. PIFKO:                                  1  registration with anyone?
     2      Q. At that time, you weren't              2       A. Yes.
     3 aware of any concerns at the Orlando            3      Q. With who?
     4 facility either, correct?                       4      A. Internally.
     5          MS. McCLURE: Objection.                5      Q. Who internally?
     6          THE WITNESS: That's                    6      A. In our department --
     7      correct.                                   7      Q. Chris Zimmerman?
     8 BY MR. PIFKO:                                   8      A. -- with our company, with
     9      Q. Did you change anything                 9 Chris.
    10 about the operations at the Orlando            10      Q. Anyone else?
    11 facility after its registration was            11      A. I can't remember. Pretty
    12 suspended?                                     12 much everyone in our department, we
    13      A. Not immediately after, no.             13 discussed what we needed to do.
    14      Q. Ultimately, you testified              14      Q. How many people were in your
    15 earlier you did supervise the development      15 department at that time?
    16 of an enhanced order monitoring program,       16      A. Maybe a dozen. I'm not
    17 correct?                                       17 sure. I don't remember.
    18      A. That's correct.                        18      Q. And when you say your
    19      Q. But that was company-wide              19 department, you mean the CSRA department?
    20 correct?                                       20      A. That's correct.
    21      A. That's correct.                        21      Q. So let's talk about the
    22      Q. Okay. So --                            22 order monitoring program that existed
    23      A. Let me correct that. That's            23 after the AmerisourceBergen Corporation
    24 for the AmerisourceBergen Drug Company.        24 merger, Amerisource and Bergen

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     1      Q. Okay. As opposed to --                 1  Corporation merger but before 2007.
     2      A. Well, they have other                  2  Okay?
     3 subsidiaries. Yeah.                             3      A. Okay.
     4      Q. Okay. Is it your opinion                4      Q. You have an understanding
     5 that there was nothing wrong with the           5 about what that program was?
     6 audit process at the Orlando facility?          6      A. Basically, yes.
     7      A. The audit process? No.                  7      Q. Okay. What's your
     8      Q. Is it your opinion that                 8 understanding of how that program worked?
     9 there was nothing wrong with the                9      A. I believe it was similar to
    10 suspicious order identification and            10 the way I described the AmerisourceBergen
    11 reporting process at the Orlando               11 report. There was a report that would be
    12 facility?                                      12 generated on a -- I think it was a
    13      A. Can you repeat that? I'm               13 monthly basis. I don't know if it was a
    14 sorry.                                         14 daily. I don't remember if it was
    15      Q. Yeah. Is it your opinion               15 monthly. But it was built based on the
    16 that there was nothing wrong with the          16 customer's purchasing history and
    17 process of identifying and reporting           17 anything over a certain percentage would
    18 suspicious orders at the Orlando               18 be flagged on this report. It was called
    19 facilities at that time?                       19 a possible excessive purchase report, I
    20      A. There was nothing wrong with           20 believe was the name of it.
    21 it, no.                                        21      Q. And then that would be sent
    22      Q. Okay. Did you ever discuss             22 to DEA?
    23 the findings of the DEA that led to its        23      A. That would be sent to DEA,
    24 suspension of the Orlando facility's           24 the individual field offices.


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     1      Q. And did you -- did that                1       Q. Do you know of any other
     2 order monitoring program use thresholds        2  types of opioids?
     3 as we discussed earlier?                        3      A. Like, morphine, I think.
     4      A. I don't believe it used                 4 Yeah. There may be some others.
     5 thresholds, no.                                 5 Fentanyl. Fentanyl I think is synthetic.
     6      Q. Just some percentage of the             6      Q. Okay. So those are all
     7 customer's prior month's orders?                7 types of opioids, to your knowledge?
     8      A. For each -- for each drug               8      A. I believe so.
     9 item, I believe.                                9      Q. Okay. And so when we talk
    10      Q. When you say each drug item,           10 about monitoring a customer's purchase
    11 what do you mean?                              11 history, do you know the level of -- are
    12      A. I think it was -- I don't              12 they just -- are they monitoring
    13 want to speculate. Each drug.                  13 oxycodone purchases or hydrocodone
    14      Q. Okay. You understand that              14 purchases? Do you have any understanding
    15 we're here in a -- in connection with a        15 of what specifically is being monitored?
    16 lawsuit about opioids, correct?                16          MS. McCLURE: Objection to
    17      A. Yes. I understand that.                17      form.
    18      Q. Let's talk about that for              18          THE WITNESS: Are you asking
    19 just a minute.                                 19      in relation to the enhanced
    20      A. Okay.                                  20      program?
    21      Q. Do you know what an opioid             21 BY MR. PIFKO:
    22 is?                                            22      Q. No.
    23      A. Yes, for the most part, yes.           23      A. Or what time frame are we
    24      Q. What's your understanding of           24 talking about here?

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     1 what an opioid is?                             1      Q. I made some visual aids to
     2     A. I believe it's basically any            2  help us do that.
     3 drug that was manufactured that contains        3     A. Okay.
     4 some derivative of opium, I suppose.            4     Q. All right. Do you see that
     5     Q. And so when we talked about              5 on the screen in front of you?
     6 drug types that are monitored, that can         6     A. Yes, I do.
     7 include opioids, correct?                       7     Q. It says, "Before DEA
     8     A. Yes.                                     8 enforcement action (before June 22,
     9     Q. Okay. Do you know what a                 9 2007)."
    10 type -- are there different types of           10         So right now I'm talking
    11 opioids, to your knowledge?                    11 about before that time period.
    12          MS. McCLURE: Objection to             12         And I'm talking about the
    13     form.                                      13 system that was in place after the
    14          THE WITNESS: I couldn't               14 merger. You don't know exactly when that
    15     tell you.                                  15 system was implemented, right?
    16 BY MR. PIFKO:                                  16         MS. McCLURE: Objection to
    17     Q. Okay. Have you heard the                17     form.
    18 term hydrocodone?                              18         THE WITNESS: I don't know
    19     A. Yes.                                    19     exactly, no.
    20     Q. Have you heard the term                 20 BY MR. PIFKO:
    21 oxycodone?                                     21     Q. Okay. But the merger was in
    22     A. Yes.                                    22 2001?
    23     Q. Are those both opioids?                 23     A. Yes.
    24     A. I believe so.                           24     Q. Okay. So there were
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     1 something, a company's order -- a                1  correct?
     2 customer's order history with respect to         2       A. Yeah. I think it looked at
     3 certain substances would be reviewed in           3 a three-month rolling average or
     4 connection with the suspicious order              4 something like that. I believe it was
     5 monitoring program?                               5 that.
     6           MS. McCLURE: Objection to               6      Q. Okay.
     7      form. Under what program?                    7           MS. McCLURE: Mark, can we
     8           THE WITNESS: I guess that's             8      just clarify. You are talking
     9      my question. Are you talking                 9      about 2002 to 2007? Is that an
    10      about that period?                          10       accurate statement of the time
    11 BY MR. PIFKO:                                    11      period that you're addressing?
    12      Q. Yeah, I'm talking about                  12           MR. PIFKO: Well, he doesn't
    13 before the DEA enforcement action. I             13      know when the -- between --
    14 want to -- I want to understand what --          14           MS. McCLURE: Is that
    15 all attributes of the order monitoring           15       document under the Elmo visible on
    16 program that existed in that time period.        16       the video camera?
    17      A. I thought I described that               17           Thank you.
    18 to you.                                          18           MR. PIFKO: You can read my
    19      Q. Okay. Well, so I was asking              19      writing.
    20 a follow-up question, so --                      20 BY MR. PIFKO:
    21      A. Okay. I'm sorry. You lost                21      Q. Okay. So we are talking
    22 me a little bit.                                 22 about post-AmerisourceBergen Corporation
    23      Q. That's okay. We'll start                 23 merger but before the enforcement action.
    24 over.                                            24           Everybody clear on the time
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     1          How does -- how does an                 1  period here?
     2 order get considered for inclusion in            2        A. Right.
     3 this report that we talked about?                 3       Q. All right. So an order that
     4 Actually let me just back up for a better         4 exceeds some percentage of the customer's
     5 record.                                           5 order history over the prior three
     6      A. Okay.                                     6 months. You don't know the percentage.
     7      Q. You -- you testified that                 7 But that order gets included in this
     8 there's a report that would be submitted          8 report to the DEA, correct?
     9 to DEA. You said you didn't know if it            9       A. That's my understanding.
    10 was daily, weekly or monthly.                    10       Q. And when we talk about
    11      A. I can't remember.                        11 exceeding a percentage, a percentage
    12      Q. Okay. But there is some                  12 of -- of what? That's what I'm -- that's
    13 kind of report that identified certain           13 what we were talking about earlier.
    14 types of orders and -- and was sent to           14       A. My understanding, it was --
    15 DEA, correct?                                    15 it's a percentage above their average
    16      A. That's correct.                          16 purchase of that drug over the
    17      Q. Okay. And then we are                    17 three-month period.
    18 talking about the process for how an             18       Q. Okay. And so like there's
    19 order is included in that report. Okay?          19 different drugs, right? Like --
    20      A. I understand. Yeah.                      20       A. Mm-hmm.
    21      Q. Okay. So you said that the               21       Q. -- OxyContin is a drug.
    22 company looks at whether the order is            22 Duragesic is a drug.
    23 over some percentage of the customer's           23       A. That's correct.
    24 prior order over that month. Is that             24       Q. Is it your understanding
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     1 that the -- in that program the actual          1           THE WITNESS: I don't -- I
     2 purchase of that drug over the                  2       don't know for sure.
     3 three-month period was measured or it was        3 BY MR. PIFKO:
     4 just within a drug family?                       4      Q. If there was any due
     5      A. I think it was a specific                5 diligence, do you know if there would
     6 drug.                                            6 have been any documentation of any due
     7      Q. Okay.                                    7 diligence that would have been conducted?
     8      A. I believe.                               8          MS. McCLURE: Objection.
     9      Q. Okay. And then if it                     9      Form.
    10 exceeded some percentage, it would get          10          THE WITNESS: I don't recall
    11 included in this report to the DEA,             11      exactly when, you know, we did due
    12 correct?                                        12      diligence investigations, but they
    13      A. That's my understanding.                13      would have been documented if we
    14      Q. Do you know if there was any            14      did any.
    15 documentation other than the report to          15 BY MR. PIFKO:
    16 the DEA --                                      16      Q. Okay. So if --
    17          MS. McCLURE: Objection.                17      A. If and when we did any.
    18 BY MR. PIFKO:                                   18      Q. -- if any due diligence --
    19      Q. -- about an order that was              19 okay. So if any due diligence
    20 included in this report?                        20 investigation was conducted, it would
    21          MS. McCLURE: Objection to              21 have been documented, correct?
    22      form.                                      22      A. Yes. That's my
    23          THE WITNESS: I don't think             23 understanding.
    24      so.                                        24      Q. And do you have an
                                            Page 111                                         Page 113
     1 BY MR. PIFKO:                                   1  understanding about the company's
     2      Q. If an order exceeded the                2  practice of maintaining any such files?
     3 percentage that you talked about, do you         3          MS. McCLURE: Objection to
     4 know if there was any due diligence              4      form.
     5 conducted on that order?                         5          THE WITNESS: Yes.
     6      A. When we're talk --                       6 BY MR. PIFKO:
     7          MS. McCLURE: Objection.                 7      Q. What's your understanding of
     8      You may answer.                             8 what the company's practice is?
     9          THE WITNESS: When we are                9      A. We had a system we used
    10      talking about this DEA approved            10 called Law Track that we would document
    11      program that was in place in 2002          11 any -- any material work that we did in
    12      to --                                      12 Law Track. So that's where it would have
    13 BY MR. PIFKO:                                   13 been documented.
    14      Q. I'm talking about this --               14      Q. How long was that system in
    15      A. Okay.                                   15 place?
    16      Q. -- period that's on the                 16      A. I don't recall. I think it
    17 slide in front of you.                          17 was in place during that period, some
    18      A. Then what's the question                18 time in that period between 2002-2007.
    19 again? I'm sorry.                               19      Q. Do you think it was in place
    20      Q. If an order exceeded the                20 the entire time?
    21 percentage that you talked about, do you        21      A. Couldn't tell you.
    22 know if there was any due diligence             22      Q. Okay. Do you know how long
    23 conducted on that order?                        23 the company retained its records in Law
    24          MS. McCLURE: Objection.                24 Track?


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     1      A. Depends on the record.                   1      him, and I asked him if he
     2 We -- we complied with the corporate             2      heard -- did you hear --
     3 record retention policy. So it depends           3 BY MR. PIFKO:
     4 on what records they are.                        4      Q. Did you hear me read the
     5      Q. And that's a written policy              5 testimony, sir?
     6 somewhere?                                       6          MS. McCLURE: And I'm going
     7      A. There's a -- there's a                   7      to put my objection on the record,
     8 record retention policy in writing, yes.         8      so please let me do that before
     9      Q. Okay. And you -- sitting                 9      you answer. Thank you.
    10 here today, you don't know what that is?        10          You've excerpted deposition
    11      A. I couldn't tell you                     11      testimony of David May. You have
    12 specifics about every record -- every           12      excerpted eight lines of testimony
    13 type record.                                    13      with absolutely zero context as to
    14      Q. Okay. Well, right now I'm               14      what the question was, as to the
    15 talking about due diligence during the          15      time period, as to what this
    16 time period that's on the slide in here.        16      testimony is regarding.
    17 Do you know what their record retention         17          There is absolutely zero
    18 policy was for that?                            18      information in here that allows
    19      A. I don't.                                19      him to discern what this is about.
    20      Q. Okay. Do you know who David             20          So if you would like to
    21 May is?                                         21      continue down this line of
    22      A. Yes, I do.                              22      questioning, you are free to do
    23      Q. I'll represent to you that              23      so.
    24 he testified, it's on the slide, but I'll       24          MR. PIFKO: You can object,
                                            Page 115                                         Page 117
     1 just read it for you.                            1     but you can't coach the witness
     2          He testified: "Under our                2     and inject --
     3 program and our policy and our                   3         MS. McCLURE: That's why I
     4 understanding of the regulation, and what        4     asked you to step out or him to
     5 the regulator expects from us, is when we        5     step out.
     6 declare an order as suspicious, it's             6         MR. PIFKO: Well, there's
     7 permanently rejected and never shipped."         7     nothing we need to step out and
     8          Have you heard that?                    8     discuss. I'm asking him -- okay.
     9          MS. McCLURE: Mark, I'm                  9     I just --
    10      going to ask the witness to step           10         MS. McCLURE: You continued
    11      out for a moment.                          11     with your questioning. I was
    12          MR. PIFKO: You can't just              12     willing to have the witness step
    13      interrupt the deposition.                  13     out to not receive a coaching
    14          MS. McCLURE: Or you and I              14     objection.
    15      can step out, but I -- I'm happy           15         MR. PIFKO: Okay. I'm going
    16      to --                                      16     to ask him questions, and if -- if
    17          MR. PIFKO: I'm going to ask            17     there's a proper basis for you to
    18      him -- I'm going to ask him my             18     instruct him, then you can
    19      questions.                                 19     instruct him.
    20          MS. McCLURE: Okay. So                  20         But other than that, I'm
    21      you're -- you've shown for the             21     going to ask him questions and you
    22      record -- you've shown --                  22     can -- you can state objections.
    23          MR. PIFKO: I've -- I asked             23     Of course, you're entitled to do
    24      him -- I read some testimony to            24     that, but you can't coach the
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     1    witness. All you can do, if you              1  said, yes.
     2    want to say -- I'm not going to              2       Q. Okay.
     3    tell you what your objection can              3          MS. McCLURE: And I'm going
     4    be, but you can make a valid                  4      to note my continuing objection.
     5    objection, and that's the end of              5 BY MR. PIFKO:
     6    it.                                           6      Q. Do you have an understanding
     7         All right.                               7 that if an order is identified as
     8         MS. McCLURE: So I'm going                8 suspicious, that it cannot be shipped?
     9    to --                                         9          MS. McCLURE: Objection to
    10         MR. PIFKO: So you just made             10      form.
    11    an objection. What -- you're not             11          THE WITNESS: It depends on
    12    copying here.                                12      what time frame you are relating
    13         MS. McCLURE: -- make my                 13      to and what you're referencing.
    14    objection up on the record, of               14 BY MR. PIFKO:
    15    having a continuing objection to             15      Q. Okay. Why does it depend on
    16    any questioning --                           16 what time frame I'm referencing?
    17         MR. PIFKO: Continuing,                  17      A. Because DEA has changed
    18    okay. Got it.                                18 their policy over the years.
    19         MS. McCLURE: -- regarding               19      Q. It's your understanding that
    20    anything that's on this document,            20 the DEA has changed its policy about
    21    on any line here.                            21 whether you can ship a suspicious order?
    22         MR. PIFKO: All right.                   22      A. It's -- that's my
    23 BY MR. PIFKO:                                   23 understanding. They've changed their
    24    Q. All I'm asking you is --                  24 belief.

                                            Page 119                                          Page 121
     1 okay. Do you know who David May is?             1       Q. I'll show you some more
     2      A. Yes, I do.                              2  testimony.
     3      Q. Who is David May?                        3          Mr. Zimmerman testified:
     4      A. He is our VP of diversion                4 "CSA was passed in 1970, and the" -- "the
     5 control.                                         5 federal regulations that regulate our
     6      Q. Okay. He is the head of the              6 responsibilities have not changed."
     7 diversion control program, correct?              7          Mr. May testified: "I'm not
     8      A. That's correct.                          8 familiar with any changes in the
     9      Q. And he worked at the DEA for             9 Controlled Substance Act."
    10 over 30 years, correct?                         10          MS. McCLURE: So.
    11      A. I don't know the time frame.            11          MR. PIFKO: I haven't asked
    12      Q. Okay. But you know he had a             12      him a question. You can't just
    13 long history with the DEA, correct?             13      object.
    14      A. That's my understanding.                14          MS. McCLURE: You're
    15      Q. Okay. And I'm telling you,              15      putting -- you are simply just
    16 he testified, and I'm quoting: "Under           16      putting documents up on the Elmo
    17 our program and our policy and our              17      and making representations
    18 understanding of the regulation, and what       18      regarding what testimony was.
    19 the regulator expects from us, is when we       19          MR. PIFKO: Obviously my
    20 declare an order as suspicious, it's            20      representations are correct,
    21 permanently rejected and never shipped."        21      because they're quotes and I'm
    22          Okay. Do you -- do you hear            22      showing --
    23 that?                                           23          MS. McCLURE: You've
    24      A. I heard -- I heard what you             24      represented that they're quotes.
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     1    I'm sure that you would in fact             1     representing answers up on the
     2    put quotes on the document. So              2     screen. We don't even know what
     3    I'm not questioning that, although          3     the answer to the question was.
     4    of course I don't have the ability          4         MR. PIFKO: It doesn't
     5    to independently verify.                    5     matter. You don't even know what
     6        MR. PIFKO: Okay. I haven't              6     my question is.
     7    even asked him a question. So you           7         MS. McCLURE: Okay. So I'm
     8    need to let me ask my questions.            8     going to make my --
     9        MS. McCLURE: Mark, I'm                  9         MR. PIFKO: Okay. So let me
    10    trying --                                  10     ask the question.
    11        MR. PIFKO: You're                      11         MS. McCLURE: -- continuing
    12    interrupting the deposition.               12     objection --
    13        MS. McCLURE: You want the              13         MR. PIFKO: Okay, continuing
    14    witness to leave?                          14     objection all you want.
    15        MR. PIFKO: You're                      15         MS. McCLURE: -- to this
    16    interrupting the question. If you          16     entire line of questioning and you
    17    take him out, you're coaching him          17     presenting the witness with
    18    and that's completely improper.            18     deposition testimony that is
    19        MS. McCLURE: No, I said do             19     absolutely without context as to
    20    you want the witness to leave?             20     time period, what the witness's
    21    I'm happy to take him out. I'm             21     capacity was in --
    22    not coaching him.                          22         MR. PIFKO: Okay. You're
    23        MR. PIFKO: No. I would                 23     coaching him by talking about time
    24    like to ask -- you're interrupting         24     period and things like that.
                                          Page 123                                         Page 125
     1    my ability to ask questions.                1          MS. McCLURE: I've offered
     2        MS. McCLURE: Well, I'm                  2      him --
     3    going to continue --                        3          MR. PIFKO: You're telling
     4        MR. PIFKO: I haven't asked              4      him what to say. You're offering
     5    the question. All I did was tell            5      him guidance.
     6    him what other people testified             6          MS. McCLURE: -- that he
     7    to.                                         7      could leave, and you haven't taken
     8        MS. McCLURE: You                        8      me up on that, so you're putting
     9    represented what other people               9      me in a position and forcing me to
    10    testified to and that's --                 10      document my objection on the
    11        MR. PIFKO: It's accurate               11      record.
    12    and true representation. I'm               12 BY MR. PIFKO:
    13    allowed to do that.                        13      Q. Okay. So I'm showing you
    14        MS. McCLURE: Mark --                   14 again sir, Mr. Zimmerman -- you know who
    15        MR. PIFKO: I could say do              15 he is. He was your boss.
    16    you think that David May testified         16          He testified, "The CSA was
    17    that his favorite color was blue.          17 passed in 1970 and the federal
    18        MS. McCLURE: Mark --                   18 regulations that regulate our
    19        MR. PIFKO: Okay.                       19 responsibilities have not changed."
    20        MS. McCLURE: You are                   20          And Mr. May testified, "I'm
    21    representing --                            21 not familiar with any changes in the
    22        MR. PIFKO: I haven't asked             22 Controlled Substance Act."
    23    a question.                                23          I asked you if you
    24        MS. McCLURE: You are                   24 understood that if an order is identified


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     1 as suspicious, if it can be shipped. And       1       form. You can answer.
     2 you said it depends on the time period,        2           THE WITNESS: That's our
     3 correct?                                        3      policy today.
     4      A. Okay. The regulations don't             4 BY MR. PIFKO:
     5 specify anything about shipping or not          5      Q. I'm not asking what your
     6 shipping suspicious orders.                     6 policy is. I'm asking what your
     7      Q. What's the basis for your               7 understanding of the regulations are.
     8 understanding?                                  8      A. The regulation is we are to
     9      A. The regulation states that              9 designed and operate a system to detect
    10 we have to design and operate a program        10 suspicious orders and report them.
    11 to detect suspicious orders. As I              11      Q. Okay. So is it your
    12 recall, that regulation mentions nothing       12 testimony that -- okay. But is there
    13 about whether they should be shipped or        13 some period earlier where you believe an
    14 not.                                           14 order that was identified as suspicious
    15      Q. Okay. So do you disagree               15 could be shipped?
    16 with Mr. May's testimony?                      16          MS. McCLURE: Objection to
    17           MS. McCLURE: Objection,              17      form.
    18      form. Objection, misstates                18          You may answer.
    19      testimony.                                19          THE WITNESS: I don't know
    20           THE WITNESS: Again, it has           20      the exact dates of when that
    21      to be in context of the time frame        21      changed.
    22      that he's talking about.                  22 BY MR. PIFKO:
    23 BY MR. PIFKO:                                  23      Q. But you believe that there
    24      Q. Okay. Do you agree with the            24 was some date upon which it was changed?

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     1 statements I showed you for Mr. Zimmerman      1       A. The policy of DEA changed
     2 and Mr. May, that the Controlled               2  about suspicious orders.
     3 Substance Act, the law and the                  3      Q. And whether you could ship
     4 regulations have not changed since 1970?        4 them?
     5          MS. McCLURE: Continuing to             5      A. I know as of 2007 we were
     6      this line of questioning.                  6 told not to ship.
     7      Objection to form. Objection,              7      Q. Okay. Do you believe that
     8      misstates testimony.                       8 there was any period prior to 2007 where
     9          THE WITNESS: Well I                    9 you couldn't ship a suspicious order?
    10      disagree with both, because one --        10      A. Not that I know of.
    11      one was about regulations, and one        11      Q. Okay. And do you know what
    12      was about the Act itself. And I           12 communication was from the DEA that told
    13      know the regulations have                 13 you that you couldn't ship a suspicious
    14      changed -- changed several times          14 order?
    15      over the years.                           15      A. I believe that was part of
    16 BY MR. PIFKO:                                  16 our negotiations in the settlement, part
    17      Q. Okay. And so do you believe            17 of the company's negotiations with DEA.
    18 there's been a change -- well, let me ask      18      Q. Okay. So let's go back to
    19 you a different question.                      19 this time period.
    20          Is it your understanding              20          In the company's program, in
    21 that today, an order that's identified as      21 this time period that's on the slide in
    22 suspicious, cannot be shipped?                 22 the post merger before the settlement.
    23      A. Today?                                 23      A. Okay.
    24          MS. McCLURE: Objection to             24      Q. Was it the company's
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     1 practice to ship an order that was              1 that it exceeded the customer's prior
     2 identified as suspicious?                       2 three months' ordering history, would
     3          MS. McCLURE: Objection.                3 that be unusual?
     4     Asked and answered. You can                 4          MS. McCLURE: Objection to
     5     answer.                                     5      form.
     6          THE WITNESS: The company               6          THE WITNESS: Could be.
     7     didn't identify it as a suspicious          7 BY MR. PIFKO:
     8     order. The company created a                8      Q. So an order that was
     9     report and sent it to DEA of                9 excessive can be suspicious, correct?
    10     possible excessive orders.                 10      A. Could be.
    11 BY MR. PIFKO:                                  11      Q. Is there anything that would
    12     Q. Okay. And was it the                    12 make an order that's excessive not
    13 company's practice to ship all those           13 suspicious?
    14 orders that were identified as                 14          MS. McCLURE: Objection to
    15 suspicious?                                    15      form.
    16          MS. McCLURE: Same                     16          THE WITNESS: Yes.
    17     objection.                                 17 BY MR. PIFKO:
    18 BY MR. PIFKO:                                  18      Q. What would that be?
    19     Q. Or sorry, excessive.                    19      A. It could be an ordering
    20     A. In most cases they were                 20 error of some sort.
    21 shipped.                                       21      Q. Anything else?
    22     Q. Okay. If an order was not               22      A. There's a lot of reasons.
    23 shipped, would that have been documented?      23 The pharmacy could have been robbed and
    24     A. At that time, probably not.             24 all of their drugs taken and, you know,

                                           Page 131                                           Page 133
     1      Q. Probably not?                           1 they are ordering an unusually large
     2      A. Other than the system                   2 quantity.
     3 itself. The invoice would have reflected        3      Q. Anything else?
     4 the product wasn't shipped.                     4      A. Nope. Can't think of
     5      Q. What's the difference                   5 anything right off the top of my head.
     6 between an excessive order and a                6      Q. Did the company in this time
     7 suspicious order?                               7 period again on the slide, undertake any
     8      A. A possible excessive order              8 effort to investigate an order that was
     9 would have been an order that would have        9 identified as excessive?
    10 exceeded those parameters that were built      10      A. Yes. Somewhere after the
    11 into the system to produce those reports.      11 August of 2005 time frame we started
    12      Q. Okay. What's a suspicious              12 doing some additional due diligence.
    13 order?                                         13      Q. And what --
    14      A. Anything that met those                14      A. On customers and orders.
    15 guidelines and the regulation that could       15      Q. Okay. What was the nature
    16 be a suspicious order.                         16 of that due diligence?
    17      Q. Do you know what those                 17      A. We started using a
    18 guidelines are?                                18 questionnaire for customers and site
    19      A. I couldn't recite it word              19 visits.
    20 for word, but you know, unusual quantity,      20      Q. Okay. How about with
    21 size, frequency. I can't remember the          21 respect to a specific order though? Was
    22 rest of it. I don't know the regulation.       22 there any due diligence that was
    23 I can't recite it word for word.               23 conducted with respect to a specific
    24      Q. If an order was excessive in           24 order?


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     1          MS. McCLURE: Objection to               1      A. The DEA enforcement action
     2      form.                                       2 wasn't in June 2007.
     3          THE WITNESS: There was,                 3      Q. When was that?
     4      yeah. Those reports would be                4      A. I think the action was
     5      reviewed and we would do some               5 April, probably.
     6      additional due diligence based on           6      Q. Okay.
     7      some of those orders, those                 7      A. Yeah. That was the date of
     8      reports.                                    8 the settlement.
     9 BY MR. PIFKO:                                    9      Q. Okay. Right. The company
    10      Q. What reports?                           10 changed its practices in connection with
    11      A. The reports that we've been             11 the settlement, correct?
    12 talking about.                                  12          MS. McCLURE: Objection.
    13      Q. The excessive order reports?            13      Form.
    14      A. Yeah, the excessive order               14          THE WITNESS: We changed
    15 reports.                                        15      some practices after the
    16      Q. Okay. And what was the                  16      August 2005 period and then
    17 nature of the due diligence that was            17      changed them more after the
    18 conducted?                                      18      enforcement action.
    19      A. Again, we would do -- we                19 BY MR. PIFKO:
    20 would send out a questionnaire, and we          20      Q. Okay. Right. So that's why
    21 would have -- actually have the                 21 I'm book-ending this particular time
    22 salesperson go in, visit the site, and          22 period.
    23 have the questionnaire filled out. I            23      A. Okay.
    24 believe it was signed by the salesperson        24      Q. So the questions that you
                                            Page 135                                           Page 137
     1 and the customer.                                1 asked of pharmacies were designed to
     2      Q. What was in the                          2 determine whether a pharmacy was an
     3 questionnaire?                                   3 internet pharmacy?
     4      A. Questions that we were                   4      A. Yes.
     5 provided by DEA that they suggested that         5      Q. Did they ask any other types
     6 we ask to customers.                             6 of information?
     7      Q. Do you remember any of the               7      A. When you say they, who are
     8 types of questions?                              8 you talking of?
     9      A. There were 10 or 12 -- 10 or             9      Q. The questionnaire.
    10 12 questions. All related to internet           10      A. I -- I don't remember the
    11 pharmacy, to ensuring that a pharmacy           11 specific questions at the time.
    12 wasn't engaged in that internet activity.       12      Q. Okay. So we got on this
    13      Q. Okay. And when did that                 13 track because what I was asking was how
    14 start?                                          14 you determined whether an order that's
    15      A. I would say late 2005.                  15 excessive is -- is suspicious and whether
    16 Sometime after August.                          16 there was any investigation or due
    17      Q. I want to be clear that we              17 diligence that would have been conducted
    18 are talking about the right time period.        18 on an order that was excessive. Okay?
    19 So I just wrote down what we talked about       19      A. Okay.
    20 there.                                          20      Q. So you testified that after
    21          Okay. So we're talking                 21 August 2005 there were questions that
    22 about this time period after August of          22 were asked.
    23 2005 but before the DEA enforcement             23      A. Mm-hmm.
    24 action. Okay?                                   24      Q. Were there -- those
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     1 questions appear to be, as you're                  1 page? Okay?
     2 testifying, just designed to determine if          2      A. An order that's generated on
     3 something is an internet pharmacy,                 3 that report.
     4 correct?                                           4      Q. Right.
     5          MS. McCLURE: Objection to                 5      A. Yes. Okay. It could be any
     6      form.                                         6 controlled substance.
     7          THE WITNESS: I don't -- you               7      Q. Okay. In order to -- I'm
     8      know, I don't know if it was just             8 asking you about types of investigations
     9      totally all the questions were                9 that were done on those orders to
    10      totally specific to internet                 10 determine whether they were suspicious.
    11      pharmacy. There may have been                11 And so you said that Eric looked at them
    12      other questions just to -- to try            12 to see if they had hydrocodone
    13      to find out what, you know, what             13 combination products in them. And
    14      the pharmacy's practices were.               14 that's -- and then if they did, you would
    15 BY MR. PIFKO:                                     15 do a further investigation, correct?
    16      Q. What, in the questionnaire,               16      A. Well, I think that was a
    17 would tell you if an order that was in            17 primary --
    18 the excessive order report was                    18           MS. McCLURE: Objection to
    19 suspicious?                                       19      form.
    20      A. In the questions on the --                20           THE WITNESS: I'm sorry.
    21 that wouldn't tell us an order is                 21           MS. McCLURE: That's okay.
    22 suspicious or not.                                22           THE WITNESS: I believe that
    23      Q. Okay. What investigation,                 23      was his primary focus, but he
    24 if any, did you conduct on an excessive           24      would look -- he would review the
                                              Page 139                                           Page 141
     1 order that would tell you whether it was           1      whole report is my -- as -- as I
     2 suspicious?                                        2      recall.
     3       A. To the best of my                         3 BY MR. PIFKO:
     4 recollection and -- Eric would review              4      Q. And you are talking about
     5 those monthly reports. And we would --             5 Eric Cherveny, to be clear?
     6 we were looking for specifically at the            6      A. Yes.
     7 time the drugs that were being used a lot          7      Q. Okay. When did he start
     8 by the internet pharmacy which was                 8 doing that?
     9 typically the hydrocodone combination              9      A. Again, it was probably
    10 products. And that would be the things            10 sometime after August of 2005. I don't
    11 that he would look for on those reports.          11 remember the exact date that he started
    12 And then he would generate an                     12 doing that.
    13 investigation of that customer based on           13      Q. What's a hydrocodone
    14 reviewing those reports, as I recall.             14 combination product?
    15       Q. Other than hydrocodone                   15      A. Again, not speaking --
    16 combination products, was there any other         16 speaking as a layman, not a pharmacist
    17 feature of an order that you would look           17 or -- or a chemist, but it's a
    18 at to determine whether it was suspicious         18 hydrocodone in combination with some
    19 if it was an excessive order report?              19 other noncontrolled product like
    20       A. Well, again the system, it               20 acetaminophen or aspirin or something
    21 looked at all controlled substances.              21 like that. That would be a combination
    22       Q. An order is -- gets included             22 product.
    23 under the order monitoring program as an          23      Q. And you had an understanding
    24 excessive order. Are we on the same               24 that those products were more likely to


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     1 be the subject of diversion?                   1       Q. And he was the only one who
     2          MS. McCLURE: Objection.               2  was doing that?
     3          THE WITNESS: That was our              3      A. I believe so at that time.
     4      understanding, that that was the           4      Q. And I want to clarify for
     5      drug that was most -- most likely          5 the record. We're talking about every
     6      used by the internet pharmacy.             6 order that's in the excessive order
     7 BY MR. PIFKO:                                   7 report, correct?
     8      Q. What was the basis of that              8      A. That he reviewed?
     9 understanding?                                  9          MR. PIFKO: Yeah.
    10      A. Communications from DEA.               10          MS. McCLURE: Objection to
    11      Q. So the DEA told you that               11      form.
    12 those products were of particular              12          THE WITNESS: I believe
    13 concern?                                       13      that's correct.
    14      A. Yes.                                   14 BY MR. PIFKO:
    15      Q. Prior to August 2005, was              15      Q. And prior to that time, an
    16 anybody looking at the excessive order         16 excessive order report would include an
    17 reports to determine if they weren't           17 order from any customer, correct?
    18 suspicious?                                    18      A. That's my understanding.
    19          MS. McCLURE: Objection to             19      Q. Not just a potential
    20      form.                                     20 internet customer, correct?
    21          THE WITNESS: I believe                21      A. That's correct.
    22      someone may have reviewed those,          22      Q. And you don't have any
    23      but they were -- they were sent to        23 recollection of whether anyone reviewed
    24      DEA.                                      24 any excessive order reports prior to

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     1 BY MR. PIFKO:                                August 2005, correct?
                                                      1
     2      Q. You -- you believe they were       2          MS. McCLURE: Objection.
     3 reviewed by someone at AmerisourceBergen? 3           THE WITNESS: I don't.
     4      A. I don't recall.                    4 BY MR. PIFKO:
     5      Q. So you don't know either           5      Q. Do you have an understanding
     6 way?                                       6 about -- did you ever look at any of
     7      A. I don't. Yeah, I don't.            7 those excessive order reports?
     8      Q. So it's your testimony that        8      A. Yes.
     9 sitting here today, you don't know if      9      Q. How often did you look at
    10 anything was done to determine that an    10 excessive order reports?
    11 order in the excessive order report       11      A. I couldn't say. Not very
    12 wasn't suspicious prior to August 2005,   12 often.
    13 correct?                                  13      Q. About how many orders would
    14      A. That's correct.                   14 be included in an excessive order report,
    15      Q. If there was an                   15 on the times when you observed them?
    16 investigation, it would be put in the Law 16      A. I have no idea.
    17 Track system?                             17      Q. Would you say 100 orders,
    18      A. I would -- I would think so,      18 more than 100 orders?
    19 yes.                                      19          MS. McCLURE: Objection.
    20      Q. And Eric Cherveny was the         20      Form. Asked and answered.
    21 person who was responsible for doing      21          THE WITNESS: I couldn't
    22 that?                                     22      say.
    23      A. After August of 2005, yes,        23 BY MR. PIFKO:
    24 he was doing those.                       24      Q. Okay. A million orders?
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     1 You have no idea about how many orders          1       Q. We talked earlier about the
     2 are in an excessive order?                      2  duty for a registrant to prevent
     3      A. I doubt it's a million.                  3 diversion. Do you recall that?
     4      Q. Okay. More than -- these                 4      A. Yes. Yes.
     5 were generated -- you don't know how             5         MS. McCLURE: Objection to
     6 frequently they were generated, monthly,         6      form.
     7 weekly?                                          7 BY MR. PIFKO:
     8      A. I believe they were monthly              8      Q. Do you know what diversion
     9 reports --                                       9 is?
    10      Q. Okay.                                   10      A. It's basically the act of
    11      A. -- and they were generated              11 diverting something from wherever it was
    12 for each distribution center and reported       12 intended in basic terms.
    13 to DEA.                                         13      Q. Do you have an understanding
    14      Q. Okay. And those were                    14 of how the company seeks to prevent
    15 maintained in the Law Track system or how       15 diversion?
    16 were those maintained?                          16         MS. McCLURE: Objection.
    17          MS. McCLURE: Objection.                17      Form.
    18      Form.                                      18         THE WITNESS: We seek to
    19          THE WITNESS: Those reports?            19      prevent diversion by complying
    20 BY MR. PIFKO:                                   20      with the regulations.
    21      Q. Yeah.                                   21 BY MR. PIFKO:
    22      A. I don't know.                           22      Q. Do you understand that -- do
    23      Q. About how many occasions do             23 you have an understanding about why we
    24 you recall looking at the excessive order       24 want to prevent diversion?

                                            Page 147                                         Page 149
     1   reports?                                      1       A. Yes.
     2           MS. McCLURE: Objection.               2       Q. What's your understanding
     3      Asked and answered.                         3 why we want to prevent diversion?
     4           THE WITNESS: I don't know.             4      A. We want to prevent --
     5      I just know what they look like.            5 preventing diversion prevents controlled
     6 BY MR. PIFKO:                                    6 substances from getting -- getting
     7      Q. Let's talk about the duty to             7 outside of the legitimate channels that
     8 prevent diversion.                               8 they're being intended for.
     9      A. Okay.                                    9      Q. And why do we want to do
    10      Q. There's a quote here from               10 that? Why don't we want controlled
    11 the Code of Federal Regulations.                11 substances to get outside of legitimate
    12           It says: "All applicants              12 channels?
    13 and registrants shall provide effective         13      A. Because we don't want people
    14 controls and procedures to guard against        14 that shouldn't be getting them to be
    15 theft and diversion of controlled               15 getting them.
    16 substances."                                    16      Q. Because they can abuse them?
    17           MS. McCLURE: To the extent            17          MS. McCLURE: Objection.
    18      that that's not a full and                 18          THE WITNESS: They could.
    19      complete representation of what            19 BY MR. PIFKO:
    20      the statute says, which I can't            20      Q. And they could become
    21      say off the top of my head whether         21 addicted to them?
    22      it is or it isn't, then I object           22      A. They could.
    23      to the excerpt.                            23          MS. McCLURE: Same objection
    24 BY MR. PIFKO:                                   24      to the inclusion of partial
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     1      testimony without context from              1      Q. You do?
     2      other witnesses.                            2      A. I agree that they could.
     3 BY MR. PIFKO:                                    3      Q. Did the DEA tell you at any
     4      Q. David May testified: "I                  4 point about the propensity of people to
     5 think there's been several actions that          5 get prescription opioids and then turn to
     6 have been taken where it's becoming              6 the illegal market?
     7 difficult for people to receive                  7      A. I don't recall that
     8 prescription opioids over time. And              8 specifically, no.
     9 there are a number of different reasons          9      Q. I'm going to hand you an
    10 why.                                            10 exhibit that was produced to us a couple
    11          "I think that people who may           11 of days ago.
    12 be addicted and can no longer get a             12          MR. PIFKO: Just a minute.
    13 prescription opioid, can that cause them        13      My colleague is getting that for
    14 to go to the illegal market? I think it         14      you.
    15 can. Has that caused folks to do that?          15          (Document marked for
    16 I think it has."                                16      identification as Exhibit
    17          Do you have an understanding           17      ABDC-Mays-1.)
    18 that people can get addicted to a               18 BY MR. PIFKO:
    19 prescription and then seek those pills          19      Q. I'm handing you what's
    20 through the illegal market?                     20 marked as Exhibit 1. It's a document
    21          MS. McCLURE: Continuing                21 that's Bates-labeled ABDCMDL00315887
    22      objection to this line with this           22 through -- I have the copy in front of me
    23      witness's testimony up on the              23 that was e-mailed that doesn't have the
    24      screen.                                    24 Bates number. My colleague is getting

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     1          THE WITNESS: Can you repeat             1 the last Bates numbers. While he's doing
     2      the question? And I don't really            2 that, please take a moment to review this
     3      know what the question was that             3 document.
     4      prompted his answer. So it's kind           4      A. Okay.
     5      of difficult for me to --                   5      Q. ABDCMDL00315887 through
     6 BY MR. PIFKO:                                    6 315900.
     7      Q. That's okay. I'm just                    7          Let me know when you're done
     8 asking you --                                    8 reviewing it.
     9      A. -- to comment on what he's               9      A. Okay.
    10 stating.                                        10      Q. You're done reviewing it?
    11      Q. I'm not asking you to                   11      A. Mm-hmm. Yes, sir.
    12 comment on what he's stating.                   12      Q. Okay. Have you seen that
    13      A. Okay.                                   13 document before?
    14      Q. I'm just asking you if you              14      A. I believe so.
    15 agree that someone can start with a             15      Q. Can you tell me what it is?
    16 prescription opioid and then become             16      A. It looks like a slide
    17 addicted and then seek to fill their need       17 presentation that was given to me in
    18 of their addiction through illegal              18 August of 2005 the DEA had forwarded.
    19 channels?                                       19      Q. Is your name on here?
    20          MS. McCLURE: Objection.                20      A. I don't think so.
    21      Form.                                      21      Q. You said -- I just said
    22 BY MR. PIFKO:                                   22 that, because you said it was given to
    23      Q. Do you agree with that?                 23 you.
    24      A. I do.                                   24          Do you recall being --
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     1 participating in this meeting?                 1       Q. You and anybody else
     2       A. Yes. I represented                    2  meeting --
     3 AmerisourceBergen in that meeting.              3      A. -- or are you talking
     4       Q. Okay. Who was at this                  4 about --
     5 meeting besides you?                            5      Q. -- with the DEA in an
     6       A. It was only myself and Mike            6 official capacity --
     7 Mapes from DEA. And I don't recall the          7      A. They --
     8 gentleman's name, but I think he was            8           MS. McCLURE: Let him
     9 their chief counsel.                            9      finish.
    10       Q. If you go to the last --              10           THE WITNESS: Sorry.
    11       A. He was an attorney.                   11           MS. McCLURE: Let him
    12       Q. -- the last page.                     12      finish, and then you can talk.
    13       A. Mm-hmm.                               13      Otherwise she has trouble getting
    14       Q. It's got Mike Mapes, and              14      it all down.
    15 it's got Kyle Wright. Is Kyle the other        15           THE WITNESS: I'm sorry.
    16 person that was there?                         16 BY MR. PIFKO:
    17       A. No.                                   17      Q. Okay. So my question is,
    18       Q. Okay.                                 18 prior to this meeting with DEA in
    19       A. I don't think Kyle --                 19 August 10, 2005, if you had met with them
    20       Q. It was someone other than             20 in an official capacity before then.
    21 Kyle?                                          21      A. Not other than that
    22       A. I don't think Kyle was in             22 situation I told you about. I may have
    23 the room.                                      23 met with them -- anytime we had an
    24       Q. Okay. You don't remember              24 informal hearing or something like that,

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     1 the other person's name?                       1  and I can't remember if it was before
     2      A. No, I don't. He was an                 2  that. I went to an informal hearing in
     3 older gentleman, and he was an attorney.        3 Atlanta, based on the Atlanta DC. They
     4 But I don't remember his exact title. He        4 had concerns about order forms during an
     5 was an attorney with DEA.                       5 inspection. Again, the previous one in
     6      Q. Was this the first time that            6 Nashville. Other than that not in an
     7 you met with the DEA as a representative        7 official capacity that I can recall.
     8 of AmerisourceBergen Corporation?               8      Q. When was the Atlanta meeting
     9      A. No, I'm sure I met with DEA             9 that you can recall?
    10 in the past before that.                       10      A. I don't remember. It was
    11      Q. What were other types of               11 probably early 2000s, something like
    12 occasions where you would have met with        12 that.
    13 DEA?                                           13      Q. So this specific meeting,
    14      A. I remember when I was in               14 how did it come about, did someone call
    15 Chattanooga meeting with them in               15 you up and say --
    16 Nashville related to the -- some concerns      16      A. This one?
    17 they had following an inspection, I            17      Q. Yeah.
    18 believe.                                       18      A. What prompted the meeting?
    19      Q. That was back in the '70s?             19      Q. Yeah.
    20      A. Yeah. Yeah. '70s, early                20      A. Kyle Wright approached me at
    21 '80s, maybe.                                   21 an H -- I believe it was an HDA
    22      Q. Okay. How about more                   22 conference and asked me if I would come
    23 recently, but prior to this meeting?           23 and meet with them. And I said sure.
    24      A. Just me meeting with DEA --            24      Q. When was that conference?
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     1      A. It must have been earlier in            1          MS. McCLURE: Objection to
     2 2005.                                           2      form. You can answer.
     3      Q. Did he tell you what he                 3          THE WITNESS: -- at the
     4 wanted to meet about?                           4      conference. It's an annual
     5      A. I don't recall specifically.            5      conference, and often DEA is
     6 He just asked if we would come and meet         6      invited to attend and present.
     7 with them.                                      7          And I don't know how he
     8      Q. Okay. And so were you                   8      found out who I was, or how he
     9 concerned about why he was asking you to        9      approached me. But he -- he was
    10 meet with him?                                 10      waiting outside of one of the
    11      A. No. He didn't say anything             11      sessions I was in and approached
    12 to me that concerned me about the              12      me when I walked out.
    13 meeting. That's why I went by myself.          13 BY MR. PIFKO:
    14      Q. So you went to DEA                     14      Q. Okay. And you had never met
    15 headquarters for this meeting?                 15 him before?
    16      A. That's correct.                        16      A. Never met him before.
    17      Q. And then they gave you this            17      Q. And he just introduced
    18 slide presentation?                            18 himself and said hi, I'm from the DEA, I
    19      A. I think they just gave me              19 would like you to come to a meeting?
    20 the printed slides in a binder.                20      A. Yeah. It was a very
    21      Q. Okay. And --                           21 friendly exchange.
    22      A. And discussed them.                    22      Q. Okay. So then you go to
    23      Q. Okay. Did you discuss the              23 this meeting. You said it's about an
    24 slides in the meeting?                         24 hour and a half?

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     1      A. I believe so.                           1      A. No, I said it was about an
     2      Q. How long was the meeting?               2 hour or less.
     3      A. It wasn't real long. Maybe,             3      Q. Oh okay. And you just
     4 maybe an hour. Maybe less.                      4 flipped through the slides with them?
     5      Q. So the first slide on the               5          MS. McCLURE: Objection.
     6 document is internet pharmacy data. Do          6          THE WITNESS: I don't
     7 you see that?                                   7      recall. I just remember they gave
     8      A. Yes.                                    8      me a binder.
     9      Q. Was the meeting focused on              9 BY MR. PIFKO:
    10 specifically internet pharmacies?              10      Q. This document has two slides
    11      A. Yes.                                   11 per page. But going to the second page,
    12      Q. When you saw Mike Mapes at             12 third slide --
    13 an had meeting, how -- and he invited you      13      A. Okay.
    14 to this meeting -- did I get that right?       14      Q. -- it says "Issues to
    15          MS. McCLURE: Objection to             15 Consider."
    16      form.                                     16          Do you see that?
    17          THE WITNESS: That's                   17      A. Yes.
    18      incorrect. It was Kyle Wright.            18      Q. What are these -- do you
    19 BY MR. PIFKO:                                  19 have an understanding of what these
    20      Q. Oh, sorry. Okay. Kyle, how             20 issues to consider are for?
    21 did he know to approach you to request a       21      A. Yeah. My understanding was
    22 meeting with AmerisourceBergen?                22 issues to consider in identifying -- it
    23      A. I don't know. I guess he --            23 was related to internet pharmacy, things
    24 he was --                                      24 to look at, things to take into


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     1 consideration when reviewing a pharmacy.      1  else was involved in the discussion.
     2       Q. And did you understand --            2       Q. Was it as a result of this
     3 let's go back to the first slide.              3 meeting that you implemented the process
     4       A. Okay.                                 4 where Eric Cherveny would look for
     5       Q. There's a slide that says             5 hydrocodone combination products in the
     6 "Internet Pharmacies."                         6 excessive order reports?
     7       A. Mm-hmm.                               7      A. Yes.
     8       Q. Do you see that?                      8      Q. Did you talk about this
     9       A. Mm-hmm, yes.                          9 meeting with Eric Cherveny?
    10       Q. And it talks about some              10      A. I don't remember talking to
    11 attributes of an internet pharmacy.           11 him specifically about this meeting. But
    12       A. Correct.                             12 that's when we put those procedures in
    13       Q. Do -- do you have an                 13 place.
    14 understanding about why the DEA was           14      Q. Did you implement any other
    15 concerned about internet pharmacies?          15 procedures as a result of this meeting?
    16       A. Yes.                                 16      A. Not that I -- not other than
    17       Q. What -- what was your                17 previously stated.
    18 understanding?                                18      Q. The only procedure I'm --
    19       A. Well, my -- my understanding         19 for clarity of the record, that I'm aware
    20 from this meeting was that it was             20 of, is looking for hydrocodone products
    21 becoming a big problem.                       21 in the excessive order reports. Were
    22       Q. How so?                              22 there any other procedures that you
    23       A. Because people were able to          23 implemented as a result of this meeting?
    24 purchase specifically hydrocodone             24          MS. McCLURE: Objection to
                                          Page 163                                          Page 165
     1 combination products and -- and other         1       form.
     2 drugs over the internet just based on a       2            THE WITNESS: The -- the
     3 questionnaire and not seeing a doctor.         3      enhanced due diligence.
     4      Q. Were you aware of this                 4 BY MR. PIFKO:
     5 concern about internet pharmacies prior        5      Q. What specifically --
     6 to this August 10th meeting, 2005 meeting      6      A. Of customers.
     7 with the DEA?                                  7      Q. And what specifically was
     8      A. I don't -- I think this was            8 that?
     9 the first time that it was brought to my       9      A. The questionnaire and the
    10 attention, that it was a problem.             10 site visit.
    11      Q. You don't recall ever                 11      Q. Okay. The questionnaire
    12 discussing concerns about internet            12 that we talked about earlier that you --
    13 pharmacies within AmerisourceBergen prior     13 you would occasionally send these
    14 to this time?                                 14 questionnaires to customers after
    15      A. No, I don't.                          15 August 2005, is that correct?
    16      Q. After attending this                  16      A. That's my -- that's my
    17 meeting, did you discuss the nature of        17 understanding and my recollection.
    18 these slides and the discussion with the      18      Q. And the purpose of that
    19 DEA with anyone at AmerisourceBergen?         19 questionnaire was to try to learn about
    20      A. Yes.                                  20 whether a pharmacy might be engaging in
    21      Q. Who did you discuss it with?          21 internet pharmacy conduct?
    22      A. My boss, Chris Zimmerman.             22           MS. McCLURE: Objection to
    23      Q. Anyone else?                          23      form.
    24      A. I can't remember if anyone            24           THE WITNESS: That was the
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     1      primary focus.                             1       Q. Did you give one to Chris
     2          Sorry.                                 2  Zimmerman?
     3 BY MR. PIFKO:                                    3      A. I couldn't -- I don't
     4      Q. There's a bunch of court                 4 remember specifically who I gave them to.
     5 cases discussed in here. Supreme Court           5      Q. You think you gave them to
     6 case on the third page, and then there's         6 somebody?
     7 a pharmacy mentioned here with a cite to         7      A. I'm sure I did.
     8 the Federal Register. Another pharmacy           8      Q. Let's go to Page 7 of the
     9 and a Federal Register cite. Another             9 document.
    10 Supreme Court case. Do you recall               10      A. Okay.
    11 what -- what they told you when you were        11      Q. It talks about suspicious
    12 looking at these court cases and Federal        12 orders. Do you see that here?
    13 Register cites?                                 13      A. Yes.
    14      A. No, I do not.                           14      Q. Did you discuss suspicious
    15      Q. Sitting here today, do you              15 orders with them in connection with this
    16 understand what the significance of these       16 meeting, the DEA?
    17 court cases, two court cases and the two        17      A. I don't remember
    18 pharmacies, why they are included here?         18 specifically that.
    19          MS. McCLURE: Objection to              19      Q. Do you recall the DEA
    20      the form.                                  20 telling you at this time that you had to
    21          THE WITNESS: I don't                   21 report suspicious orders when discovered?
    22      recall -- I don't remember these           22      A. I don't recall the
    23      cases or specifics of them.                23 discussion.
    24 BY MR. PIFKO:                                   24      Q. Do you recall the DEA
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     1      Q. Do you remember reading                 1  telling you that reporting a suspicious
     2 any -- did you -- after the meeting, did        2  order to the DEA does not relieve the
     3 you read the Federal Register cites that         3 distributor of the responsibility to
     4 are here about these pharmacies?                 4 maintain effective controls against
     5      A. I don't remember.                        5 diversion?
     6      Q. Do you believe you would                 6      A. I don't recall that
     7 have shared these -- those Federal               7 discussion.
     8 Register cites with anyone at                    8      Q. Did you have an
     9 AmerisourceBergen?                               9 understanding that that was a
    10      A. I'm sure I did, because I               10 requirement --
    11 was given binders to take back.                 11      A. Yes.
    12      Q. You were given more than one            12      Q. -- at that time?
    13 copy?                                           13          MS. McCLURE: Object to the
    14      A. I think I was given two or              14      form.
    15 three.                                          15          THE WITNESS: Yes, I
    16      Q. Okay. Did they tell you                 16      understand the requirement.
    17 what they wanted you to do with these           17 BY MR. PIFKO:
    18 extra copies?                                   18      Q. What efforts did
    19      A. I think they just offered               19 AmerisourceBergen have in place at that
    20 them as extra copies.                           20 time to identify suspicious orders?
    21      Q. Okay. And who did you give              21      A. We had the same report that
    22 it to?                                          22 we discussed earlier that was approved by
    23      A. I couldn't tell you                     23 DEA.
    24 specifically.                                   24      Q. Anything else?
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     1      A. Be excessive suspicious                  1       A. Yes. At the time of
     2 order report. And that's what we                 2 renewal.
     3 reported to DEA.                                 3       Q. What do you mean renewal?
     4      Q. Anything else?                           4 What's that?
     5      A. That -- anything else that               5       A. Well, the customer is
     6 we do to --                                      6 required to renew their license and
     7      Q. At that time --                          7 required to renew their DEA registration.
     8           MS. McCLURE: Were you                  8       Q. Okay.
     9      finished answering his question?            9       A. We systematically track
    10           THE WITNESS: No. I guess I            10 that.
    11      want him to repeat the question,           11       Q. So when you onboard a
    12      the last question. When you say            12 customer, you mark the date of when they
    13      anything else, related to what?            13 were required to renew their
    14 BY MR. PIFKO:                                   14 registration?
    15      Q. Again, talking about this               15       A. It's loaded in the system.
    16 time period that's up on the slide here,        16       Q. And then you would check at
    17 before the suspension of the Orlando            17 some point after that to see if they
    18 facility's registration, but after the          18 still had a valid registration?
    19 AmerisourceBergen merger. Was there             19       A. The system monitored it.
    20 anything else in place besides the              20 Once they hit an expiration date, the
    21 suspicious excessive order reports that         21 system would automatically block orders,
    22 we talked about?                                22 depending on which license it is.
    23      A. Sure. Yeah. Yes.                        23       Q. Anything else that you would
    24      Q. To identify suspicious                  24 do to check to see if a registration was

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     1 orders?                                          1 revoked or suspended?
     2      A. There's other things in                  2       A. Yes. We'd get a NTIS report
     3 place that the regulations require us to         3 that gets reviewed every -- I believe
     4 do.                                              4 it's every month, and it basically is
     5          We make sure that any                   5 a -- information about all the customers,
     6 pharmacy that we distribute controlled           6 DEA registration, it gets matched -- it
     7 substances to is properly licensed by the        7 gets matched up with our customer file
     8 state and registered by DEA.                     8 and flags any discrepancies, and they get
     9      Q. How did you do that?                     9 investigated. That's one way.
    10      A. The requirement is that we              10          And DEA also sends out a --
    11 make a good faith effort to ensure that         11 they used to mail it out, like a
    12 they are licensed and registered with           12 quarterly retired list of any
    13 DEA, and we typically would -- this was         13 registered -- registration numbers that
    14 before you could check websites to verify       14 had been revoked or retired, and that was
    15 it, we would get copies of their licenses       15 required to be reviewed.
    16 to verify that they were properly               16       Q. And all those things were
    17 licensed.                                       17 done during this time period?
    18      Q. At what stage in the process            18       A. As I recall, yes.
    19 would you get copies of their license?          19       Q. Okay. So you had the
    20      A. Upon onboarding of the                  20 excessive suspicious order reports, the
    21 customer.                                       21 checking of the registration. Anything
    22      Q. Did you ever engage in any              22 else that you did to identify suspicious
    23 effort to check their license after you         23 orders?
    24 onboarded them?                                 24       A. Again, we had the posting in
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     1 the vault and cage with the base quantity         1 enough necessarily to control diversion,
     2 levels that -- so we didn't want to               2 correct?
     3 totally rely on systems. We wanted to             3           MS. McCLURE: Object to
     4 make sure that people had an opportunity          4       form.
     5 to report any orders that looked                  5           THE WITNESS: Again,
     6 suspicious to them to their supervisor.           6       reporting a suspicious order
     7      Q. Okay. Anything else?                      7       doesn't relieve us of our
     8      A. I can't think of anything                 8       responsibility to have effective
     9 else. Could be.                                   9       controls to prevent diversion,
    10      Q. Going back to Exhibit 1.                 10       which we have in place, we had in
    11 I'm on Page 7.                                   11       place.
    12      A. Okay.                                    12 BY MR. PIFKO:
    13      Q. It looks like you are there.             13       Q. So if diversion occurs even
    14      A. Yes, sir.                                14 though you reported an order, you're
    15      Q. The second slide on Page 7               15 still responsible, correct?
    16 there says, "Reporting a suspicious order        16           MS. McCLURE: Object to the
    17 to DEA does not relieve the distributor          17       form.
    18 of the responsibility to maintain                18           THE WITNESS: Can you repeat
    19 effective controls against diversion."           19       that again?
    20           Do you see that?                       20 BY MR. PIFKO:
    21      A. Yes, I do.                               21       Q. You said reporting a
    22      Q. Did you have an                          22 suspicious order doesn't relieve us of
    23 understanding that that was a requirement        23 our duty to have effective controls
    24 at that time?                                    24 against diversion. So I'm just

                                             Page 175                                           Page 177
     1           MS. McCLURE: Object to                  1 clarifying. Merely reporting it, if an
     2     form.                                         2 order is suspicious, and you report it
     3           THE WITNESS: I understood               3 and it gets diverted, you're still
     4     the regulation, yes.                          4 responsible, correct?
     5 BY MR. PIFKO:                                     5          MS. McCLURE: Object to the
     6     Q. What do you understand that                6       form. Calls for a legal
     7 to mean?                                          7       conclusion.
     8     A. That we still have to have                 8          THE WITNESS: I disagree.
     9 effective controls to prevent diversion.          9 BY MR. PIFKO:
    10 We're required to maintain effective             10       Q. Okay. Why do you disagree?
    11 controls.                                        11       A. How can we be responsible
    12     Q. And that even if you report               12 for a pharmacy or -- that diverts
    13 an order to the DEA that's suspicious,           13 controlled substances after they've
    14 you still need to do something to make           14 received them from us?
    15 sure it's not diverted?                          15       Q. Well, you just said that
    16           MS. McCLURE: Object to                 16 reporting -- even if you report it, you
    17     form.                                        17 still have responsibility to prevent
    18           THE WITNESS: We just                   18 diversion, correct?
    19     understand that we're -- it                  19       A. No. We have a
    20     doesn't relieve us of our                    20 responsibility to maintain effective
    21     responsibility to maintain                   21 controls against diversion. So we
    22     effective controls.                          22 have -- we had the controls in place.
    23 BY MR. PIFKO:                                    23 That doesn't mean diversion is not going
    24     Q. So reporting it alone is not              24 to take place at some point.


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     1     Q. Okay. So if you report an                1 orders. And we can't rely on DEA to tell
     2 order though, it's still your job to            2 us what should be reported and what
     3 maintain effective controls to prevent          3 shouldn't.
     4 diversion of that order, correct?               4      Q. It's not the DEA's job to
     5     A. I think we keep saying the               5 tell you if an order is suspicious,
     6 same thing, yes.                                6 correct?
     7     Q. Do you agree?                            7          MS. McCLURE: Object to the
     8         MS. McCLURE: Object to the              8      form.
     9     form.                                       9          THE WITNESS: No, it's not
    10         THE WITNESS: We have a                 10      DEA's job to tell us what's
    11     responsibility to maintain                 11      suspicious.
    12     effective controls against                 12 BY MR. PIFKO:
    13     diversion. That's the regulation.          13      Q. And it's not DEA's job to
    14 BY MR. PIFKO:                                  14 maintain effective controls against
    15     Q. And so it's your job to                 15 diversion, correct?
    16 maintain effective controls against            16          MS. McCLURE: Object to the
    17 diversion regardless of whether you            17      form.
    18 report an order as suspicious, correct?        18          THE WITNESS: Well, I think
    19     A. That's correct.                         19      DEA has a role to prevent
    20         MS. McCLURE: Mark, at some             20      diversion. I think that's why
    21     point, we've been going for almost         21      they're in place.
    22     an hour and a half. Take a break           22 BY MR. PIFKO:
    23     for lunch.                                 23      Q. But it's your job as a
    24         MR. PIFKO: Yeah, we can                24 registrant to maintain effective controls

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     1      take a lunch break as soon as we           1 to prevent diversion, correct?
     2      finish this document.                      2           MS. McCLURE: Object to the
     3 BY MR. PIFKO:                                   3      form.
     4      Q. Let's go to Page 8, the next            4           THE WITNESS: Sorry. That's
     5 page?                                           5      a regulatory requirement.
     6      A. Okay.                                   6 BY MR. PIFKO:
     7      Q. The next slide says                     7      Q. This next bullet point here,
     8 "Suspicious Orders."                            8 "Distributor must determine which orders
     9      A. Mm-hmm.                                 9 are suspicious and make a sales
    10      Q. Do you see that? It says               10 decision."
    11 DEA cannot tell a distributor if an order      11           Do you see that?
    12 is legitimate or not. Distributor must         12      A. Yes, I see it.
    13 determine which orders are suspicious and      13      Q. What do you understand that
    14 make a sales decision.                         14 to mean?
    15          Do you see that?                      15      A. I understand that to mean
    16      A. Yes, I do.                             16 that we have to make our own decision
    17      Q. Do you have an understanding           17 about what's suspicious and what to
    18 of what that means?                            18 report.
    19      A. Yes.                                   19      Q. And if an order is
    20      Q. What's your understanding of           20 suspicious, to make a decision on whether
    21 what that means?                               21 to sell it?
    22      A. My understanding is we're              22      A. That's kind of what it says.
    23 required to develop a system to detect         23 That's pretty much what it says.
    24 suspicious -- and report suspicious            24      Q. You understand that to mean
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     1 if an order is suspicious, if you               1      A. I don't recall specific
     2 determine that an order is suspicious,          2 discussions about these slides.
     3 you need to make a decision not to sell         3      Q. Do you recall there being
     4 it?                                             4 discussion about what attributes are of
     5           MS. McCLURE: Object to the            5 an internet pharmacy and investigations
     6       form.                                     6 that you could conduct to determine
     7           THE WITNESS: No.                      7 whether a pharmacy is an internet
     8 BY MR. PIFKO:                                   8 pharmacy?
     9       Q. You don't understand that to           9           MS. McCLURE: Object to the
    10 mean that?                                     10      form. Compound.
    11       A. I understand that it means            11           THE WITNESS: The first part
    12 we have to -- it's up to us to determine       12      of your question, I understand
    13 what's a suspicious order and then we          13      that this was a discussion of the
    14 make a business decision about whether to      14      attributes of what could be an
    15 fill the order or not.                         15      internet pharmacy.
    16       Q. Do you believe that selling           16 BY MR. PIFKO:
    17 an order that you've determined to be          17      Q. And did you understand that
    18 suspicious is inconsistent with your duty      18 the DEA expected you to conduct
    19 to prevent diversion?                          19 investigations to determine if your
    20           MS. McCLURE: Object to the           20 customers were internet pharmacies?
    21       form.                                    21      A. As I recall, they gave us --
    22           THE WITNESS: No.                     22 they are not part of this attachment.
    23 BY MR. PIFKO:                                  23 But they gave us some questions that they
    24       Q. So you don't believe that if          24 suggested that we ask. I don't think it

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     1 you sell an order that's suspicious, you        1 was called investigations. But they --
     2 could be contributing to diversion?             2 they gave us some questions that they
     3          MS. McCLURE: Object to the             3 felt like would be -- that they
     4      form.                                      4 recommended we ask of our customers.
     5          THE WITNESS: I don't know              5       Q. And those were included in
     6      that diversion takes place just            6 your questionnaire?
     7      because an order is reported as            7       A. Yes. As I recall.
     8      suspicious. It doesn't mean it's           8       Q. Let's go to Page 12.
     9      diversion.                                 9       A. Okay.
    10 BY MR. PIFKO:                                  10       Q. Second slide.
    11      Q. The next series of slides              11       A. Okay.
    12 are about examples of pharmacies. The          12       Q. Well, let's go actually to
    13 copy we have is essentially illegible          13 the first slide, Popular Internet Drugs.
    14 with these pictures. But do you have an        14 Do you see that?
    15 understanding about what was portrayed in      15       A. Yes.
    16 these slides, and did you discuss it at        16       Q. Hydrocodone. Do you see
    17 the meeting?                                   17 that?
    18          MS. McCLURE: Object to the            18           You have an understanding --
    19      form. Compound.                           19 we talked about hydrocodone earlier.
    20          THE WITNESS: I don't                  20       A. Mm-hmm. Right.
    21      recall.                                   21       Q. Do you recall discussing
    22 BY MR. PIFKO:                                  22 these drugs being of concern?
    23      Q. I'm talking about from                 23       A. Yes.
    24 Pages 9 to 11.                                 24       Q. Why is that?
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     1      A. Why -- why they were drugs              1      corresponding responsibility.
     2 of concern?                                     2          That was part of a
     3      Q. Yeah.                                   3      question -- I think that was part
     4      A. As I recall, those were the             4      of the question in our
     5 more common drugs that were being filled        5      questionnaire. If they answered
     6 from internet activity.                         6      that they didn't fill them based
     7      Q. And those drugs were                    7      on that, then that was a red flag
     8 potentially being subject to abuse?             8      for us, that it can be an internet
     9      A. Any controlled substance is             9      pharmacy.
    10 subject to abuse, yes.                         10 BY MR. PIFKO:
    11      Q. But these were of particular           11      Q. And the DEA also told you
    12 concern?                                       12 that drugs dispensed pursuant to invalid
    13      A. I think these were -- my               13 prescriptions are not for legitimate
    14 understanding is these were particularly       14 medical purposes, the drugs are diverted?
    15 of concern because these were the popular      15      A. I see it, yes.
    16 internet drugs, is what I recall.              16      Q. That's what they told you?
    17      Q. Next slide talks about                 17      A. I don't recall the
    18 "prescriptions not written in the usual        18 conversations. I just see what's in the
    19 course of professional practice are not        19 slides.
    20 valid."                                        20      Q. They communicated that to
    21          Do you have an understanding          21 you --
    22 of what -- what that means?                    22      A. It was 13 years ago.
    23      A. Yes, I do.                             23      Q. Okay. They communicated
    24      Q. What does that mean?                   24 that to you via these slides for sure

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     1       A. It basically means that the            1 though, right?
     2 DEA expects a prescription to be written        2      A. Yes.
     3 based on a face-to-face doctor-patient          3      Q. And they said that's not
     4 relationship.                                   4 limited to internet pharmacies as well,
     5       Q. And so did the DEA expect              5 correct?
     6 you to assess whether your customers were       6      A. That's what it says.
     7 filling prescriptions that may have been        7      Q. Going to the next page,
     8 generated through an invalid professional       8 Page 13.
     9 practice?                                       9      A. Okay.
    10       A. I don't think they looked at          10      Q. You see here it says, "A
    11 that as our role. They looked at that          11 pattern of drugs being distributed to
    12 as -- they -- that's why they gave us          12 pharmacies who are diverting controlled
    13 some of these things, characteristics to       13 substances demonstrates the lack of
    14 look for, and questions to ask. But            14 effective controls against diversion by
    15 not -- not to know whether -- you know,        15 the distributor."
    16 how the prescriptions were written.            16          Do you see that?
    17       Q. But they wanted you to                17      A. I see it.
    18 consider whether the prescriptions were        18      Q. Okay. So again, the DEA
    19 not being written face-to-face as part of      19 communicated to you at a minimum through
    20 your assessment of these issues?               20 these slides that if you as a distributor
    21           MS. McCLURE: Object to the           21 are selling drugs in a pattern to
    22       form. Misstates prior testimony.         22 pharmacies who are diverting them, that
    23           THE WITNESS: That's the --           23 is evidence of a lack of effective
    24       that's the pharmacies'                   24 controls against diversion. Agree?


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     1           MS. McCLURE: Object to the             1      Q. Okay. Do you have an
     2      form.                                       2 understanding about why the distributor's
     3           THE WITNESS: Let me read               3 action is supposed to be in the public
     4      this again. Yeah, my read of this           4 interest?
     5      is if there is a pattern that a             5      A. Yes.
     6      distributor is -- is knowingly              6      Q. Why is that?
     7      distributing drugs to a pharmacy            7      A. Well, they want to ensure
     8      that's diverting them would be a            8 that drugs are not diverted into
     9      lack of effective controls.                 9 illegitimate channels.
    10 BY MR. PIFKO:                                   10      Q. And that's -- as a
    11      Q. Where does it say knowingly?            11 distributor, that's your job, among other
    12      A. Well, that's just my                    12 things, to make sure that doesn't happen,
    13 interpretation --                               13 right?
    14      Q. Okay. But it doesn't say                14          MS. McCLURE: Object to the
    15 that, right?                                    15      form of the question.
    16      A. -- pattern -- no, it doesn't            16          THE WITNESS: To have
    17 say that.                                       17      effective controls in place to
    18      Q. Okay. So what they                      18      prevent it.
    19 communicated to you was that simply             19 BY MR. PIFKO:
    20 having a pattern of drugs being                 20      Q. The next slide here, it
    21 distributed to pharmacies who were              21 says, "Any distributor who is selling
    22 diverting controlled substances                 22 controlled substances that are being
    23 demonstrates the lack of effective              23 dispensed outside the course of
    24 controls against diversion by the               24 professional practice must stop

                                            Page 191                                           Page 193
     1 distributor, correct?                            1 immediately."
     2          MS. McCLURE: Object to                  2          Do you see that?
     3      form.                                       3     A. I see that.
     4          THE WITNESS: That's what it             4     Q. Do you have an understanding
     5      says, "a pattern of drugs being             5 about what that means?
     6      distributed to pharmacies."                 6     A. Yes --
     7 BY MR. PIFKO:                                    7     Q. What's your understanding?
     8      Q. And they gave this to you,               8     A. -- yes.
     9 correct?                                         9          If -- if we're dispensing --
    10      A. As I recall, yes. Yes.                  10 if we're distributing controlled
    11      Q. And then it says here, "The             11 substances and we find out that they are
    12 DEA registration of the distributor could       12 being dispensed outside of the course of
    13 be revoked under public interest                13 professional practice, then we should
    14 grounds."                                       14 stop distributing to them once we become
    15          Do you see that?                       15 aware of it.
    16      A. I see that.                             16     Q. And why is that?
    17      Q. Do you have an understanding            17     A. Because that would be an
    18 about what that means?                          18 indication there could be diversion.
    19      A. Yes, I do.                              19     Q. Next bullet point there.
    20      Q. What does that mean?                    20 "DEA cannot guarantee that past failure
    21      A. That if a distributor is --             21 to maintain effective controls against
    22 if they feel that the distributor's             22 diversion will not result in an action
    23 actions are against the public interest,        23 against a distributor."
    24 then they could revoke the registration.        24          Do you see that?
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     1      A. Yes, I do.                             1 meet with industry groups. Do you see
     2      Q. Do you have an understanding           2 that?
     3 about what that means?                         3      A. Yes, I do.
     4      A. I can tell you what I think            4      Q. Do you recall discussing
     5 it means.                                      5 that?
     6      Q. Well, they communicated this           6      A. No, I don't recall
     7 to you at the time, they gave you this         7 discussing it.
     8 presentation, correct?                         8      Q. Do you recall them telling
     9      A. Yes.                                   9 you they were going to meet with other
    10      Q. Did you read it?                      10 distributors?
    11      A. Yes.                                  11      A. I recall them saying that
    12      Q. Okay. Did you tell them you           12 they will be meeting with -- with other
    13 didn't understand what that meant?            13 distributors, yes.
    14           MS. McCLURE: Object to the          14      Q. What did they say about
    15      form.                                    15 that?
    16           THE WITNESS: I can only             16      A. I think they called it their
    17      tell you what I think it means. I        17 distributor initiative. And they were
    18      can't remember what they said            18 going to start meeting with all the
    19      13 years ago.                            19 distributors.
    20 BY MR. PIFKO:                                 20      Q. Did they tell you
    21      Q. I'm just asking you if you            21 specifically any other distributors they
    22 recall upon receiving this, telling the       22 were going to be meeting with?
    23 DEA that you didn't understand what any       23      A. No.
    24 of this meant?                                24      Q. You were part of the
                                          Page 195                                            Page 197
     1       A. I don't recall.                       1 Healthcare Distribution Alliance,
     2       Q. What's your understanding of          2 correct?
     3 what the second bullet point there means,      3      A. Our company is a member,
     4 "DEA cannot guarantee that past failure        4 yes.
     5 to maintain effective controls against         5      Q. But you specifically
     6 diversion will not result in an action         6 participated, correct?
     7 against a distributor"?                        7      A. Yes.
     8          Will -- will -- yeah.                 8      Q. Did you, at this time -- did
     9 What's your understanding what that            9 they present anything to -- through the
    10 means?                                        10 had about this issue?
    11       A. Well, I think what it means          11          MS. McCLURE: Objection to
    12 is if you had a failure and even though       12      form.
    13 you may have corrected that, and remedied     13 BY MR. PIFKO:
    14 the situation, that doesn't mean later on     14      Q. I know it was a predecessor
    15 that they discover it and they could not      15 name at that time, but...
    16 come back and take action against you for     16      A. I can't remember precisely.
    17 that past failure.                            17 But DEA was often invited to meet with
    18       Q. The next page. Top slide.            18 had and had met with DEA over several
    19       A. Okay.                                19 topics.
    20       Q. It talks about -- it says,           20          MR. PIFKO: All right.
    21 "DEA is going to meet with other              21      Let's take a break.
    22 distributors. Tell you to provide this        22          THE VIDEOGRAPHER: We are
    23 information to your employees at your         23      going off record. The time is
    24 request." And they say they are going to      24      12:47.
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     1         (Lunch break.)                          1      Q. Okay.
     2         THE VIDEOGRAPHER: Going                 2      A. -- but that's a guess.
     3     back on the record. Beginning               3      Q. Okay?
     4     Media File Number 3. The time is            4      A. That might be on the high
     5     1:28.                                       5 side even.
     6 BY MR. PIFKO:                                   6      Q. You think it might have been
     7     Q. Welcome back.                            7 less than 12 at that time?
     8         I want to start talking now             8      A. It could have been. I
     9 about the, as you said, oversight of the        9 just --
    10 development of the enhanced ordering           10      Q. Definitely less than 20?
    11 monitoring program.                            11      A. When you say CSRA
    12         So that occurred after the             12 department, I can't remember exactly.
    13 DEA settlement, correct?                       13      Q. In the hierarchy of things,
    14     A. During the settlement                   14 Chris Zimmerman was at the top of the
    15 process, yes.                                  15 CSRA, correct?
    16     Q. Okay. As part of the,                   16      A. That's correct.
    17 another one of these little slides for         17      Q. And then you were a direct
    18 you, so we are on the same page.               18 report to Zimmerman, correct?
    19     A. I'm not seeing it yet.                  19      A. That's correct.
    20         MS. McCLURE: It's okay.                20      Q. Did anyone else, other than
    21         THE WITNESS: Here it is.               21 you, have a role in the diversion control
    22         MS. McCLURE: Again, your               22 aspect of the CSRA?
    23     date there is the settlement date.         23      A. Yes.
    24         MR. PIFKO: That's the date             24      Q. Who else in the CSRA at the
                                           Page 199                                            Page 201
     1      of the agreement.                          1 time of the DEA enforcement action was
     2 BY MR. PIFKO:                                   2 engaged in performing diversion-related
     3      Q. Okay. So let's talk                     3 functions?
     4 about -- so the DEA settlement occurs.          4      A. You mean at the time of the
     5 And you -- at what point did you get            5 action or after we started?
     6 tasked with overseeing the development of       6      Q. Well, good question.
     7 the enhanced order monitoring program?          7          Before you added anybody
     8      A. Almost from -- it was while             8 after the action.
     9 the negotiations were going on for the          9          MS. McCLURE: Object to the
    10 settlement.                                    10      form.
    11      Q. Let's talk -- so you said,             11          THE WITNESS: So it was
    12 at this 2007 time period, I asked you          12      pretty much everyone at the
    13 earlier how many employees were in the         13      corporate office, in the
    14 CSRA. Do you remember --                       14      department, was engaged. We
    15      A. Yeah.                                  15      pretty much engaged everyone that
    16      Q. -- how many employees there            16      we could. Kind of
    17 were around that time?                         17      all-hands-on-deck.
    18      A. Oh, no, I don't know the               18 BY MR. PIFKO:
    19 exact number specifically.                     19      Q. But -- no, I mean -- okay,
    20      Q. Okay. At one point you said            20 but before you even knew about the
    21 13 or 14.                                      21 enforcement action, just day to day who
    22      A. No, I think I said 12.                 22 in the CSRA had responsibilities that
    23      Q. Okay.                                  23 included diversion control?
    24      A. I said about a dozen --                24      A. Well, at that time it was
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     1 all under regulatory, which was, you           1       Q. Zimmerman?
     2 know, I was in charge of the regulatory        2       A. Yes.
     3 side of our department. And then Eric           3      Q. And you had a discussion
     4 was -- Eric reported to me at that time         4 with him that the license at the Orlando
     5 as one of my regional directors. And he         5 facility had been suspended?
     6 also had that responsibility that we            6      A. That's correct.
     7 discussed earlier.                              7      Q. And what did he tell you?
     8      Q. So you were the top person              8      A. I can't remember
     9 at that time on diversion control issues,       9 specifically. I think we went over and
    10 correct?                                       10 told his boss who was the general
    11      A. Yes.                                   11 counsel.
    12      Q. And you had Eric helping you           12      Q. And then did you contact DEA
    13 out underneath you?                            13 at some point after that?
    14      A. Mm-hmm, that's correct.                14      A. I didn't, no, not
    15      Q. Anyone else?                           15 personally.
    16      A. Not that I can recall.                 16      Q. Do you know if Mr. Zimmerman
    17      Q. Okay. And so, then you get             17 did?
    18 tasked with overseeing the development of      18      A. Mr. Chou, general counsel,
    19 the enhanced order monitoring program,         19 called -- called them from his office,
    20 because at that time you're the                20 and Chris and I, I believe, were both in
    21 senior-most diversion control person,          21 the office at the time.
    22 correct?                                       22      Q. And did the DEA tell you why
    23      A. That's correct.                        23 they suspended the registration at that
    24      Q. So how did you first learn             24 time?

                                           Page 203                                         Page 205
     1 about the enforcement action?                  1       A. I don't remember exactly
     2      A. I got a call from the                  2  what they said, because John Chou was on
     3 distribution center manager in Orlando.         3 the phone with them.
     4 And he told me the DEA was there and they       4      Q. Did they send you any
     5 were putting a padlock on their cage,           5 documentation after suspending the
     6 that they were suspending their                 6 registration?
     7 registration.                                   7      A. Not that I recall.
     8      Q. And do you remember the                 8      Q. So at what point in the
     9 approximate date of when that happened?         9 process did Mr. Zimmerman tell you that
    10      A. Approximate? Yeah, it was              10 you were going to be in charge of
    11 around April 21st, 22nd, something like        11 developing an enhanced order monitoring
    12 that, of 2007. It was in April. I think        12 program?
    13 it was 21st.                                   13      A. It was probably after -- a
    14      Q. Did you speak to anyone at             14 week later after meetings with DEA to
    15 the DEA immediately upon learning of that      15 determine what the issue was and what
    16 information?                                   16 they wanted us to do.
    17          MS. McCLURE: Object to the            17      Q. Did you participate in those
    18      form.                                     18 meetings?
    19          THE WITNESS: Not                      19      A. No.
    20      immediately. No.                          20      Q. No?
    21 BY MR. PIFKO:                                  21      A. No.
    22      Q. What was the first action              22      Q. Do you know who did?
    23 you took when you learned that?                23      A. I went down the first day.
    24      A. I told my boss.                        24 And I don't even recall what was


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     1 discussed in that meeting. But I wasn't       1  worked at the corporate office was -- was
     2 involved in any of the negotiations after     2  engaged to assist.
     3 that.                                          3      Q. And then I was asking about
     4      Q. You said you went down to              4 the number of people in the department,
     5 Orlando?                                       5 and you were asking before or after. At
     6      A. No. To DEA headquarters.               6 some point more people were added to the
     7      Q. Okay. And who did you meet             7 team. When was that?
     8 with there?                                    8      A. At some time after that. I
     9      A. There were several DEA                 9 can't remember, you know, how long it
    10 people in the room. Mike Mapes was in         10 took. But I know we added a couple of
    11 there. And I think even the assistant         11 other investigators to help to be trained
    12 administrator, I think was in there. I        12 to review orders.
    13 can't -- I can't recall who from DEA was      13      Q. Do you know their names?
    14 in there.                                     14      A. I can't remember exactly. I
    15      Q. And so then approximately a           15 think Ed was hired. Or he may have
    16 week later, Chris Zimmerman tells you         16 already been on board at that point. Ed
    17 we're going to have an enhanced order         17 Hazewski as an investigator. A gentleman
    18 monitoring program and you're going to be     18 named Scott Kirsch. I know he was one of
    19 in charge of developing it?                   19 the investigators that reviewed orders in
    20      A. In so many words, yes.                20 the beginning.
    21      Q. How did you know what                 21         David Britmeier, I think he
    22 features you wanted to make changes to?       22 came a little later.
    23      A. Well, it was based on -- it           23         Eric helped -- Eric helped.
    24 was based on information that was relayed     24         I'm trying to think. Cliff
                                          Page 207                                         Page 209
     1 to us from DEA that they wanted us to be      1  Flood worked in security. He helped us.
     2 able to stop an order and review it           2       Q. We're talking about new
     3 before shipping it.                            3 people.
     4      Q. Anything else?                         4      A. New people. Okay. So I
     5      A. That's all I can recall.               5 know David Britmeier and Scott Kirsch and
     6      Q. Who communicated to you that           6 Ed were, I think, the more recent hires
     7 DEA wanted you to stop an order and            7 right after the -- the action, but I
     8 review it before shipping it?                  8 can't remember if there were others.
     9      A. I'm assuming Chris but I               9      Q. Their -- they were all --
    10 can't -- don't know -- I can't remember       10 their immediate task was to -- to review
    11 for sure.                                     11 orders?
    12      Q. Did you pass that                     12      A. Yes, I believe so. They --
    13 information on to anyone else?                13 and conduct investigations.
    14      A. Just internally. Just                 14      Q. Did you make any changes to
    15 internal discussions. I couldn't tell         15 your threshold system at that point?
    16 you specifically who.                         16          MS. McCLURE: Object to the
    17      Q. Okay. So then you -- you              17      form.
    18 said it was all-hands-on-deck at that         18          THE WITNESS: There wasn't a
    19 point. Who was involved and assisted you      19      threshold system at that point.
    20 at that point?                                20 BY MR. PIFKO:
    21      A. Pretty much everybody in the          21      Q. Okay. Right. You said
    22 department. The -- my direct reports.         22 there was a rolling three-month
    23 The -- the investigators. Pretty much         23 average --
    24 everybody in the department that -- that      24      A. Right.
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     1     Q.    -- with the percentage?              1
     2          Did you make any changes to
     3 that aspect of the order monitoring
     4 program at that time?
     5      A. Yeah, when we developed
     6 the -- back when we developed the
     7 enhanced program, it took the place of
     8 the old program.
     9      Q. Okay. So an entirely new
    10 program designed from the ground up?
    11          MS. McCLURE: Object to the
    12      form.
    13          THE WITNESS: It took the
    14      place -- it replaced it. Yes.
    15 BY MR. PIFKO:
    16      Q. Okay. So let's talk
    17 about --
    18      A. An enhanced version.
    19      Q. Is there a name for that
    20 program or?
    21      A. Yeah, order monitoring --
    22 OMP. Order monitoring program.
    23      Q. So let's go over. What are
    24 the general attributes of the OMP?

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                                               8            (Document marked for
                                               9        identification as Exhibit
                                               10       ABDC-Mays-2.)
                                               11 BY MR. PIFKO:
                                               12       Q. I'm handing you what's been
                                               13 marked as Exhibit 2.
                                               14           The record will reflect the
                                               15 witness is reviewing the document.
                                               16           For the record, it's a
                                               17 document Bates-labeled ABDCMDL0000075
                                               18 through 84.
                                               19           It's dated June 29, 2007.
                                               20 It's a memorandum. The subject is
                                               21 "Update OMP Distribution Center
                                               22 Procedures."
                                               23           Let me know when you're
                                               24 done.


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     1      A. I will. Okay.                          1           MS. McCLURE: Object to the
     2      Q. Have you seen this document            2       form.
     3 before?                                         3          THE WITNESS: I'm sure it
     4      A. I don't remember it                     4      wasn't the only way. It looks
     5 specifically.                                   5      like -- it looks like it was
     6      Q. Your name is on here,                   6      directed to the distribution
     7 correct?                                        7      center associates.
     8      A. Yes. It looks like I was                8 BY MR. PIFKO:
     9 copied on it.                                   9      Q. You reviewed this document.
    10      Q. Is this something that you             10 Is this consistent with what your
    11 would have put together or someone -- is       11 understanding of the program was?
    12 this something that you would have put         12      A. Yes, it is.
    13 together?                                      13      Q. Is there anything that you
    14          MS. McCLURE: Object to the            14 see in here that's inaccurate?
    15      form.                                     15          MS. McCLURE: Objection.
    16          THE WITNESS: I don't think            16          THE WITNESS: I would have
    17      so, because there's a lot of              17      to go through it like very
    18      technical things in here. So I'm          18      carefully. But I didn't --
    19      not really sure. It looked like           19      nothing jumped out at me as being
    20      it might be more of a team                20      inaccurate.
    21      approach. There's IT, you know,           21 BY MR. PIFKO:
    22      print screens of computer screens         22      Q. Okay. Well, let's go to the
    23      and things like that, technical           23 second page.
    24      stuff that I wouldn't have been           24      A. Okay.
                                           Page 223                                          Page 225
     1      able to put in here.
     2 BY MR. PIFKO:
     3      Q. You said that you were
     4 supervising the development of the
     5 program, correct?
     6      A. That's correct.
     7          MS. McCLURE: Object to the
     8      form.
     9 BY MR. PIFKO:
    10      Q. Did you have someone on your
    11 team that you would have directed to
    12 write a memo like this for you?
    13      A. I don't recall.
    14      Q. You don't remember?
    15      A. I don't remember.
    16      Q. Do you know what this
    17 document is?
    18      A. Yes. It appears to be a
    19 document updating the distribution
    20 centers on the procedures for OMP, the
    21 new OMP.
    22      Q. So this is the way that the
    23 company communicated the new OMP to the
    24 distribution centers?


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                                                7      Q. Was there any specific
                                                8 training provided to distribution center
                                                9 associates about how to identify a
                                               10 suspicious order when you implemented
                                               11 this program?
                                               12      A. Yes.
                                               13      Q. Was it put in writing?
                                               14      A. Yes.
                                               15      Q. Was -- was there a name for
                                               16 that document?
                                               17      A. I think it was called
                                               18 responsible -- RPIC training, Responsible
                                               19 Person in Charge. So anyone that
                                               20 reviewed and had -- had the authority to
                                               21 review and release or reject orders had
                                               22 to complete that training and sign off on
                                               23 it.
                                               24      Q. Okay. What was entailed in
                                    Page 235                                           Page 237
                                                1 that training?
                                                2      A. I can't recall specifically.
                                                3      Q. Was it an in-person
                                                4 training?
                                                5      A. Most of the time I think it
                                                6 was. As a matter of fact, it may have
                                                7 always been in-person training.
                                                8      Q. And there was a document --
                                                9 written documentation that went with the
                                               10 training?
                                               11      A. There should have been, yes.
                                               12      Q. Do you have a sense of how
                                               13 long the training session would be?
                                               14      A. No, I don't.
                                               15      Q. An hour?
                                               16      A. It's been years ago. I
                                               17 can't -- I can't remember how they
                                               18 were -- how they were trained. I just
                                               19 know that they were trained.
                                               20      Q. Do you know who would have
                                               21 conducted the training?
                                               22      A. I think initially in some
                                               23 cases -- well pretty much in just about
                                               24 most cases, the compliance manager or the


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     1 CSRA manager, on-site manager conducted
     2 the training.
     3      Q. And who trained them?
     4      A. They would have been trained
     5 by, I would think our team. I just don't
     6 remember exactly how they were trained.
     7 Again, we have annual training
     8 conferences.
     9      Q. Is there someone specific on
    10 your team at that time who was
    11 responsible for handling trainings?
    12      A. I don't recall. I don't
    13 think so.
    14      Q. It just could have been
    15 anyone under you?
    16      A. Yeah.
    17          MS. McCLURE: Object to the
    18      form.
    19          THE WITNESS: Excuse me.
    20 BY MR. PIFKO:
    21      Q. Do you recall having someone
    22 having the job responsibility of
    23 conducting training for the distribution
    24 centers?

                                             Page 239                       Page 241
     1      A. Well, the compliance manager
     2 on site was responsible for doing all the
     3 training at the distribution center.
     4      Q. Well, I mean from your group
     5 to train the compliance manager?
     6      A. They were trained by our
     7 entire team.
     8      Q. They would come to you for
     9 that training?
    10      A. Yes.
    11      Q. Annually like you said?
    12      A. Annually. Just about every
    13 year we have a training conference.
    14      Q. And was there documents
    15 provided in connection with those
    16 training conferences?
    17      A. I'm sure we have, you know,
    18 the documents as far as the PowerPoints
    19 and things like that. I don't know if
    20 we've actually got sign offs from each
    21 one of them.
    22      Q. When a -- going back to
    23 Exhibit 2, Page 4.



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     3        MS. McCLURE: Object to the
     4    form.
     5        THE WITNESS: Something just
     6    died here.
     7        MR. PIFKO: I think they
     8    just turned it off.




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                                               18      Q. Who trained the
                                               19 investigators to do the investigation?
                                               20      A. It would be me and the lead
                                               21 team and -- and CSRA with DEA's
                                               22 assistance.
                                               23      Q. Was there documentation of
                                               24 the training that was provided to the


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     1 investigators?                                  1 June 2007?
     2      A. I don't know. I don't                   2      A. No.
     3 recall.                                         3          MS. McCLURE: Objection.
     4      Q. You don't know if there was             4 BY MR. PIFKO:
     5 any handouts or anything given to them          5      Q. When -- when is this?
     6 when they were trained?                         6      A. It was prior to that.
     7      A. I don't recall.                         7      Q. Okay. When was the enhanced
     8          MS. McCLURE: Objection.                8 OMP implemented?
     9      Asked and answered.                        9      A. Around June. They were
    10 BY MR. PIFKO:                                  10 there in the development of it.
    11      Q. Was there any regularity               11      Q. Okay. So they were there
    12 with the training?                             12 between April and June 2007?
    13          MS. McCLURE: Objection to             13      A. That's correct.
    14      form.                                     14      Q. About how many times did
    15          THE WITNESS: I don't                  15 they come meet with you then?
    16      recall.                                   16      A. I don't remember.
    17 BY MR. PIFKO:                                  17      Q. More than ten?
    18      Q. Did anyone give you specific           18      A. I don't remember.
    19 training on how to conduct a due               19      Q. And at some point they gave
    20 diligence investigation?                       20 you training on how to conduct due
    21      A. DEA.                                   21 diligence?
    22      Q. When did they give you                 22      A. I explained that. They gave
    23 training?                                      23 us general guidelines and -- and
    24      A. Sometime during that                   24 observations, and they were there during

                                           Page 255                                          Page 257
     1 process. When they were working with us         1 the development.
     2 through the settlement.                         2      Q. How long did you meet with
     3      Q. Where did you go to do the              3 them?
     4 training?                                       4      A. I don't remember.
     5      A. They just gave it. It                   5      Q. All day, or --
     6 wasn't like formal training. They just          6      A. I don't remember.
     7 gave us general pointers and ideas about        7      Q. Did anyone ever give you
     8 how we should conduct our investigations.       8 formal training on the DEA laws and
     9 They gave us the guidelines.                    9 regulations?
    10      Q. They gave you something in             10          MS. McCLURE: Object to the
    11 writing?                                       11      form.
    12      A. No.                                    12          THE WITNESS: I've had
    13      Q. Who -- who told you this?              13      training several times over the
    14      A. Mike Mapes, Kyle Wright, for           14      years. I think we talked about
    15 the most part.                                 15      that earlier during our training
    16      Q. They came and met with you             16      conferences.
    17 and told you?                                  17 BY MR. PIFKO:
    18      A. Yes.                                   18      Q. At this time in 2007 had
    19      Q. And when did they come and             19 anyone given you training on DEA rules
    20 meet with you?                                 20 and regulations?
    21      A. They were there multiple               21          MS. McCLURE: Object to the
    22 times during the implementation of the         22      form.
    23 enhanced OMP.                                  23          THE WITNESS: Yes.
    24      Q. And this is in the -- after            24 BY MR. PIFKO:


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     1      Q. Who?                                  1      Q. Well, you correct me then.
     2      A. People within our                     2      A. I said I met with DEA in
     3 department. DEA. DEA has provided             3 Atlanta once.
     4 training in our training conferences.         4      Q. Okay.
     5 All the regulations.                          5      A. I've met with DEA at
     6      Q. When -- when did you have a           6 different meetings, conference -- trade
     7 training conference where someone from        7 association conferences. They've been to
     8 the DEA gave you training?                    8 the offices to do training at our
     9      A. Multiple times.                       9 training conferences. I provided training
    10      Q. In 2005?                             10 to DEA people.
    11      A. I don't recall. I don't              11      Q. When did DEA -- DEA came to
    12 recall specific dates.                       12 AmerisourceBergen's office to do
    13      Q. How about in 2006?                   13 training?
    14      A. I don't know. I don't                14      A. Yes. Yes.
    15 remember.                                    15      Q. When was that?
    16      Q. Who from the DEA gave you            16      A. During our training
    17 training on their rules and regulations?     17 conferences.
    18      A. Scott Davis from DEA in              18      Q. Annually, every year?
    19 Philadelphia a couple of times. Mike         19      A. Not every year. But they
    20 Mapes. Who else? Mike Mapes more than        20 came, they were invited. Sometimes they
    21 once. Brian Reese from DEA provided          21 were invited and couldn't come. But we
    22 training for our team. So there's four       22 tried to invite them almost every year.
    23 or five times specifically.                  23 That's to our entire department.
    24      Q. Okay.                                24      Q. Did anyone other than DEA
                                         Page 259                                          Page 261
     1      A. I just don't know the dates.          1 train you on DEA rules and regulations?
     2      Q. Were those before or after            2          MS. McCLURE: Object to the
     3 2007?                                         3      form. Asked and answered.
     4      A. Both.                                 4          THE WITNESS: Not other than
     5      Q. You testified earlier that            5      internal people.
     6 that meeting in 2005 was only the second      6 BY MR. PIFKO:
     7 time you met with anyone at DEA. Do you       7      Q. Who internally gave you
     8 recall?                                       8 training on DEA rules and regulations?
     9          MS. McCLURE: Objection.              9      A. Other directors and managers
    10      Misstates prior testimony.              10 in our department that were -- that had
    11          THE WITNESS: I don't recall         11 experience in the past.
    12      saying that.                            12      Q. Can you name anyone?
    13 BY MR. PIFKO:                                13      A. Rodney Bias. Larry Holland.
    14      Q. You said that you met                14 Chris Zimmerman. Myself, I've done
    15 someone in the '70s in Tennessee, and        15 training for our team.
    16 then you said that that meeting,
    17 Exhibit 1, was the only other time that
    18 you recall meeting with someone from the
    19 DEA.
    20          MS. McCLURE: Objection.
    21      Misstates prior testimony.
    22          THE WITNESS: No, that's not
    23      what I said.
    24 BY MR. PIFKO:


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                                               14     Q. You are involved in or have
                                               15 been involved in various committees with
                                               16 the HDA, correct?
                                               17     A. Yes. That's correct.
                                               18     Q. When did you first start
                                               19 having involvement with the HDA on behalf
                                               20 of AmerisourceBergen?
                                               21         MS. McCLURE: Object to the
                                               22     form.
                                               23         THE WITNESS: I don't
                                               24     recall. I don't recall.
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                                                1 BY MR. PIFKO:
                                                2      Q. Early in your time working
                                                3 with them?
                                                4          MS. McCLURE: Objection.
                                                5      Asked and answered.
                                                6          THE WITNESS: Early in my
                                                7      time working for
                                                8      AmerisourceBergen?
                                                9 BY MR. PIFKO:
                                               10      Q. Yeah.
                                               11      A. No. No.
                                               12      Q. Do you recall the first time
                                               13 that you were invited to be part of a
                                               14 committee in the HDA?
                                               15          MS. McCLURE: Objection to
                                               16      the form.
                                               17          THE WITNESS: It would
                                               18      probably have been sometime after
                                               19      2002.
                                               20 BY MR. PIFKO:
                                               21      Q. Okay. And what committee
                                               22 was that?
                                               23      A. Regulatory affairs
                                               24 committee.


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     1      Q. What were your                        1       affairs committee calls, yeah.
     2 responsibilities on the regulatory            2  BY MR. PIFKO:
     3 affairs committee?                             3      Q. And then did you meet with
     4          MS. McCLURE: Objection.               4 them in person ever?
     5      Assumes facts not in evidence.            5      A. Typically during their
     6      Form.                                     6 annual meetings, annual distribution
     7          THE WITNESS: Not really any           7 management conference. Typically we
     8      distinct responsibilities. Just           8 would meet sometimes during those. But
     9      participated in calls that they           9 rarely -- rarely were they in person
    10      had.                                     10 meetings. Typically it was just the
    11 BY MR. PIFKO:                                 11 phone calls.
    12      Q. How often did you do that?            12      Q. What type of issues did you
    13      A. I can't remember. I know              13 discuss in the phone calls?
    14 the calls now are, like, biweekly. I          14      A. Any regulatory issues that
    15 don't remember what the frequency was         15 were of interest to the members.
    16 when I first participated.                    16      Q. And what do you mean by
    17      Q. Who else participated in the          17 regulatory issues?
    18 calls?                                        18      A. It could be ranging from
    19          MS. McCLURE: Objection               19 HAZMAT issues with DOT, OSHA issues, DEA,
    20      to -- to form.                           20 Board of Pharmacy, any type of issues
    21          THE WITNESS: Just about              21 that affected the members that applied to
    22      any -- it was -- it was mostly           22 the members, regulations, pending
    23      regulatory affairs counterparts          23 regulations.
    24      from within our industry. But            24      Q. Are you familiar with the
                                          Page 279                                         Page 281
     1      just about any member could              1  HDA's industry compliance guidelines?
     2      participate in the call or listen        2       A. Yes, I'm familiar with them.
     3      in.                                       3      Q. Were you involved in helping
     4 BY MR. PIFKO:                                  4 put those together?
     5      Q. Do you remember the names of           5          MS. McCLURE: Objection to
     6 any specific individuals?                      6      the form.
     7      A. That are on the committee?             7          THE WITNESS: Well, HDA put
     8      Q. Yes.                                   8      those together. I participated in
     9      A. Yes.                                   9      a meeting when they were getting
    10      Q. Can you name them?                    10      input from their members in how to
    11      A. From other companies?                 11      develop those guidelines.
    12      Q. Yes.                                  12 BY MR. PIFKO:
    13      A. Gosh. Steve Reardon from              13      Q. Just one meeting?
    14 Cardinal was. Gary Hilliard who was with      14      A. There may have been more
    15 McKesson. Brad Pine from Smith Drug.          15 than one. But I just remember the one.
    16 I'm trying to think if there was anybody      16      Q. Was that on the phone or in
    17 else. That's the ones that I remember.        17 person?
    18 George Hewson from HD Smith.                  18      A. That was in person at HDA's
    19      Q. So you had regular calls              19 offices.
    20 with them, correct?                           20      Q. So when was that?
    21          MS. McCLURE: Objection to            21      A. I'm thinking probably 2008
    22      form.                                    22 sometime, or '9, sometime in that time
    23          THE WITNESS: Well, we                23 frame.
    24      participated in the HDA regulatory       24      Q. To help your recollection,
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     1 I'll represent to you that the guidelines        1      Q. Yeah, you can. I just --
     2 were first published in 2008.                    2      A. Okay.
     3       A. Okay.                                    3     Q. We don't need to sit here
     4       Q. Okay. So do you think that               4 while you are reading the whole thing.
     5 it was around that time?                          5 Exhibit 4 is this e-mail Bates-labeled
     6       A. I would think so.                        6 ABDCMDL00295006.
     7       Q. Do -- were there other                   7         On the second page there.
     8 members of the industry present at that           8     A. On the back?
     9 meeting?                                          9     Q. Yeah.
    10       A. The discussion to develop               10     A. This is the e-mail chain?
    11 them?                                            11     Q. Yeah, it's an e-mail from
    12       Q. Yes.                                    12 Chris to you. And he's asking if you
    13       A. Yes, but I don't remember               13 know when HDMA published the guidelines.
    14 who was there. Who was in attendance.            14 He remembers going to DC with Cardinal,
    15           (Document marked for                   15 McKesson.
    16       identification as Exhibit                  16     A. Yep. Yes.
    17       ABDC-Mays-3.)                              17     Q. Does that refresh your
    18           (Document marked for                   18 recollection about anyone who was there?
    19       identification as Exhibit                  19     A. No, I mean not -- not the
    20       ABDC-Mays-4.)                              20 sparse specific individuals. I would
    21 BY MR. PIFKO:                                    21 assume Cardinal and McKesson would have
    22       Q. I'm handing you two exhibits            22 been in that meeting, because they were
    23 at one time, Exhibits 4.                         23 members.
    24       A. Thank you.                              24     Q. Do you know if Chris went
                                             Page 283                                        Page 285
     1     Q.     And Exhibit 5.                        1  with you. He says, "We spent some time"?
     2           MR. PIFKO: You know what, I            2       A. Yes, I remember Chris and I
     3      skipped 3. So --                             3 both went.
     4           MS. McCLURE: 3.                         4      Q. Okay. Anyone else from
     5           MR. PIFKO: -- I'm going to              5 Amerisource go with you?
     6      give you 3.                                  6      A. I don't think so.
     7           MS. McCLURE: Okay.                      7      Q. Then you write back to him
     8           MR. PIFKO: 4 and 3.                     8 that the guidelines were put together in
     9           MS. McCLURE: So this is 4.              9 October 2008 after Cardinal's DEA
    10      The single page e-mail.                     10 suspension.
    11           MR. PIFKO: 4.                          11      A. It sounds right.
    12           THE WITNESS: Okay.                     12      Q. What do you know about
    13 BY MR. PIFKO:                                    13 Cardinal's suspension in 2008?
    14      Q. Take a minute to review                  14      A. I don't know a lot of
    15 that. One of the documents is the                15 specifics. I know in general what it was
    16 guideline. You don't need to sit there           16 about.
    17 and read the whole thing. We'll get into         17      Q. What do you know generally?
    18 it. If I'm asking about it and you want          18      A. It was tied to their
    19 to read it, you can. But just for right          19 distribution to, I think CVS stores in
    20 now, you can look at the e-mail and the          20 Florida. Other than that I couldn't tell
    21 attachment.                                      21 you any specifics.
    22      A. You're not going to ask                  22      Q. Do you know if they entered
    23 specific questions about the guidelines?         23 into a settlement agreement?
    24 Because I'll need to read it if you are.         24      A. I think they did, but I'm
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     1 not positive. I'm assuming they did.             1         I just want to clarify for
     2      Q. Do you know if they paid a               2     the record. So, Sterling, your
     3 fine?                                            3     position, and I'm -- I'm not
     4      A. I believe they did.                      4     saying it's correct or incorrect.
     5      Q. Do you have a sense of how               5     I'm just trying to make sure I
     6 much?                                            6     understand your position.
     7      A. It was like in 32 million,               7         Your position is you did not
     8 something like that. I think.                    8     have to --
     9      Q. Do you remember that being               9         MR. PIFKO: The order says
    10 significant or a topic of discussion in         10     if you're -- if you're aware of
    11 the industry?                                   11     the information in the document,
    12      A. I can't remember. I would               12     then you don't have to show it at
    13 assume it was.                                  13     the time. You're already --
    14      Q. Hmm?                                    14     you're already a covered person
    15      A. I would -- I would think it             15     who is allowed to see the document
    16 would be.                                       16     if you're a recipient or a
    17      Q. Then this talks about                   17     participant in the document. That
    18 another one in 2012?                            18     provision only applies if you're
    19          MS. McCLURE: Sorry, where              19     not a covered person.
    20      are you, Mark?                             20         MS. McCLURE: Thank you for
    21          MR. PIFKO: Same document,              21     the explanation.
    22      Document 4.                                22         MR. PIFKO: No problem.
    23          MS. McCLURE: Oh.                       23         MS. McCLURE: And the
    24 BY MR. PIFKO:                                   24     interruption.
                                            Page 287                                          Page 289
     1      Q. I can't -- the same e-mail               1          But -- and you're talking
     2 that you're saying there, "They had              2     about the currently in effect
     3 another one in 2012." Do you see that,           3     protective order for this case has
     4 related to Walgreens?                            4     that exception in it?
     5      A. Yes. Yeah, I see that.                   5          MR. PIFKO: Yes.
     6      Q. Do you know what that one                6          MS. McCLURE: And is there
     7 was about?                                       7     someone here from Cardinal?
     8      A. Not specifically.                        8          MS. PETERSEN: Yes. Miranda
     9      Q. Do you know it's related to              9     Petersen.
    10 Walgreens?                                      10          MS. McCLURE: I just want to
    11      A. Yeah, I remembered it was               11     make sure that there's no dispute
    12 related to Walgreens.                           12     about their ability to use this
    13      Q. Do you have -- oh, sorry.               13     document.
    14          (Document marked for                   14          MS. PETERSEN: I haven't
    15      identification as Exhibit                  15     seen the document.
    16      ABDC-Mays-5.)                              16 BY MR. PIFKO:
    17 BY MR. PIFKO:                                   17     Q. Exhibit 5 is an e-mail from
    18      Q. I'm handing you what's been             18 you --
    19 marked as Exhibit 5. For the record it's        19     A. Mm-hmm.
    20 a document from Cardinal Health                 20     Q. -- in response to a Cardinal
    21 production, Bates labeled                       21 Health press release where Cardinal
    22 CAH_MDL2804_00865762 and 86574.                 22 announces that it got an injunction
    23          MS. McCLURE: I need just a             23 against -- or a restraining order that
    24      moment to review this, please.             24 allowed them to resume shipments at their


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     1 Lakeland facility despite the DEA having      1      Q. What do they do at Cardinal
     2 suspended their registration. Do you see      2 Health?
     3 that?                                         3      A. Steve doesn't do anything
     4      A. Mm-hmm, yes.                          4 there. He's retired.
     5      Q. And you write to Steve                5      Q. At the time you knew them or
     6 Reardon and Michael Mone and say "Nice        6 at that time.
     7 work!" Agreed?                                7      A. He was my counterpart for
     8      A. Agreed.                               8 the most part. Regulatory. I don't know
     9      Q. Why did you say that to               9 what his exact title was.
    10 them?                                        10      Q. You were friendly with them?
    11      A. Well, because I've known             11           MS. McCLURE: Objection to
    12 both of those guys personally for a long     12      the form.
    13 time. I was just congratulating them on      13           THE WITNESS: Not so much
    14 successfully getting the restraining         14      personal friends, but just -- just
    15 order.                                       15      associates, you know, that we have
    16      Q. You were pleased that they           16      know -- known each other for a
    17 got a court to allow them to overrule a      17      long time.
    18 DEA decision to suspend their                18 BY MR. PIFKO:
    19 registration?                                19      Q. And you interacted with them
    20      A. Well, I would think --               20 a lot in the course of your dealings?
    21          MS. McCLURE: Object to the          21           MS. McCLURE: Objection to
    22      form. You can answer.                   22      form.
    23          THE WITNESS: I would think          23           THE WITNESS: Not a lot, no.
    24      maybe DEA has made some mistake or      24 BY MR. PIFKO:

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     1     a judge wouldn't have put a               1     Q.    Well --
     2     restraining order in place. So I          2         MS. McCLURE: We've been
     3     think that they -- you know, they         3      going about an hour and a half, so
     4     should be able to continue doing          4      when you get a moment.
     5     business.                                 5         THE WITNESS: Yeah, I -- I
     6 BY MR. PIFKO:                                 6      need a potty break myself.
     7     Q. You were pleased that they             7         MR. PIFKO: We are in the
     8 pointed out some mistake the DEA had          8      middle of this question. So let
     9 made?                                         9      me just ask a question.
    10         MS. McCLURE: Objection to            10 BY MR. PIFKO:
    11     the form.                                11      Q. You said they were people
    12         THE WITNESS: No, I'm just            12 that you knew for a long time personally.
    13     pleased -- I'm just pleased for my       13         They were personal friends
    14     people that I knew for a long time       14 of yours?
    15     personally. I was just pleased           15      A. Not --
    16     for them that they were able to          16         MS. McCLURE: Objection to
    17     get some success.                        17      form. Asked and answered.
    18 BY MR. PIFKO:                                18         THE WITNESS: I think I
    19     Q. And who are Steve Reardon             19      answered that.
    20 and Michael Mone?                            20 BY MR. PIFKO:
    21     A. Well, Steve Reardon and               21      Q. I'm asking you again.
    22 Michael Mone work for Cardinal Health.       22      A. I don't know how you define
    23 Steve has since retired. Known him for       23 personal friend versus personal versus
    24 probably 20 years or so.                     24 friendly business associate. But I have


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     1 known -- gotten to know them for -- over      1  about --
     2 the years, as -- as members of regulatory     2       Q. Exhibit --
     3 affairs committee and meeting -- seeing        3      A. Developing the guidelines.
     4 them in meetings and things like that.         4      Q. Yes.
     5 But no, we don't go take family vacations      5      A. Yes, and it seems like they
     6 together.                                      6 did a revision at some point. But I
     7          MR. PIFKO: Okay. Thank                7 don't remember when that was.
     8      you. We can take a break.                 8      Q. Okay. Yeah. I think there
     9          MS. McCLURE: Thank you.               9 was a later version in 2012 or something.
    10          THE VIDEOGRAPHER: We are             10      A. Maybe a later revision --
    11      going on break. The time is              11 okay.
    12      3:00 p.m.                                12      Q. Says that every time
    13          (Short break.)                       13 Cardinal gets a DEA enforcement action.
    14          THE VIDEOGRAPHER: We are             14          I want to focus your
    15      going back on the record.                15 attention to ABDCMDL 295015.
    16      Beginning of Media File Number 4.        16      A. Which would be like Page 7
    17      The time is 3:18.                        17 of 16?
    18 BY MR. PIFKO:                                 18      Q. Right, right.
    19      Q. Do you know what the -- the           19      A. Okay.
    20 outcome of the 2012 suspension order with     20      Q. We can use whichever page
    21 Cardinal Health was that you referred to      21 you prefer.
    22 here in these exhibits?                       22      A. Okay. All right.
    23      A. I don't remember distinctly,          23      Q. All right. You see under a
    24 no.                                           24 heading Monitoring For Suspicious Orders.

                                          Page 295                                          Page 297
     1      Q. Do you know if they paid a            1  Heading 2. Do you see that?
     2 fine in connection with that?                 2       A. I see that.
     3      A. I don't remember.                      3      Q. Okay. System design. "It
     4      Q. So let's turn to Exhibit 3,            4 is recommended that a distributor develop
     5 the industry compliance guidelines?            5 an electronic system with accompanying
     6      A. Okay.                                  6 written standard operating procedures to
     7      Q. For the record, Bates                  7 meet the DEA's requirement in
     8 labeled ABDCMDL00295009 through 5024.          8 Section 1301.74(b), that a distributor
     9          So these are -- have you              9 'design and operate a system to disclose
    10 seen these before?                            10 to the registrant suspicious orders of
    11      A. I'm sorry?                            11 controlled substances.'"
    12      Q. Exhibit 3, the final                  12          Do you see that?
    13 guidelines published in 2008. Have you        13      A. Mm-hmm. Excuse me.
    14 seen them before?                             14      Q. Do you agree with that?
    15      A. I believe I have. Yes.                15          MS. McCLURE: Objection to
    16      Q. These are the best practices          16      the form.
    17 you were talking about in -- in Exhibit 4     17          THE WITNESS: Give me a
    18 developed at the -- I'm quoting, Chris'       18      second to read it again.
    19 e-mail to you, the best practices that        19 BY MR. PIFKO:
    20 HDMA ultimately sent to DEA, and that you     20      Q. No problem.
    21 met with Cardinal and McKesson and DC to      21      A. I believe that's -- I
    22 discuss this, correct?                        22 believe that's accurate.
    23      A. No. Where did you get                 23      Q. Let's go to the next page
    24 meeting Cardinal? Oh, you're talking          24 here.


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     1      A. Okay.                                     1      A. I believe so. I'm not sure
     2      Q. Heading C, "Develop                       2 the exact date.
     3 Thresholds to Identify Orders of                  3      Q. Up until that time, you had
     4 Interest."                                        4 responsibilities that included diversion
     5          Do you see that?                         5 control, correct?
     6      A. Yes, I do.                                6      A. On and off during the
                                                         7 time -- during the time period.
                                                         8      Q. You said in 2007 you were
                                                         9 the top person that had diversion control
                                                        10 responsibilities, correct?
                                                        11      A. That's correct. Yes.
                                                        12      Q. At some point someone came
                                                        13 in and you didn't have diversion control
                                                        14 responsibilities?
                                                        15      A. That's correct.
                                                        16      Q. Who was that?
                                                        17      A. Well, when Ed Hazewski was
                                                        18 put in charge of the diversion control
                                                        19 program. He reported directly to Chris.
                                                        20      Q. Do you know when that was?
                                                        21      A. Sometime in 2008, or '9, I
                                                        22 believe.
                                                        23      Q. And at that time you had no
                                                        24 responsibilities for diversion control

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                                                         1 issues?
                                                         2      A. No direct -- no direct
                                                         3 responsibilities, no.
                                                         4      Q. But then you reassumed them
                                                         5 at some point?
                                                         6      A. At some point, Chris had Ed
                                                         7 start reporting to me.
                                                         8      Q. And when was that?
                                                         9      A. I think it was around 2012.
                                                        10      Q. Did Chris tell you why he
    11      Q. What's your current position             11 wanted Ed to start reporting to you
    12 at AmerisourceBergen?                            12 instead of him?
    13      A. Senior director, corporate               13      A. No, he didn't or I don't
    14 security and regulatory affairs.                 14 remember why.
    15      Q. You still have                           15      Q. Did Ed tell you why?
    16 responsibilities for diversion under your        16      A. I don't think he did. I
    17 purview?                                         17 don't recall why.
    18      A. No.                                      18      Q. So from 2012, at that point
    19      Q. When did you switch into a               19 in 2012 to 2014, your involvement with
    20 role where you no longer had diversion           20 diversion control was overseeing Ed?
    21 control function and --                          21      A. Right.
    22      A. When -- I'm sorry. When                  22      Q. Anything else?
    23 David May was hired.                             23      A. That's correct. That was
    24      Q. Okay. And that was in 2014?              24 pretty much it. He just reported up to


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     1   me. But he ran the program.                     1 BY MR. PIFKO:
                                                         2      Q. But this says when
                                                         3 evaluating threshold, orders of unusual
                                                         4 size and unusual frequency can be used to
                                                         5 signal that an order may need further
                                                         6 review. Do you see that?
                                                         7           MS. McCLURE: Objection to
                                                         8      the form.
                                                         9           THE WITNESS: I can't really
                                                        10      interpret what HDMA put together.
    11      Q. If you look on this -- Page              11      It's not -- it's not my document.
    12 8 of this document.                              12 BY MR. PIFKO:
    13      A. Okay. I'm there.                         13      Q. Okay. Well, let's talk
    14      Q. It's talking about                       14 about you. You said that you are
    15 thresholds for identifying orders of             15 familiar that Amerisource has used the
    16 interest. Do you see that?                       16 term "order of interest," correct?
    17      A. I do.                                    17      A. I'm not sure if it's
    18      Q. First paragraph.                         18 officially. It's just "order of
    19          Then, second paragraph says,            19 interest" is an easy way to say it's in
    20 "When evaluating thresholds, orders of           20 review. Just another way of saying it's
    21 unusual size and unusual frequency can be        21 in review.
    22 used to signal that an order may need            22      Q. What criteria does
    23 further review."                                 23 AmerisourceBergen use to determine
    24          Do you see that?                        24 whether an order is an order of interest?

                                             Page 303                                            Page 305
     1     A. Yes, I do.                                 1          MS. McCLURE: Objection.
     2     Q. Do you have an understanding               2      Asked and answered.
     3 about what the criteria are that make             3          THE WITNESS: Which time
     4 something an order of interest?                   4      period?
     5          MS. McCLURE: Objection to                5          MS. McCLURE: You can
     6     the form.                                     6      answer.
     7          THE WITNESS: In general, if              7 BY MR. PIFKO:
     8     an order hits one of those                    8      Q. At any time period.
     9     thresholds, that would make it an             9      A. I can't tell -- I can't
    10     order of interest.                           10 speak to how it's determined today.
    11 BY MR. PIFKO:                                    11          During this time period, if
    12     Q. One of those thresholds                   12 an order hit the threshold, it was -- it
    13 being, if it's an unusual size or unusual        13 was considered to be in review or an
    14 frequency?                                       14 order of interest.
    15          MS. McCLURE: Objection to               15      Q. And an order hitting the
    16     the form.                                    16 threshold is an order that exceeds what
    17          THE WITNESS: I think it's               17 was the three times the average, right?
    18     related to the threshold that's --           18          MS. McCLURE: Objection to
    19     again, this is HDA -- HDMA's                 19      the form.
    20     created guidelines. I'm not sure             20          You can answer.
    21     what they meant.                             21          THE WITNESS: Excuse me.
    22          But my thinking is when it              22          It would -- it would be an
    23     hits a threshold, it becomes an              23      order that exceeded the threshold
    24     order of interest.                           24      for that customer for whatever
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     1      peer group they are in and size              1 order that is suspicious?
     2      they are.                                    2      A. I'm not familiar with what's
     3 BY MR. PIFKO:                                     3 in the customers' contracts.
     4      Q. And that's an order of                    4      Q. Have you ever discussed that
     5 unusual size, because it exceeds the              5 with anybody?
     6 average, correct?                                 6      A. As far as what would be in
     7          MS. McCLURE: Objection to                7 the contract?
     8      the form.                                    8      Q. And whether you're allowed
     9          THE WITNESS: Those                       9 to halt the shipment of a suspicious
    10      thresholds were -- ask the                  10 order.
    11      question again.                             11      A. Well, that's what we did.
    12 BY MR. PIFKO:                                    12 If we reported an order as suspicious, it
    13      Q. An order that exceeds its                13 was halted.
    14 threshold is an order of unusual size.           14      Q. Have you ever heard pushback
    15 That's the point of the threshold. It's          15 from a customer, you're not allowed to do
    16 an average, and you're saying it's three         16 that?
    17 times more, correct?                             17      A. No. I can't remember ever
    18      A. It could be. It could be.                18 having a customer telling me that we're
    19          MS. McCLURE: Objection to               19 not allowed to do that.
    20      the form.                                   20      Q. How about if an order is in
    21 BY MR. PIFKO:                                    21 review? Have you ever heard a customer
    22      Q. Do you have an understanding             22 complain that an order is in review and
    23 that AmerisourceBergen under any policies        23 they're frustrated it's not being shipped
    24 that AmerisourceBergen would halt the            24 while it's in review?

                                             Page 307                                          Page 309
     1 shipment of an order of interest?                 1     A. Yes.
     2       A. Would we halt the shipment               2     Q. Yes?
     3 of --                                             3     A. Yes. Customers complain
     4       Q. You don't ship an order                  4 frequently.
     5 because it's an order of interest?                5     Q. What do you tell them?
     6       A. If it's an order of                      6     A. It doesn't --
     7 interest, it's in review and during this          7         MS. McCLURE: Objection to
     8 period it would be held until that order          8     the form.
     9 is adjudicated.                                   9         THE WITNESS: It depends on
    10       Q. What I'm trying to                      10     the circumstance.
    11 understand is, is it -- at any time was          11 BY MR. PIFKO:
    12 it AmerisourceBergen's policy that it            12     Q. Does the company have a
    13 could refuse or reject a shipment that           13 policy about communicating to customers
    14 was categorized as an order of interest?         14 when their orders are held in review?
    15           MS. McCLURE: Objection to              15         MS. McCLURE: Objection to
    16       the form.                                  16     the form.
    17           THE WITNESS: I'm not sure.             17         THE WITNESS: I don't know
    18       I can't answer that.                       18     what the policy is.
    19 BY MR. PIFKO:                                    19 BY MR. PIFKO:
    20       Q. You don't know either way?              20     Q. Do you think they have one?
    21       A. I don't know either way.                21         MS. McCLURE: Objection to
    22       Q. In AmerisourceBergen's                  22     the form.
    23 contracts with its customers, does it            23         THE WITNESS: I don't know.
    24 have a right to halt the shipment of an          24 BY MR. PIFKO:


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     1      Q. You're not familiar with it?          1       Q. You don't recall either way?
     2      A. I don't know.                         2       A. I don't recall anyone else
     3      Q. Do you know if there's any             3 discussing their programs other than us.
     4 training to employees about whether --         4      Q. But you know you did?
     5 the extent to which they're allowed to         5      A. Yeah.
     6 communicate with customers when their          6      Q. And that was in their
     7 orders are held in review?                     7 presence?
     8          MS. McCLURE: Objection to             8      A. If they were there it was in
     9      the form.                                 9 their presence, yes.
    10          THE WITNESS: Don't know.             10      Q. When you attend an HDA
    11 BY MR. PIFKO:                                 11 meeting, is there a sign-in sheet?
    12      Q. Looking at Page 9.                    12          MS. McCLURE: Objection to
    13      A. Okay.                                 13      the form.
    14      Q. Under Heading 3.                      14          THE WITNESS: No. Typically
    15      A. Okay.                                 15      not, no.
    16      Q. "Suspend/stop an order of             16 BY MR. PIFKO:
    17 interest shipment."                           17      Q. Someone circulate meeting
    18          Do you see that?                     18 minutes after the meeting?
    19      A. Yeah, I see it.                       19      A. I believe they do.
    20      Q. Do you recall discussing the          20      Q. Does it list the attendees?
    21 concept of orders of interest when you        21      A. Which type of -- let me ask
    22 met in D.C. with the HDA and the other        22 you a question. Which type of HDA
    23 members of industry to discuss these          23 meeting are we talking about?
    24 guidelines?                                   24      Q. A regulatory --
                                          Page 311                                          Page 313
     1      A. No, I don't remember                  1       A. A conference or --
     2 specifically discussing that.                 2       Q. A regulatory affairs
     3      Q. What do you remember                   3 meeting.
     4 discussing?                                    4           MS. McCLURE: Objection to
     5      A. I don't remember any                   5      the form.
     6 specifics about the meeting. I just            6           THE WITNESS: They are
     7 remember that we were discussing HDMA          7      generally conference calls and
     8 putting those guidelines together.             8      they take a rollcall and really
     9      Q. Did you discuss what                   9      all they keep up with is how many
    10 AmerisourceBergen's OMP practices were at     10      companies, which companies are on
    11 that meeting?                                 11      the call, not so much which
    12      A. In general, yes, we did.              12      individuals.
    13      Q. Did the other members --              13 BY MR. PIFKO:
    14 well, let me just -- did the                  14      Q. And they --
    15 representatives from Cardinal explain         15      A. From what I can tell the way
    16 what their system was at that meeting?        16 they take rollcall.
    17      A. I don't recall that they              17      Q. They circulate meeting
    18 did.                                          18 minutes after those calls?
    19      Q. How about McKesson. Did               19      A. Not normally, no.
    20 anyone from McKesson describe their           20      Q. And then from time to time
    21 suspicious order monitoring program at        21 there's in-person meetings?
    22 that meeting?                                 22      A. Rarely for regulatory
    23      A. No, I don't recall that they          23 affairs committee.
    24 did.                                          24      Q. Do they circulate meeting
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     1 minutes of those?                               1  BY MR. PIFKO:
     2      A. Not normally.                           2       Q. Did -- did everybody review
     3      Q. But they have?                           3 drafts of the guidelines and ultimately
     4      A. I'm trying to remember. I                4 weigh in on them?
     5 don't think they do. I don't remember            5      A. I can't say.
     6 ever getting minutes from a regulatory           6          MS. McCLURE: Objection to
     7 affairs committee meeting.                       7      the form.
     8      Q. How about from this industry             8          THE WITNESS: I can't say
     9 compliance discussion. Do you know if            9      for sure.
    10 there was any notes or anything                 10 BY MR. PIFKO:
    11 circulated to anybody who participated          11      Q. Did you take any notes of
    12 afterwards?                                     12 your meeting --
    13           MS. McCLURE: Objection to             13      A. No.
    14      form.                                      14      Q. -- concerning the
    15           THE WITNESS: No. Not that             15 guidelines?
    16      I recall.                                  16      A. No.
    17 BY MR. PIFKO:                                   17      Q. Do you know if Mr. Zimmerman
    18      Q. Did you serve on any other              18 did?
    19 committees besides the regulatory affairs       19          MS. McCLURE: Objection to
    20 committee?                                      20      the form.
    21      A. As far as serving, no. I                21          THE WITNESS: Don't know.
    22 participated in other committees, but           22 BY MR. PIFKO:
    23 just to listen in on their calls.               23      Q. Did the two of you discuss
    24      Q. What other committees?                  24 the guidelines after the meeting?

                                            Page 315                                         Page 317
     1      A. Like federal government                 1       A. Well, the guidelines weren't
     2 affairs. State government affairs.              2  present at the meeting.
     3      Q. Any others?                              3      Q. The idea of the guidelines?
     4      A. That's it that I can think               4      A. Well, we discussed it before
     5 of.                                              5 and after the meeting. We knew what the
     6      Q. Have you attended meetings               6 purpose of the meeting was.
     7 in person for other committees?                  7      Q. What did you think about the
     8      A. I filled in on a state                   8 idea of having industry compliance
     9 government affairs in-person meeting for         9 guidelines?
    10 our state government affairs person             10           MS. McCLURE: Objection to
    11 because she couldn't make the meeting and       11      the form.
    12 she asked me to fill in for her.                12           THE WITNESS: What did I
    13      Q. Who was that?                           13      think about the idea? I think
    14      A. Her name was Julie Eddy,                14      it's good for the rest of the
    15 E-D-D-Y.                                        15      industry to have programs.
    16      Q. Do you recall there being               16 BY MR. PIFKO:
    17 any sort of final outcome when you              17      Q. What did you and
    18 attended this meeting in D.C. concerning        18 Mr. Zimmerman discuss about the
    19 the industry compliance guidelines?             19 guidelines after the meeting?
    20          MS. McCLURE: Objection to              20      A. Nothing specifically.
    21      the form.                                  21      Q. How about before?
    22          THE WITNESS: I don't -- as             22      A. Just whether or not they
    23      far as the outcome? I -- other             23 put -- you know, follow what -- what we
    24      than them creating the guidelines.         24 had explained we did.


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     1      Q. You wanted the guidelines to            1 like a call-in center?
     2 be consistent with what you were doing?         2      A. It's more like -- yeah, like
     3           MS. McCLURE: Objection to             3 customer service. They would take calls
     4      the form.                                  4 from customers.
     5           THE WITNESS: No, I'm not              5      Q. Do you know if they are
     6      saying that. I just think that             6 trained on how to field an inquiry from a
     7      DEA asked us to present our                7 customer about an order that's held?
     8      program twice to the industry              8      A. They may have been, but I
     9      conference. So we -- we kind of            9 don't know any specifics.
    10      made the assumption that the rest         10      Q. Let's talk about the -- the
    11      of the industry wanted to try to          11 role of a sales associate in preventing
    12      follow our guidelines as closely          12 diversion.
    13      as possible.                              13      A. Okay.
    14 BY MR. PIFKO:                                  14      Q. Do sales associates have any
    15      Q. Do you believe that they do?           15 job responsibilities in preventing
    16      A. Don't know. I don't know               16 diversion? And let me -- let me put a
    17 what they do.                                  17 time frame on that to make it a better
    18      Q. How about the HDMA                     18 question.
    19 guidelines, do you feel like they follow       19          Prior to the new OMP system
    20 your policies?                                 20 that you put in place in 2007, did sales
    21      A. I think it's modeled after             21 associates have any role in assisting the
    22 them. I'm not sure it exactly follows          22 company in preventing diversion?
    23 it. It's been a long time since I've           23          MS. McCLURE: Objection to
    24 gone through it and read it.                   24      the form.
                                           Page 319                                           Page 321
     1       Q. I mentioned earlier about              1          THE WITNESS: The sales
     2 the idea of communicating with customers        2      associates are -- are required to
     3 about a canceled order.                         3      comply with all the laws and
     4       A. Mm-hmm.                                4      regulations. And they were asked
     5       Q. Is there a specific person             5      prior to the suspension to -- to
     6 whose job it is to communicate with             6      do site visits, due diligence
     7 customers about canceled order?                 7      visits of customers.
     8           MS. McCLURE: Objection to             8 BY MR. PIFKO:
     9       the form.                                 9      Q. What were they supposed to
    10           THE WITNESS: From our                10 look for at these visits?
    11       department?                              11      A. They had a questionnaire
    12 BY MR. PIFKO:                                  12 that they would fill out with the
    13       Q. Anyone in the company --              13 customers and there were certain things
    14           MS. McCLURE: Objection.              14 that they were told to look for, like,
    15 BY MR. PIFKO:                                  15 you know, FedEx, or boxes stacked up in
    16       Q. -- that you're aware of.              16 the back, and there were other signs of
    17       A. I wouldn't know who they              17 internet pharmacy that we talked about
    18 would talk to.                                 18 briefly.
    19       Q. Are the sales associates the          19      Q. Anything else?
    20 first line of communications with              20          MS. McCLURE: Objection to
    21 customers?                                     21      the form.
    22       A. Probably customer care.               22          THE WITNESS: I can't think
    23 Or -- or the sales associates.                 23      of anything right offhand.
    24       Q. What customer care, is that           24 BY MR. PIFKO:


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     1      Q. Are you familiar with the               1      A. I'm sorry?
     2 idea of red flags of diversion? Have you        2      Q. You don't know either way?
     3 ever heard that term before?                    3      A. No, I don't.
     4      A. Yes, yes.                               4      Q. As someone who is the
     5      Q. What about things like a                5 highest person in the company in
     6 pharmacy that only takes cash, is that a        6 diversion control for many years, do you
     7 red flag of diversion?                          7 think it's appropriate for salespeople to
     8      A. Yes. That's a red flag.                 8 have performance tied to sales --
     9      Q. Are sales associates                    9           MS. McCLURE: Objection.
    10 supposed to look out for that?                 10 BY MR. PIFKO:
    11      A. I believe so.                          11      Q. -- of controlled substances?
    12      Q. In the pre-2007 time period,           12           MS. McCLURE: Objection to
    13 were they trained to look out for that?        13      the form of the question.
    14      A. I can't remember when those            14           THE WITNESS: Okay. That's
    15 red flag -- red flags came out as far as       15      not my area of responsibilities as
    16 when we started using those to train           16      far as determining how they are
    17 salespeople. I don't remember the time         17      paid and compensated.
    18 frame, but they -- at some point they          18           As long as -- as long as
    19 were trained that that was a red flag to       19      they comply with the laws and
    20 look for.                                      20      regulations. That's not my role.
    21      Q. You don't know if they were            21 BY MR. PIFKO:
    22 trained for that prior to 2007?                22      Q. I'm not asking if it's your
    23      A. No.                                    23 role. I'm asking -- you had a role. You
    24      Q. Do you know if sales                   24 were the top person responsible for

                                           Page 323                                           Page 325
     1 associates were paid on commission based        1 diversion control at the company for many
     2 on sales that the customers would make or       2 years.
     3 purchase?                                       3         I'm asking you if, in your
     4      A. My --                                   4 experience, you think it's appropriate to
     5          MS. McCLURE: Objection to              5 have someone have their -- their
     6      the form.                                  6 performance of their job measured by how
     7          THE WITNESS: My                        7 much controlled substances they sell?
     8      understanding is they are not paid         8         MS. McCLURE: Objection to
     9      on commission anymore. Not for             9     the form of the question.
    10      years.                                    10         THE WITNESS: I don't think
    11 BY MR. PIFKO:                                  11     that's the case with our
    12      Q. All right. How about in                12     salespeople, that I know of.
    13 2007 -- prior to 2007, before?                 13 BY MR. PIFKO:
    14      A. Even then. It's been years             14     Q. Do you think it's
    15 since they were paid commission, from          15 appropriate?
    16 what I understand.                             16         MS. McCLURE: Objection to
    17      Q. Do you have any kind of                17     the form of the question.
    18 sense of whether their performance was         18         THE WITNESS: I guess it
    19 evaluated based on increasing sales or         19     depends on what context you're
    20 meeting sales targets?                         20     asking. Just generally to sell
    21      A. I have no knowledge of how             21     more controls, I wouldn't -- I
    22 their -- what their compensation is based      22     would not think that would be
    23 on.                                            23     appropriate.
    24      Q. You don't know either way?             24 BY MR. PIFKO:


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     1      Q. Why not?                                1      consequences are and what their
     2      A. I'm not -- I'm not sure that            2      responsibilities are.
     3 that's, you know -- I wouldn't think            3 BY MR. PIFKO:
     4 that's a good practice, especially once         4      Q. What's the difference?
     5 controls are a very small percentage of         5          MS. McCLURE: Objection to
     6 what we distribute.                             6      the form.
     7      Q. Why wouldn't you think                  7          THE WITNESS: The difference
     8 that's a good practice?                         8      in what?
     9      A. To be compensated for                   9 BY MR. PIFKO:
    10 selling more controls?                         10      Q. Keeping them out of trouble
    11      Q. Yeah.                                  11 versus guiding them.
    12      A. I just think it would put              12      A. Well, from my experience,
    13 more controls -- it would be encouraging       13 some pharmacists are fairly ignorant of
    14 customers to buy more controls than they       14 what their responsibilities are. And so
    15 need possibly. I don't -- I don't know         15 we've tried -- you know, we've tried over
    16 why they would be.                             16 the years to educate them as much as we
    17      Q. Right. And so you wouldn't             17 could, as far as what their corresponding
    18 want any policies at the company that          18 responsibilities are.
    19 would encourage customers to buy more          19      Q. You wouldn't want to tell
    20 controls than they need, right?                20 them to change their ordering practices
    21          MS. McCLURE: Objection to             21 in a way that would allow them to order
    22      the form.                                 22 controls without getting in trouble?
    23          THE WITNESS: Yeah, I                  23      A. No.
    24      wouldn't want to encourage                24          MS. McCLURE: Objection to
                                           Page 327                                           Page 329
     1       customers to buy more controls.           1       the form.
     2 BY MR. PIFKO:                                   2 BY MR. PIFKO:
     3       Q. What about -- do you think             3       Q. A quote here from David May,
     4 it's appropriate to encourage customers         4 I want to read to you.
     5 to manipulate their ordering behavior to        5           He testified: "I don't
     6 circumvent the order monitoring program?        6 believe our customers need to know some
     7           MS. McCLURE: Objection to             7 of the proprietary information that's
     8       the form.                                 8 sensitive around the program."
     9           THE WITNESS: No, I wouldn't           9           He's talking about the order
    10       want them to try to circumvent the       10 monitoring program.
    11       program at all. I wouldn't want          11           "And again, the reason being
    12       to help them encourage it.               12 is, if there was a customer that wanted
    13 BY MR. PIFKO:                                  13 to defeat it, we want -- to the extent
    14       Q. Would you want to guide               14 possible that we can prevent that from
    15 customers in any way to help them avoid        15 happening, we want to do that."
    16 being the subject of regulatory activity       16           MS. McCLURE: Continuing
    17 in connection with controlled substances       17       objection to putting up other
    18 purchases?                                     18       witness's testimony without
    19           MS. McCLURE: Objection to            19       context in front of this witness.
    20       the form.                                20 BY MR. PIFKO:
    21           THE WITNESS: Only to keep            21       Q. Do you agree that you want
    22       them out of trouble. Not to guide        22 to prevent customers from being aware of
    23       them to circumvent anything.             23 how the order monitoring program works so
    24       Maybe to educate them on what the        24 that they can't defeat it?


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                                            Page 330                                            Page 332
     1         MS. McCLURE: Objection to               1       could be incorrect.
     2     the form.                                   2           MR. PIFKO: I didn't say
     3         THE WITNESS: I -- I agree                3      that.
     4     with David's comments, his                   4 BY MR. PIFKO:
     5     testimony here.                              5      Q. I'm also handing you --
     6         (Document marked for                     6      A. That's what I heard you say
     7     identification as Exhibit                    7 too. A memo that was sent out to
     8     ABDC-Mays-6.)                                8 customers.
     9 BY MR. PIFKO:                                    9      Q. I said there was a memo sent
    10     Q. I'm giving you what's been               10 out to customers.
    11 marked as Exhibit 6 and a document that         11      A. Oh. Not one of these?
    12 was attached to it, Exhibit 7.                  12          (Document marked for
    13         (Document marked for                    13      identification as Exhibit
    14     identification as Exhibit                   14      ABDC-Mays-8.)
    15     ABDC-Mays-7.)                               15 BY MR. PIFKO:
    16 BY MR. PIFKO:                                   16      Q. I've also handed you
    17     Q. For the record, Exhibit 6 is             17 Exhibit 8 which is ABC --
    18 ABDCMDL00288025, and Exhibit 7 is               18 ABDCMDL00288028.
    19 ABDCMDL00288026.                                19          MS. McCLURE: Is there a
    20         Take a moment to review that            20      question pending or are you asking
    21 and let me know when you're done.               21      him to --
    22     A. Okay. I've reviewed them.                22 BY MR. PIFKO:
    23     Q. Have you seen this document              23      Q. I want you to review --
    24 before?                                         24 review Exhibit 8 as well. And I meant to

                                            Page 331                                            Page 333
     1      A. I don't recall either one of            1 hand that to you originally, but I didn't
     2 them. It looks like I was copied on one         2 realize it wasn't in the pile.
     3 of them.                                        3          MS. McCLURE: Okay. He
     4      Q. Who is James Rice?                      4      wants you to read 8.
     5      A. I'm not sure he's still in              5 BY MR. PIFKO:
     6 that role, manager buying groups,               6      Q. You've got three documents.
     7 community & specialty pharmacy.                 7      A. Okay. Okay.
     8      Q. Do you remember discussing
     9 this issue with people?
    10      A. Tell me what you think the
    11 issue is.




    17         Do you see that?
    18         MS. McCLURE: Objection to
    19     form.
    20         THE WITNESS: No. I -- go
    21     ahead.
    22         MS. McCLURE: Did you just
    23     characterize this as a document
    24     that was sent to customers? I
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                                                  1     A. No. I don't remember it.
                                                  2     Q. The first, Exhibit 9, is an
                                                  3 e-mail from Ed Hazewski to you dated
                                                  4 June 17, 2013.
                                                  5     A. Yes, I see it.




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     8         (Document marked for
     9     identification as Exhibit
    10     ABDC-Mays-9.)
    11 BY MR. PIFKO:
    12     Q. I'm handing you what's been
    13 marked as Exhibit 9 and 10.
    14         (Document marked for
    15     identification as Exhibit
    16     ABDC-Mays-10.)
    17 BY MR. PIFKO:
    18     Q. For the record Exhibit 9 is
    19 an e-mail Bates-labeled ABDCMDL00282233,
    20 and Exhibit 10 is an attachment to that,
    21 Bates-labeled ABDCMDL00282234.
    22     A. Okay.
    23     Q. Do you recall seeing these
    24 documents?


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                                                9      Q. Earlier you said, from your
                                               10 experience, some pharmacists are fairly
                                               11 ignorant of what their responsibilities
                                               12 are. Do you recall that?
                                               13      A. Mm-hmm.
                                               14      Q. What experience --
                                               15      A. I said some. Not all.
                                               16      Q. What experience do you have
                                               17 about pharmacists being ignorant of their
                                               18 responsibilities?
                                               19      A. On the experience of some of
                                               20 my visits to some pharmacies, asking
                                               21 questions and getting the answers that I
                                               22 got.
                                               23      Q. What kind of questions did
                                               24 you ask and answers that you get that


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     1 made you think they were ignorant of           1           MS. McCLURE: Objection to
     2 their responsibilities?                        2       the form.
     3      A. Just some of the statements             3          THE WITNESS: Report the
     4 that some would make about, if the doctor       4      actual pharmacy to the DEA? At
     5 writes it, then I have to fill it. You          5      one time we reported pharmacies to
     6 know, who am I to question the doctor,          6      the DEA that we had determined
     7 things like that. They have a -- it's in        7      that we were going to stop doing
     8 the regulations, they have a                    8      business with, that we were going
     9 corresponding responsibility.                   9      to cut off. We would report those
    10      Q. They can question that --              10      to DEA.
    11 the doctor?                                    11 BY MR. PIFKO:
    12      A. Absolutely.                            12      Q. When was that?
    13      Q. They don't have to fill                13      A. There was a period in, I
    14 every prescription that's presented to         14 think it was between -- after 2007, DEA
    15 them?                                          15 had actually encouraged different members
    16      A. No, they do not.                       16 of the industry to report to DEA
    17      Q. Did you do anything to                 17 customers that they had cut off. And the
    18 educate customers about those -- those         18 DEA would send an e-mail out to the other
    19 regulations?                                   19 distributors to tell them that this
    20      A. Yes. During -- during those            20 customer had been cut off by another
    21 visits to certain pharmacies, and also we      21 distributor.
    22 did some training at what they call            22      Q. And what's the idea there?
    23 cluster meetings.                              23      A. I think that got stopped at
    24      Q. What's a cluster meeting?              24 some point.

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     1      A. Its customers are -- it's a            1       Q. Do you have an understanding
     2 group of retail pharmacy customers that        2  of why they were doing that?
     3 are part of one of the programs, one of         3      A. Well, I think -- I think it
     4 our corporate programs. And they would          4 probably is some people at DEA don't have
     5 have what they call cluster meetings, and       5 a real good understanding of antitrust
     6 they would discuss a lot of things and          6 laws and things like that. And I think
     7 maybe talk about programs and things like       7 they were trying to, you know, kind of
     8 that. And we were -- I know I was               8 blacklist pharmacies to keep other
     9 invited to present to some customers on a       9 distributors -- because what was
    10 couple of occasions on the whole               10 happening, one distributor would cut a
    11 diversion control issue and try to             11 pharmacy off, they would just open up an
    12 educate them on their responsibilities.        12 account with another one. I think DEA
    13      Q. Do you remember any specific           13 was trying to -- I think DEA was trying
    14 pharmacies who fit in this category?           14 to prevent that as much as they could.
    15      A. No. Most of the ones I did             15      Q. Do you recall the names of
    16 were in Florida. I think a couple              16 any pharmacies that you reported to the
    17 that -- the couple that I did were in          17 DEA?
    18 Florida.                                       18          MS. McCLURE: Objection to
    19      Q. Did you ever witness any of            19      the form.
    20 these pharmacies filling questionable          20          THE WITNESS: There's been
    21 prescriptions?                                 21      several, yeah, I just don't know
    22      A. No. No.                                22      specifics. We had a couple. I
    23      Q. Did you ever report any of             23      remember a few.
    24 them to the DEA?                               24          I'm going to grab a glass of
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     1    water while you're doing that.            1  congressional attention." It's dated
     2         MR. PIFKO: Do you want to            2  March 14, 2017.
     3    take a quick -- we don't have to           3          Take a moment to review it
     4    all leave the room. We can go off          4 and let me know when you're done.
     5    the record for five minutes.               5      A. Okay.
     6         MS. McCLURE: Yeah, let's              6      Q. So this is an e-mail
     7    take a five-minute.                        7 describing some lawsuits about the opioid
     8         THE VIDEOGRAPHER: Going off           8 crisis. And you reply: "I guess if all
     9    the record. The time is 4:27.              9 the distributors stopped shipping
    10         (Short break.)                       10 controlled substances into West Virginia
    11         THE VIDEOGRAPHER: Back on            11 the problem would be solved, correct?"
    12    the record. Beginning Media File          12          Do you see that?
    13    Number 5. The time is 4:45.               13      A. Yeah, I see it.
    14 BY MR. PIFKO:                                14      Q. Do you agree that if
    15    Q. I'm handing you what's                 15 distributors stop selling controlled
    16 marked as Exhibit 12.                        16 substances into West Virginia, the opioid
    17         (Document marked for                 17 crisis there would have been stopped?
    18    identification as Exhibit                 18          MS. McCLURE: Objection.
    19    ABDC-Mays-12.)                            19          THE WITNESS: No.
    20 BY MR. PIFKO:                                20 BY MR. PIFKO:
    21    Q. Document Bates-labeled --              21      Q. What did you mean by this?
    22         MS. McCLURE: What was 11?            22      A. It was just a snarky
    23 BY MR. PIFKO:                                23 comment.
    24    Q. ABDCMDL00275491-2.                     24      Q. Do you think the opioid
                                         Page 359                                          Page 361
     1           MS. McCLURE: Did we skip 11        1  crisis was a joke?
     2      or am I --                              2       A. No, I don't at all.
     3           MR. PIFKO: No, it's                 3      Q. Apparently you think it's
     4      hardly --                                4 worth making snarky comments about with
     5           MS. McCLURE: No, I'm                5 your colleagues?
     6      just --                                  6      A. No.
     7           THE WITNESS: There's not an         7      Q. You did here?
     8      11. Maybe that's the one that you        8      A. Yeah, it was, yeah. It
     9      sent to be printed. Is that going        9 was -- it was an inappropriate snarky
    10      to be 11?                               10 comment out of frustration that we were
    11           MR. PIFKO: I don't know            11 getting sued by all these people. Yeah.
    12      where 11's sticker is. It doesn't       12      Q. Why were you frustrated --
    13      matter. This one's 12. We'll            13      A. By distributing
    14      figure it out.                          14 pharmaceuticals into the state.
    15           MS. McCLURE: Okay. Well,           15      Q. Why were you frustrated?
    16      for the record, I don't believe         16      A. Because I don't think we are
    17      there was an 11. So let's go to         17 guilty of anything. It's a little
    18      12.                                     18 frustrating to be getting sued by all
    19 BY MR. PIFKO:                                19 these counties --
    20      Q. It's an e-mail from you to           20      Q. Do you think that --
    21 Chris Zimmerman, forwarding something        21      A. -- and cities and so forth,
    22 with the subject, "More West Virginia        22 and -- and we haven't done anything wrong
    23 counties target distributors in opioid       23 in my opinion.
    24 crisis; related media likely to get          24      Q. Do you think that
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     1 AmerisourceBergen as a distributor had          1         MR. PIFKO: I understand
     2 any role in the opioid crisis?                  2     your objection. I've read the --
     3          MS. McCLURE: Objection to               3    I've read the direction.
     4      the form.                                   4        MS. McCLURE: No, I'm going
     5          THE WITNESS: No.                        5    to make it for the record. Not
     6 BY MR. PIFKO:                                    6    just for you, Mark.
     7      Q. Did you sell pills into West             7        So Special Master ruled that
     8 Virginia?                                        8    such a topic was inappropriate for
     9      A. We distribute to pharmacies              9    discussion in the 30(b)(6)
    10 and customers in West Virginia, yes.            10    context.
    11      Q. You don't think any of the              11        I also note that in the fact
    12 sales that you made contributed to the          12    witness context, this witness has
    13 epidemic?                                       13    not been designated as a 30(b)(6)
    14      A. I don't know if they did or             14    witness. And so in a fact witness
    15 not.                                            15    context, it's even more
    16      Q. Between you and                         16    inappropriate to ask witnesses
    17 AmerisourceBergen, are you -- and               17    whether they believe that there
    18 Cardinal Health and McKesson control            18    was any role played or whether any
    19 about 90 percent of the market, you don't       19    company or defendant contributed
    20 think any of you guys together had a role       20    to the crisis.
    21 in selling the pills that created this          21        So I -- we object to this
    22 crisis?                                         22    continuing line of questioning.
    23          MS. McCLURE: Objection to              23 BY MR. PIFKO:
    24      the form. I'm going to ask you if          24    Q. Same question --
                                            Page 363                                         Page 365
     1     you want the witness to be excused          1       A. Do you want to repeat the
     2     or if you want me to interpose my           2  question?
     3     objection on the record with the             3      Q. Yeah. I asked if you along
     4     witness present.                             4 with McKesson and Cardinal Health
     5         MR. PIFKO: You can make a                5 controlled 90 percent of the market, you
     6     valid objection. You don't need              6 don't think that you've had any
     7     the witness to leave.                        7 contribution to the crisis in West
     8         MS. McCLURE: Sure. My                    8 Virginia?
     9     valid objection is that pursuant             9      A. I don't think --
    10     to Special Master Cohen's ruling            10          MS. McCLURE: Again,
    11     on the legal interpretation and             11      objection to this continuing line
    12     conclusion about whether --                 12      of questioning under the Special
    13     when -- when witnesses are asked            13      Master's prior ruling.
    14     questions about whether, for                14          THE WITNESS: Do you want me
    15     example here AmerisourceBergen,             15      to answer?
    16     caused and/or contributed to the            16 BY MR. PIFKO:
    17     opioid epidemic, the Special                17      Q. Yes.
    18     Master ruled that --                        18      A. I don't think so.
    19         MR. PIFKO: I think it's                 19      Q. You said you didn't do
    20     different in the context of this            20 anything wrong. Do you recall saying
    21     e-mail.                                     21 that?
    22         MS. McCLURE: I'm not --                 22      A. I'm sorry?
    23     wasn't finished talking. You can            23      Q. You said we didn't do
    24     talk after I talk.                          24 anything wrong. Do you recall saying


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     1 that?                                          1       waiting to be printed just
     2      A. I just said that, yes.                 2       arrived.
     3      Q. Yeah. What about the DEA                3           I found 11.
     4 enforcement action. Do you think you had        4           MS. McCLURE: Magic.
     5 bad conduct that led to that?                   5           (Document marked for
     6      A. The enforcement action --               6       identification as Exhibit
     7          MS. McCLURE: Objection to              7      ABDC-Mays-11.)
     8      the form of the question.                  8 BY MR. PIFKO:
     9 BY MR. PIFKO:                                   9      Q. I'm handing you what's
    10      Q. The one that we've been                10 marked as Exhibit 11 and Exhibit 13.
    11 talking about, the 2007 one.                   11           (Document marked for
    12      A. In 2007? I don't believe we            12       identification as Exhibit
    13 admitted to any -- any wrongdoing or any       13      ABDC-Mays-13.)
    14 violations.                                    14           THE WITNESS: Thank you.
    15      Q. So you don't think you did             15 BY MR. PIFKO:
    16 anything wrong. We're talking about            16      Q. Take a minute to review
    17 whether the company --                         17 that.
    18      A. I don't think we did                   18           MR. PIFKO: This is 11. And
    19 anything wrong, no.                            19      this is 13.
    20      Q. You think the DEA was out to           20           MS. McCLURE: Thank you.
    21 lunch when they went out to get you?           21           MR. PIFKO: For the record,
    22          MS. McCLURE: Objection to             22       Exhibit 11 is Bates labeled
    23      the form of the question.                 23      ABDCMDL00289421. And Exhibit 13
    24          THE WITNESS: I'm not -- no,           24      is Bates labeled ABDCMDL00289422
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     1      I'm not -- I don't say -- I am not        1      through 429.
     2      saying that.                              2  BY MR. PIFKO:
     3 BY MR. PIFKO:                                   3     Q. Let me know when you're done
     4      Q. Well, what are you saying?              4 reviewing those.
     5 Why would they go after you if you didn't       5     A. Okay.
     6 do anything wrong?                              6     Q. Let's go to the last page of
     7      A. Because in their opinion                7 Exhibit 13.
     8 they thought we did.                            8     A. Okay.
     9      Q. And you think they are                  9     Q. 289429.
    10 wrong?                                         10     A. Okay.
    11      A. I think they are wrong, yes.
    12      Q. Why do you think they are
    13 wrong?
    14      A. Because we comply with the
    15 regulations.
    16      Q. Did your company pay money
    17 to the West Virginia Attorney General in
    18 connection with the lawsuit they brought
    19 against you?
    20      A. I believe we did.
    21      Q. Do you think you did
    22 anything wrong there?
    23      A. No.
    24          MR. PIFKO: The document I'm
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                                               15       MR. PIFKO: We are going to
                                               16   take a short break. I think we're
                                               17   done.
                                               18       THE VIDEOGRAPHER: Going off
                                               19   the record. The time is 5:04.
                                               20       (Short break.)
                                               21       THE VIDEOGRAPHER: Go back
                                               22   on the record. Beginning Media
                                               23   File Number 6. The time is 5:14.
                                               24       MR. PIFKO: All right.
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     1     Unless you have any direct                  1      INSTRUCTIONS TO WITNESS
     2     examination, I have no further              2
     3     questions.                                  3          Please read your deposition
     4         MS. McCLURE: I have no                  4 over carefully and make any necessary
     5     further questions -- I have no              5 corrections. You should state the reason
     6     questions. How about that.                  6 in the appropriate space on the errata
     7         MR. PIFKO: All right.                   7 sheet for any corrections that are made.
     8     Thank you.                                  8          After doing so, please sign
     9         THE VIDEOGRAPHER: This                  9 the errata sheet and date it.
    10     concludes today's deposition. We           10          You are signing same subject
    11     are going off record. The time is          11 to the changes you have noted on the
    12     5:14.                                      12 errata sheet, which will be attached to
    13         (Excused.)                             13 your deposition.
    14         (Deposition concluded at               14          It is imperative that you
    15     approximately 5:14 p.m.)                   15 return the original errata sheet to the
    16                                                16 deposing attorney within thirty (30) days
    17                                                17 of receipt of the deposition transcript
    18                                                18 by you. If you fail to do so, the
    19                                                19 deposition transcript may be deemed to be
    20                                                20 accurate and may be used in court.
    21                                                21
    22                                                22
    23                                                23
    24                                                24

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     1                                                 1        - - - - - -
     2          CERTIFICATE                                      ERRATA
     3
     4
                                                       2        - - - - - -
     5         I HEREBY CERTIFY that the               3
       witness was duly sworn by me and that the   PAGE LINE CHANGE
                                                       4
     6 deposition is a true record of the
                                                   ____ ____ ____________________________
                                                       5
       testimony given by the witness.
     7                                           6   REASON: ____________________________
                 It was requested before         7 ____ ____ ____________________________
     8 completion of the deposition that the     8   REASON: ____________________________
       witness, STEPHEN MAYS, have the           9 ____ ____ ____________________________
     9 opportunity to read and sign the
       deposition transcript.                   10   REASON: ____________________________
    10                                          11 ____ ____ ____________________________
    11                                          12   REASON: ____________________________
    12      __________________________________ 13
            MICHELLE L. GRAY,                      ____ ____ ____________________________
    13      A Registered Professional           14   REASON: ____________________________
            Reporter, Certified Shorthand       15 ____ ____ ____________________________
    14      Reporter, Certified Realtime        16   REASON: ____________________________
            Reporter and Notary Public          17 ____ ____ ____________________________
    15      Dated: October 29, 2018
    16                                          18   REASON: ____________________________
    17                                          19 ____ ____ ____________________________
    18           (The foregoing certification   20   REASON: ____________________________
    19 of this transcript does not apply to any
    20 reproduction of the same by any means,   21 ____ ____ ____________________________
    21 unless under the direct control and/or   22   REASON: ____________________________
    22 supervision of the certifying reporter.)
                                                23 ____ ____ ____________________________
    23
    24                                          24   REASON: ____________________________

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                                                  Page 382
     1
     2      ACKNOWLEDGMENT OF DEPONENT
     3
     4         I,_____________________, do
     5 hereby certify that I have read the
     6 foregoing pages, 1 - 383, and that the
     7 same is a correct transcription of the
     8 answers given by me to the questions
     9 therein propounded, except for the
    10 corrections or changes in form or
    11 substance, if any, noted in the attached
    12 Errata Sheet.
    13
    14
    15   _______________________________________
    16   STEPHEN MAYS              DATE
    17
    18
    19 Subscribed and sworn
       to before me this
    20 _____ day of ______________, 20____.
    21 My commission expires:______________
    22
         ____________________________________
    23   Notary Public
    24

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     2 PAGE LINE
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